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     1                        UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
     2                          WEST PALM BEACH DIVISION
                               CASE NO. 19-CR-80181-RAR-1
     3
          UNITED STATES OF AMERICA,                   Miami, Florida
     4
                                                      December 8, 2022
     5               vs.
                                                      9:18 a.m. - 4:48 p.m.
     6
          MINAL PATEL,                                Volume 9
     7
                         Defendant.             Pages 1 to 224
     8    ______________________________________________________________

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                               TRANSCRIPT OF JURY TRIAL
    10                 BEFORE THE HONORABLE RODOLFO A. RUIZ, II
                             UNITED STATES DISTRICT JUDGE
    11
          APPEARANCES:
    12

    13    FOR THE GOVERNMENT:             JAMIE DE BOER
                                          EMILY GURSKIS
    14                                    REGINALD CUYLER
                                          KATHERINE ROOKARD
    15                                    UNITED STATES DEPARTMENT OF JUSTICE
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    22                           Official Court Reporter to:
                                 The Honorable Rodolfo A. Ruiz, II
    23                           United States District Court
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     1    (Appearances continued)

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     1                    (Call to the Order of the Court.)

     2              THE COURT:   All right.    Let's go ahead and get started

     3    this morning in case number 19-80181, United States of America

     4    versus Minal Patel.      We left off yesterday during the

     5    cross-examination of Mr. Hirsch.       I understand we have, give or

     6    take, about an hour remaining in that cross-examination.

     7              Now, before we recall Mr. Hirsch, I obviously want to

     8    check in to make sure that we had no other surprises overnight

     9    on behalf of the government regarding any 302s or any other

    10    concerns of the nature of discovery.

    11              So starting with that question, any updates on behalf

    12    of the government?

    13              MS. DE BOER:    Yes, Your Honor.     We have confirmed that

    14    all of the 302s for witnesses, past and present, have been

    15    produced at this time.

    16              THE COURT:   Okay.    And I don't know if we had an

    17    occasion to discuss it.      It may be premature.     But we had left

    18    off with at least a suggestion from Mr. Sadow that to the

    19    extent some of those 302s may be utilized in the defense's

    20    case-in-chief as they pertain to Griner, Ramamurthy, that there

    21    may be a method of doing that that would not require them to be

    22    recalled.

    23              I don't know if you had a chance to discuss that.

    24              MS. DE BOER:    We haven't discussed it yet, but of

    25    course we're open to reviewing Mr. Sadow's proposal.          We think
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     1    that would be an efficient approach, and so we're happy to hear

     2    what -- you know, at lunch or overnight or the weekend, what

     3    his proposal is on that.

     4              THE COURT:   Very good.    Okay.    All right.   Any other

     5    housekeeping concerns on the government's end before I turn to

     6    the defense?

     7              MS. DE BOER:    Yes, Your Honor.

     8              THE COURT:   Sure.

     9              MS. DE BOER:    I think some good news.

    10              THE COURT:   Okay.

    11              MS. DE BOER:    Which is we are cutting two witnesses,

    12    which would be Holden and Rinsky.

    13              THE COURT:   Holden and -- okay.      And Rinsky.

    14              MS. DE BOER:    And Rinsky.    So after Mr. Hirsch

    15    finishes, it will be Ms. K, a beneficiary, and then we will

    16    move to Mr. Petron.

    17              THE COURT:   Okay.

    18              MS. DE BOER:    I would ask, if Your Honor is open to

    19    this, if we could at a minimum take our morning break, if not

    20    take an early lunch, just because this was a major shift and I

    21    want to just -- we have some exhibits to plot of our boxes, and

    22    just make sure we're not fumbling through and making the direct

    23    longer than it has to be.

    24              But, you know, he will be finished with his direct

    25    today, if not into cross today, if the defense is prepared to
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     1    cross him today.

     2              THE COURT:   Very good.    So let's plan on that.      And I

     3    believe H.K., or K, the beneficiary, we can do when we're done

     4    with Mr. Hirsch before the lunch break probably, right?

     5              MS. DE BOER:    I would imagine, Your Honor.

     6              THE COURT:   Yeah.    So I think that that should take us

     7    to just about noon, if you figure probably between getting the

     8    remainder of the cross done, having the redirect, and having

     9    H.K., at the end of that, I don't see a reason why we would

    10    start Mr. Petron.

    11              It makes sense to me that we would go ahead and take a

    12    break at that point and then resume after lunch with Petron,

    13    right?

    14              MS. DE BOER:    Thank you, Your Honor.      I would

    15    appreciate the time to just square it up and make sure we're

    16    efficient once we do get to him.

    17              And then one last matter.      Mr. -- I instructed agents

    18    to make sure Mr. Hirsch was going to be here on time and that

    19    was the only contact.

    20              THE COURT:   Okay.

    21              MS. DE BOER:    He is here.    However, when the agent

    22    called him to make sure that he was not hitting traffic, that

    23    he was going to be here, Mr. Hirsch started to tell the agent

    24    that he received calls overnight that he wants to talk to his

    25    lawyer about.
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     1              The agent did the right thing and said, I can't talk to

     2    you about this, sit tight, get to court, we'll bring it up with

     3    the judge.    So I don't know what these calls are.        I don't know

     4    if they have anything to do with this.        I don't know.

     5              So I don't know if perhaps Your Honor wants to ask him,

     6    is there anything he needs to speak to a lawyer about before he

     7    continues, or if he can continue and then talk to his lawyer

     8    after.

     9              THE COURT:   Very good.    I have no problem asking him

    10    that.    Let me proffer just so that we don't have any odd

    11    situations arise where he makes any mention of that in front of

    12    the jury.

    13              So I appreciate your advising the Court, and I will

    14    check in with him.

    15              MS. DE BOER:    And, Your Honor, just to the extent --

    16    since I don't know what it is, I don't know that -- I don't

    17    know if it's something that gives him any exposure or if it's

    18    something totally harmless.

    19              THE COURT:   Sure.

    20              MS. DE BOER:    And so perhaps before he says too much,

    21    maybe we shouldn't even be in here for this, and Your Honor

    22    should decide if he needs to speak to a lawyer.          I defer to the

    23    Court, but just given that I have no clue what it is.

    24              THE COURT:   Sure.    Let me -- look, I think you guys can

    25    stay.    Let me just have him -- and I'm going to be very
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     1    cautious, obviously, so he doesn't volunteer anything he

     2    shouldn't.    If he feels compelled to discuss maybe something

     3    more pressing and I'm concerned, then certainly I'll have you

     4    guys step out.    But let me get a sense first, because I'm with

     5    you.   It could be anything.

     6              All right.   So that sounds like a good plan to me.         And

     7    certainly I think that even if we take a little bit of a longer

     8    lunch break, it should facilitate you showing any additional

     9    exhibits from Mr. Petron to the defense, and perhaps we can

    10    have the same success we've had where Mr. Sadow's felt

    11    comfortable essentially stipulating to exhibits being moved in

    12    at the beginning, or at least without objection, as they start

    13    coming in, and that'll streamline the presentation for him

    14    since I expect him to have a number of financial documents he's

    15    going to be analyzing.

    16              All right?   Okay.    Very good.

    17              So turning to the defense team.       So, gentlemen,

    18    obviously we have streamlined this a little bit.          We don't have

    19    to concern ourselves with Holden and Rinsky anymore.          You guys,

    20    I know, are ready, and Mr. Sadow, you're ready to complete the

    21    cross-examination of Mr. Hirsch.

    22              And certainly I don't think H.K. is going to be too

    23    much of a heavy lift.     And then I'll give you guys an

    24    opportunity as well by starting after lunch to kind of get your

    25    notes and everything together to begin Mr. Petron's testimony.
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      1              And one thing I will let you guys know, I'm going to

      2   enter a paperless order requiring that to the extent the

      3   non-party motion to quash wants to file a reply, that it be

      4   done by the end of today so that all of us can read it tonight,

      5   and we'll be ready for tomorrow's hearing at 9:00 a.m. on Zoom

      6   for those lawyers.

      7              So, Mr. Sadow, anything you want to raise?        Any

      8   housekeeping concerns for me?        Certainly I will bring in

      9   Mr. Hirsch in just a moment and see if we can get to the bottom

    10    of that.

    11               But anything else you need to make me aware of at this

    12    point?

    13               MR. SADOW:   Only that my examination should be much

    14    shorter than an hour.

    15               THE COURT:   Okay.   Not a problem.    I planned for it.

    16    If we're able to do it in less, that's not an issue at all.

    17               All right.   Very good.

    18               So with that being said, if we could, Ms. de Boer,

    19    maybe go and bring in Mr. Hirsch first, and let's see what

    20    we're going to -- we need to figure out what's going on.

    21               I'll have him take the stand already, and we'll talk to

    22    him.

    23               MS. DE BOER:   And, Your Honor, if Mr. Sadow's

    24    examination is that short, are we still intending to break

    25    early for lunch to handle --
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      1             THE COURT:    It's hard to say.     I may -- I have no

      2   problem breaking right at noon and giving us from, like, noon

      3   to 2:00 and give you extra time.

      4             I'm wondering if there's anything you can do to lay

      5   foundation for Mr. Petron, or is it like we can't even do that?

      6             Come on up, Mr. Hirsch.      I can have you take the stand.

      7             MS. DE BOER:    I suppose if all I've done is, you know,

      8   his background and the types of things --

      9             THE COURT:    That's all.

    10              MS. DE BOER:    Would it be okay if then we continue to

    11    speak to him over lunch about what's coming?

    12              THE COURT:    I don't have an issue if the defense is

    13    comfortable with it, simply only -- and I can give an

    14    instruction.    If you want to meet with him and go over

    15    documents, but I think we can just do his background and then

    16    break at that point, and I don't have a fear with that.

    17              Is the defense okay with that, if it's purely

    18    background?    I'll give an instruction to the witness.

    19              MR. SADOW:    Well, my only concern is, I don't know how

    20    I'm going to receive whatever he has to say about exhibits if

    21    he's doing it during his direct examination.

    22              If all they're going to do is say I'm going over these

    23    exhibits, that is, I'm going to show you this one and this one

    24    and this one; I'm okay.      If it's, I'm going to show you this

    25    one, and what is your explanation; not okay.
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      1             THE COURT:    Okay.    Let's do this.   We can probably find

      2   time to take that morning break after we're done with Hirsch

      3   and after we're done with H.K., and we'll see if we can figure

      4   out when that will be and I can make more of a judgment call.

      5             MS. DE BOER:    Thank you, Your Honor.

      6             THE COURT:    So, Mr. Hirsch, good morning.

      7             Listen, before we get started -- the jury's all here.

      8   I want you to listen to me carefully because I don't want you

      9   to say anything that may put you in any sort of awkward

    10    position or give you any sort of legal exposure.

    11              The government has indicated to me that you shared with

    12    some agents this morning that you had had a number of phone

    13    calls or communications last night and that you felt like you

    14    would need to speak to a lawyer before going forward or at

    15    least raise some concerns to the government.

    16              Am I correct in that?      Is that something --

    17              THE WITNESS:    Yes.

    18              THE COURT:    Okay.    Now, I don't know what any of this

    19    is about, and I don't want you to say anything on this record

    20    with the lawyers present.        I can excuse the lawyers, if it

    21    makes you more comfortable.

    22              I can excuse the lawyers if it makes you more

    23    comfortable, but I'm hopeful that whatever it is that

    24    transpired will not have any impact on the remainder of your

    25    testimony today.
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      1             I don't believe there's going to be a lot left in terms

      2   of the questioning on your cross-examination.           And, you know,

      3   you have a sense of where they're going to go and what they're

      4   going to talk about on the redirect from the government.

      5             So is this a situation where whatever you experienced

      6   last night is going to impact your ability to testify today?

      7             THE WITNESS:    I don't think so.

      8             THE COURT:    You don't think so?     Okay.    So do you feel

      9   comfortable with us going forward?

    10              THE WITNESS:    Yes.

    11              THE COURT:    Okay.    All right.   So I think we're okay,

    12    folks.   If at any point it does impinge on that, turn to me and

    13    let me know so I can break.       Okay?

    14              THE WITNESS:    Okay.

    15              THE COURT:    All right.    Very good.

    16              MS. DE BOER:    Thank you, Your Honor.

    17              THE COURT:    Thank you, guys.

    18              So I think we're okay.      All right.   So with that being

    19    said, we're going to go ahead and get our jurors in here.

    20    Thank you, guys.

    21              THE COURT SECURITY OFFICER:       All rise for the jury.

    22           (Jury enters at 9:29 a.m.)

    23              THE COURT:    Please be seated, everyone.       Good morning,

    24    ladies and gentlemen of the jury.         Good to see you all.    Hope

    25    everyone had a nice evening.
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      1               So you may recall before we broke yesterday that

      2   Mr. Sadow was in the midst of his cross-examination of

      3   Mr. Hirsch.     So we're going to turn it back to Mr. Sadow so he

      4   can complete his cross-examination.        All right?

      5               So with that being said, Mr. Sadow, the floor is yours.

      6               MR. SADOW:   Thank you.

      7                       CONTINUED CROSS-EXAMINATION

      8   BY MR. SADOW:

      9   Q.   Good morning.

    10    A.   Good morning.

    11    Q.   I'm going to go over a couple of exhibits with you, and I'm

    12    going to ask you about the recordings you made while you were

    13    cooperating with the government.       Okay?

    14    A.   Yes.

    15                MR. SADOW:   First, Your Honor, I would move into

    16    evidence exhibits BH-1 and BH-2.

    17                MS. DE BOER:   No objection, Your Honor.

    18                THE COURT:   Thank you.   Those will be admitted at this

    19    time with no objection.

    20           (Defense Exhibit BH-1 and BH-2 were received in

    21         evidence.)

    22    BY MR. SADOW:

    23    Q.   Let's start out by going over some of the exhibits and then

    24    we'll go to the recordings.       Okay?

    25    A.   Yes, sir.
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      1   Q.   Let's start first with Government Exhibit 1241-O.          I

      2   believe that's it.

      3               MR. SADOW:   I'll move Government's Exhibit 1241-O into

      4   evidence.

      5               MS. DE BOER:   No objection.

      6               THE COURT:   That'll be admitted at this time.

      7          (Government Exhibit 1241-O was received in evidence.)

      8   BY MR. SADOW:

      9   Q.   We'll go right to the text.       This is a text message between

    10    you and Mr. Patel, looks like it's around March 8th and 9 of

    11    2019, correct?

    12    A.   Yes.

    13                MR. SADOW:   Go to the next page.    If you go to the

    14    bottom text and blow up the bottom text.

    15    BY MR. SADOW:

    16    Q.   Do you see that on March the 7th of 2019, at approximately

    17    1:25 p.m., you sent a text message to Mr. Patel that says:

    18    I've spent a lot of money to get my call center and teledoc

    19    fully compliant.     We are --

    20                MR. SADOW:   Go to the next page.

    21    BY MR. SADOW.

    22    Q.   -- getting, as of Monday, 50 to 100 a week.

    23         Do you see that?

    24    A.   Yes.

    25    Q.   So on March the 7th, 2019, you sent a text message to
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                                                                                  16


      1   Mr. Patel essentially saying that your call center is fully

      2   compliant, correct?

      3   A.   I see that, yes.

      4   Q.   And compliant, respectfully, suggests legit, right?

      5   A.   Yes.

      6               MR. SADOW:   All right.   If we'll go to Government

      7   Exhibit 1610.     And again, I'm not sure if that's in evidence.

      8   If it's not, I'll move it in.

      9               MS. DE BOER:   No objection.

    10                THE COURT:   To the extent it's not admitted, that'll be

    11    admitted at this time.

    12           (Government Exhibit 1610 was received in evidence.)

    13                MR. SADOW:   Please publish 1610.

    14    BY MR. SADOW:

    15    Q.   All right.    This is an email from you to Jon, which would

    16    be Jon Berarducci, correct?

    17    A.   Yes.

    18    Q.   And also to Minal Patel, correct?

    19    A.   Correct.

    20    Q.   Dated April 11, 2019, correct?

    21    A.   Correct.

    22    Q.   So this is -- just as a time frame, this is after the

    23    April 5, 2019, call that you had with Mr. Lohan that we went

    24    over yesterday, correct?

    25    A.   Yes.
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                                                                                  17


      1   Q.     The top -- that is, what you tell Mr. Patel and

      2   Mr. Berarducci is:     This is from my guy who runs my call

      3   center.

      4          Correct?

      5   A.     Correct.

      6   Q.     And that's the same call center you had just referenced in

      7   a text message approximately a month or so earlier, correct?

      8   A.     I had a few different ones.     I'm not sure if it's for this

      9   one.

    10    Q.     All right.   Well, let's go down.    Jeffrey Morin --

    11    M-o-r-i-n -- that's the call center you were using March and

    12    April of 2019?

    13    A.     Yes.

    14    Q.     So it would be appear to be -- would this be the same

    15    Jeffrey Morin who, in your earlier text message to Mr. Patel,

    16    said -- talked in terms of fully compliant, correct?

    17           And if you're not sure, that's fine; just say you're not

    18    sure.

    19    A.     I'm not sure.

    20    Q.     Okay.   This is from Mr. Morin to you and your partner,

    21    Mr. Youngswick, right?

    22    A.     Yes.

    23    Q.     And I'll read it and we'll go forward.      Okay?

    24           Hey, guys.   After yesterday's news, I am sure you have many

    25    concerns regarding the DME bus.
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      1        "DME" means what?

      2   A.   Something medical equipment.

      3   Q.   Durable?

      4   A.   Durable.

      5   Q.   I simply wanted to ensure you that you should not have any

      6   worries from our end.

      7        Correct?

      8   A.   Correct.

      9   Q.   In reviewing the actual government documents, it appeared

    10    that the DME, call centers, and teledocs involved in this raid

    11    were committing fraud in a variety of different ways, including

    12    kickbacks, multiselling products from one -- just one phone

    13    call, no doctor consultations, paying doctors to sign off,

    14    selling patient data, et cetera.

    15         Correct?

    16    A.   Correct.

    17    Q.   I would like to ensure you that the records we are

    18    providing you...

    19         That is, the records being provided by Mr. Morin to you and

    20    your partner, correct?

    21    A.   Yes.

    22    Q.   ...are opt-in only...

    23         Correct?

    24    A.   Correct.

    25    Q.   ...exclusive to only you...
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      1        Correct?

      2   A.   Correct.

      3   Q.   ...HIPAA compliant...

      4   A.   Correct.

      5   Q.   HIPAA just has to do with what can be disclosed or not

      6   disclosed medically, correct?

      7   A.   Correct.

      8   Q.   ...TCPA compliant...

      9        And now I gotta ask you, do you know what TCPA is?

    10    A.   No.

    11    Q.   ...and double verified.

    12         Which sounds like making sure the information is accurate,

    13    correct?

    14    A.   Correct.

    15    Q.   In addition, due to yesterday's news, we are adding several

    16    additional layers of checks and balances to our process that

    17    are not required but that we feel more comfortable with to

    18    ensure full verification and understanding on behalf of the

    19    patient.

    20         Correct?

    21    A.   Correct.

    22    Q.   Now, just to make it as clear as I can, this call center is

    23    providing information to you; and you, in turn, are providing

    24    that information, be it by requisition order or otherwise, to

    25    LabSolutions, correct?
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                                                                                  20


      1   A.   Correct.

      2   Q.   And then Mr. Morin continues:       I have also hired three

      3   people that will be assigned exclusively to your account.           They

      4   will be listening to every single audio file and confirming

      5   that all the data is, in fact, correct before attaching the

      6   audio file to the record, which would be uploaded via APL.

      7        Do you know what APL is?

      8   A.   I don't.

      9   Q.   It certainly sounds as if -- that Mr. Morin and his call

    10    center is recording every single audio transaction with the

    11    patient, correct?

    12    A.   Can you say that --

    13    Q.   I'm sorry, sir.

    14    A.   Can you repeat that?

    15    Q.   Sure.   I'll repeat it.

    16         It sounds like Mr. Morin is saying that these people --

    17    he's hired three people that will be listening to every single

    18    audio file, right?

    19    A.   Yes.

    20    Q.   Which means that the recordings are being made between the

    21    call center and the patients, correct?

    22    A.   Correct.

    23    Q.   Now, have you had the opportunity to listen to any of these

    24    audio files?

    25    A.   No.
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                                                                                  21


      1   Q.    Has the government -- in its many times of preparing you,

      2   have they produced any of these audio files for you to listen

      3   to?

      4   A.    No.

      5   Q.    Do you even know whether the government sought to obtain

      6   from Mr. Morin any of the audio files?

      7   A.    I don't know.

      8   Q.    But this clearly indicates, does it not, that there are

      9   audio files, right?

    10    A.    Correct.

    11    Q.    And the government did, on occasion -- and we won't get

    12    into all the details -- but they did, on occasion, ask you

    13    about Mr. Morin, correct?

    14    A.    Correct.

    15    Q.    So it's not as if they didn't know he existed, right?

    16    A.    Correct.

    17    Q.    And then:   Our IT group is currently finalizing the API

    18    with Blue Mosaic, and we hope to have that completed shortly.

    19          I'm not sure I know what API is.

    20          Do you know what Blue Mosaic was?

    21    A.    Yes.

    22    Q.    What is that?

    23    A.    Blue Mosaic was the buffer, I guess you can call it,

    24    between Jeff's company and the teledoc.

    25    Q.    Okay.   So this is indicating something to do with whatever
Case 9:19-cr-80181-RAR Document 446 Entered on FLSD Docket 12/25/2022 Page 22 of 224
                                                                                  22


      1   the API is with Blue Mosaic, right?

      2   A.   They were like an intake, sort of, for the patients to give

      3   it to teledoc.

      4   Q.   Do you know whether the government has shown you any

      5   documents or anything at all from Blue Mosaic?

      6   A.   I don't recall.

      7   Q.   At this point, we are simply waiting on Blue Mosaic's IT to

      8   get back to us with any changes they may require.

      9        Correct?

    10    A.   Yes.

    11    Q.   And obviously, it concludes:       If you have questions or

    12    concerns...

    13         And talks about:     I'd like to schedule a call to discuss

    14    further?

    15         And it's signed off on by Mr. Morin, correct?

    16    A.   Correct.

    17    Q.   Thank you.

    18                MR. SADOW:   Now, sir, could you publish B-2 -- I'm

    19    sorry -- BH-2.

    20    BY MR. SADOW:

    21    Q.   All right.    This is in evidence, and this is part of a text

    22    message or a string of text messages between you and Jon at

    23    LabSolutions, right?

    24    A.   Yes.

    25    Q.   And Jon, we're talking about Jon Berarducci, correct?
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                                                                                  23


      1   A.   Correct.

      2   Q.   And the date that I'm most interested in would be -- let's

      3   do it this way.

      4        Mr. Berarducci is in the light grey, correct?

      5   A.   Correct.

      6   Q.   You are in the blue, correct?

      7   A.   Correct.

      8   Q.   And on or about -- it looks like May the 31st of 2017, you

      9   send Mr. Berarducci a text, correct?

    10    A.   Correct.

    11    Q.   And the text is that which makes reference to Myriad,

    12    right?

    13    A.   Yes.

    14    Q.   And that text says -- or it's entitled:         Myriad Genetics

    15    says cancer test identifies new patients outside testing

    16    guidelines.

    17         Right?

    18    A.   Yes.

    19    Q.   And it's talking about the news wire.

    20         And it says:    Myriad Genetics, a diagnostics company, said

    21    data from a 2000 patient perspective study of its My Risk

    22    hereditary cancer test showed 50 percent of the mutations

    23    identified were in patients who would not -- who would not meet

    24    current testing guidelines, and 34 percent of mutations were

    25    identified in unexpected genes.
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                                                                                  24


      1        Right?

      2   A.   Correct.

      3   Q.   The company said results confirm the utility of multigene

      4   panel testing to improve hereditary cancer risk assessment.

      5        Correct?

      6   A.   Correct.

      7   Q.   Now, I don't want to get into a whole lot of definitions,

      8   but utility means the usefulness, right?

      9   A.   Correct.

    10    Q.   The data will be featured in three poster presentations at

    11    the annual meeting of the American Society of Clinical Oncology

    12    on June 5.

    13         Correct?

    14    A.   Correct.

    15    Q.   And this was -- as I said, this was at the end of May of

    16    2017, correct?

    17    A.   Correct.

    18    Q.   Talking about the utility of multigene panels, correct?

    19    A.   Correct.

    20    Q.   I'm not going to go back and forth with you on this.

    21         Do you know what a multigene panel is?

    22    A.   No.

    23    Q.   Okay.    Thank you.

    24               MR. SADOW:   Now, if we can go to -- we're going to deal

    25    now with the recordings aspect.       Okay?   If you will put up
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                                                                                  25


      1   BH-1.

      2               Now, with the Court's permission, I'm going to

      3   approach.

      4               THE COURT:   You may.

      5   BY MR. SADOW:

      6   Q.   I want to show you a hard copy.

      7   A.   Okay.

      8   Q.   Of BH-1.    Okay?

      9   A.   Yes.

    10    Q.   Page 1 goes all the way to page 18, right?

    11    A.   Okay.

    12    Q.   Okay?

    13    A.   Yes.

    14    Q.   Would you like to hold onto this?

    15    A.   Sure.

    16    Q.   Let me see if it is reflected --

    17                MR. SADOW:   I may need -- in order for him to work with

    18    this, may I stay up here for a minute?

    19                THE COURT:   You may.

    20                MR. SADOW:   Thank you.

    21    BY MR. SADOW:

    22    Q.   BH-1, I'm representing to you, is a listing of the

    23    recordings that you made when you were cooperating with the

    24    government in July and August of 2019.        Okay?

    25    A.   Yes.
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                                                                                  26


      1   Q.   And just as a chronology timetable, you first were

      2   interviewed by the government on or about June 13th of 2019,

      3   correct?

      4   A.   Correct.

      5   Q.   In fact, they had seized your phone just the day before,

      6   right?

      7   A.   Correct.

      8   Q.   Okay.    And I don't need to get into all the interaction,

      9   but there was -- at some point in time, you agreed to do

    10    recordings, correct?

    11    A.   Correct.

    12    Q.   Now, I'm going to go back for a minute.         At the time you

    13    were doing the recordings, prior to actually starting with

    14    them, had you had any actual contact with a government

    15    prosecutor?

    16    A.   I don't know what you mean.

    17    Q.   You were dealing -- let me do it a little different.

    18         In working with the recordings, you were working with

    19    government agents, right?

    20    A.   Correct.

    21    Q.   And can you tell me -- do you remember the names of the

    22    agents?

    23    A.   Steven Mahmood.

    24    Q.   Anyone else?

    25    A.   I think Tony Pagent (phonetic).
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                                                                                  27


      1   Q.   Tony Pagent?

      2   A.   Yeah, I think.     I don't remember the other one.

      3   Q.   Now, when you were doing the recordings, I'm suggesting at

      4   least on this, that the first one would have been on or about

      5   July 5 of 2019.     Okay?

      6        What equipment were you given to do your recordings?

      7   A.   What equipment?     I remember, like, a lighter.

      8   Q.   A lighter?

      9   A.   Yeah.

    10    Q.   You mean like a lighter that one would use to light a

    11    cigarette?

    12    A.   Yes, I remember that, some sort of lighter.

    13    Q.   Okay.   And that would be the recording device?

    14    A.   Or the camera?     I don't remember.

    15    Q.   It wasn't a phone; it was something other than a phone.           Is

    16    that a fair statement?      Or was it a phone too?

    17         If you don't remember -- I know, we talked yesterday.           If

    18    you don't remember, that's fine.       You can just say you don't

    19    remember.

    20    A.   I don't remember.

    21    Q.   Do you remember whether the recording device or devices,

    22    whatever was being used, would allow the agents to hear your

    23    conversations?

    24    A.   Yes.

    25    Q.   Okay.   So were you given instructions on when you should
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                                                                                  28


      1   attempt to record someone?

      2   A.   A specific time?

      3   Q.   Or a day, or any of that type of thing.

      4   A.   I'm sure, yes, yes.

      5   Q.   Do you remember what those instructions were?

      6   A.   To -- to get him on tape.

      7   Q.   To get him on tape.

      8   A.   Yes.

      9   Q.   Were there any directions or instructions given to you as

    10    to topics or subject matter that you should ask about?

    11    A.   Yes.

    12    Q.   And could you tell us, what is it -- and I'm in reference

    13    specifically now as to Minal Patel.

    14         What is it that you were asked as topics or subject matter

    15    to try to get on tape?

    16    A.   One was about Marc Sporn.

    17    Q.   Okay.    And we heard that little clip yesterday for

    18    30 seconds.

    19         Anything else?

    20    A.   I recall there was one other scenario.        There was two other

    21    gentlemen.    I guess they were cooperating.       And to get them

    22    together with Minal on tape.       I don't really remember the

    23    details.

    24    Q.   Did they tell you they wanted to talk about telemedicine?

    25    A.   I don't remember.
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                                                                                  29


      1   Q.     Did they tell you they wanted to talk about telemarketing?

      2   A.     I don't remember.

      3   Q.     Did they tell you they wanted to talk about commissions?

      4   A.     I do remember they wanted me to introduce Minal to these

      5   two other gentlemen to -- to get them to become reps.

      6   Q.     To become reps.

      7   A.     Yeah, that, I remember.

      8   Q.     Kind of, like, in my language -- you don't have to accept

      9   it -- this was kind of to see if they could set up something?

    10    A.     Correct.

    11    Q.     Right?

    12    A.     Yes.

    13    Q.     And that went on for approximately a month, correct?

    14    A.     Correct.

    15    Q.     So what I want you to do now -- because we have 18 pages.

    16    And what I have attempted to do, so that it makes it a little

    17    easier, sometimes you would try to call Mr. Patel and you

    18    wouldn't get him.

    19           You'd either leave a message or no message at all, right?

    20    A.     Correct.

    21    Q.     Well, I've tried to exclude all of those in what I've given

    22    you.    What I've tried to do is add -- is to make sure that

    23    there are only calls marked in yellow on your exhibit that

    24    lasted more than one minute so that it wouldn't just be a quick

    25    message.      Okay?
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                                                                                  30


      1   A.   Yes.

      2   Q.   I believe the total is 20.

      3        Would you go through your exhibit and look at how many

      4   yellow markings there might be?

      5               MR. SADOW:   And at the same time he's doing that, if

      6   you could flip, do it page by page -- they're not marked in

      7   yellow, but this is just to show you the call pattern.

      8               THE WITNESS:   20.

      9   BY MR. SADOW:

    10    Q.   20.    And the ones that are marked with Patel are Minal

    11    Patel, correct?

    12    A.   Correct.

    13    Q.   And those recordings, when you were done making them, did

    14    you keep them for a time, or did you immediately get those to

    15    the agents?     If you remember.

    16    A.   I don't remember.

    17    Q.   Okay.    And out of those 20 that we talked -- that we just

    18    referenced, do you believe that the agents were in a position

    19    to listen to all of those?

    20    A.   I recall, yes.

    21    Q.   20 calls.    20 times the agents listened to them.

    22         Thank you very much, sir.

    23                MR. SADOW:   That's all I have, Your Honor.

    24                THE COURT:   All right.   Redirect?

    25                MS. DE BOER:   Thank you, Your Honor.
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                                                                                  31


      1               THE COURT:   We can go ahead and take that exhibit away

      2   from him.     Thank you.

      3                            REDIRECT EXAMINATION

      4   BY MS. DE BOER:

      5   Q.   Good morning, Mr. Hirsch.

      6   A.   Good morning.

      7   Q.   Mr. Sadow showed you Government's Exhibit 1241, and this

      8   was a text message -- I'll zoom in for you here -- between you

      9   and Mr. Patel, correct?

    10    A.   Yes.

    11    Q.   And Mr. Sadow wanted to point out to you this text message

    12    that you sent at the bottom of the chain here, that you've

    13    spent a lot of money to get your call center and teledoc fully

    14    compliant.

    15         Do you see that?

    16    A.   Yes.

    17    Q.   Do you see that in the same exact chain, what is it that

    18    you say to Mr. Patel right before the discussion of compliance?

    19    A.   That we had no codes to -- we have no codes.

    20    Q.   Codes, we have no codes.

    21         Right?

    22         And what are codes?

    23    A.   Those are the codes in order to put on the requisition form

    24    in order to get paid.

    25    Q.   Okay.    And how did Mr. Patel respond?
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                                                                                  32


      1   A.   Codes everywhere.

      2   Q.   Okay.   Now, when you did then talk about spending money on

      3   getting a call center and teledoc fully compliant, did you have

      4   an attorney that you were working with?

      5   A.   No.

      6   Q.   Did you ever speak with the attorney that Mr. Patel told

      7   you that he had look at his process?

      8   A.   No.

      9   Q.   And do you know -- do you have any personal knowledge of

    10    what Mr. Patel told that attorney he was doing?

    11    A.   No.

    12    Q.   Okay.   Now, you were also asked about Jeff Morin; is that

    13    right?

    14    A.   Correct.

    15    Q.   Okay.   And in particular, you were asked about whether or

    16    not the -- you were asked about the calls that Jeff Morin's

    17    call center conducted and whether you had listened to any of

    18    those in preparation for your testimony.

    19         Do you recall those questions?

    20    A.   Yes.

    21    Q.   Okay.   So I'm going to show you previously admitted

    22    Government Exhibit 1888.      Okay?

    23         Did we look at this exhibit during your direct testimony

    24    yesterday?    Do you remember?

    25    A.   I looked at this yesterday?
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                                                                                  33


      1   Q.   I'm asking, do you recall looking at the call center script

      2   yesterday?

      3   A.   Yes.

      4   Q.   And this is an email from Jeff Morin, and that's who

      5   Mr. Sadow was asking you about?

      6   A.   Yes.

      7   Q.   And it's an email to you, correct?

      8   A.   Yes.

      9   Q.   In July of 2018?

    10    A.   Yes.

    11    Q.   And Mr. Morin is sending you a copy of the call center

    12    script, correct?

    13    A.   Correct.

    14    Q.   Which is what was used on the calls to patients.

    15    A.   Correct.

    16    Q.   All right.    So showing you Government Exhibit 1888-A, this

    17    is the script that we looked at yesterday that talks about free

    18    hereditary cancer screening multiple times; is that correct?

    19    A.   Correct.

    20    Q.   All right.    And who is it -- did you understand that the

    21    people who placed these calls, were they doctors?

    22    A.   No.

    23    Q.   Who were they?

    24    A.   They were -- they were -- no, they were just call people.

    25    I think they -- I don't even think it was in the United States.
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                                                                                  34


      1   I think they were in another country.

      2   Q.   Okay.   Now, Mr. Sadow also asked you about this exhibit,

      3   Government's Exhibit 1610, and this is with respect to

      4   Mr. Morin.

      5        Do you recall looking at this?

      6   A.   Yes.

      7   Q.   A little while ago?

      8   A.   Yes.

      9   Q.   And you were sending Jon Berarducci and Minal Patel

    10    information from the guy who runs your call center, correct?

    11    A.   Correct.

    12    Q.   And this is the email where Jeff is saying you don't have

    13    any worries from us, right?

    14    A.   Yes.

    15    Q.   And it's talking about -- the subject is DME bust.

    16    A.   Yes.

    17    Q.   And had there been a DME bust that you guys had been

    18    talking about?

    19    A.   Yes.

    20    Q.   Okay.   And so Jeff is distinguishing here between what

    21    happened with the DMEs and what you guys were supposedly doing;

    22    is that correct?

    23    A.   Yes.

    24    Q.   And do you see that he says that the DMEs were committing

    25    fraud in a variety of different ways -- and I'm sorry, I'm
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                                                                                  35


      1   right here, Mr. Hirsch.

      2   A.   Yes.

      3   Q.   Committing fraud in a variety of different ways including

      4   kickbacks, multiselling products from just one call, no doctor

      5   consultations, paying doctors to sign off, selling patient

      6   data, etc.

      7        Do you see that?

      8   A.   Yes.

      9   Q.   Which of those things were you doing?

    10    A.   Paying doctors off because we would pay them per test that

    11    they signed.

    12    Q.   Okay.   And how about kickbacks?      Did you receive kickbacks?

    13    A.   I received kickbacks from the lab, yes.

    14    Q.   Okay.   And how about no doctor consultations?        Did you ever

    15    become concerned that doctors were not calling patients?

    16    A.   There was situations where no doctors were being -- no

    17    patients were being called, correct.

    18    Q.   Now, in -- so keep this up for one more second.          Mr. Sadow

    19    pointed you to these five bullet points here.

    20    A.   Yes.

    21    Q.   And Mr. Morin is saying:      I want to assure you that the

    22    records we provide, opt-in only, exclusive to you, HIPAA

    23    compliant, TCPA compliant, double verified.

    24         Do you see that?

    25    A.   Yes.
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                                                                                  36


      1   Q.     Anywhere in those five bullet points, do you see the

      2   word -- the phrase "healthcare fraud"?

      3   A.     No.

      4   Q.     All right.    Now, the doctors that you were using when it

      5   came to telemedicine, did you think that they had any

      6   preexisting relationship with the patients?

      7   A.     They had none.

      8   Q.     And did you think that they were providing any legitimate

      9   treatment to the patients at all?

    10    A.     Treatment?    No.

    11    Q.     Okay.   Now, Mr. Hirsch, you were asked questions yesterday

    12    about Michael Lohan and the recording that Michael Lohan did of

    13    you.

    14    A.     Yes.

    15    Q.     Do you recall that?

    16    A.     Yes.

    17    Q.     And before the government played you that recording a

    18    couple days ago, had you ever heard it before?

    19    A.     No.

    20    Q.     And when you were meeting with Mr. Lohan back in 2019, when

    21    it turns out he was recording against you, did you have any

    22    concerns that he might be setting you up?

    23    A.     Yes.

    24    Q.     How did you learn of that?

    25    A.     Kate Lohan.
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                                                                                  37


      1   Q.   And --

      2   A.   Could we stop here a second?

      3   Q.   Yes.

      4          (Discussion was held off the record.)

      5               THE COURT:   You may proceed.

      6               MS. DE BOER:   Thank you, Your Honor.

      7   BY MS. DE BOER:

      8   Q.   And, Mr. Hirsch, at that time when you were meeting with

      9   Mr. Lohan, no agents had approached you; is that correct?

    10    A.   Correct.

    11    Q.   You were not cooperating with the government; is that

    12    correct?

    13    A.   Correct.

    14    Q.   Did you hope that you would stay out of trouble?

    15    A.   Of course.

    16    Q.   Did you hope that you wouldn't be in the seat that you're

    17    in today?

    18    A.   Yes.

    19    Q.   And so you made some statements to Mr. Lohan, correct?

    20    A.   Correct.

    21    Q.   Did you lie at all to Mr. Lohan?

    22    A.   Correct.

    23    Q.   Why did you lie?

    24    A.   I didn't want to get in trouble.       I just -- you know, I

    25    had -- I was -- she didn't tell me he was coming that day, but
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                                                                                  38


      1   I had -- I just -- just went with the flow with him.

      2   Q.   Okay.   And as Mr. Sadow told you yesterday, those calls

      3   were in April of 2019.

      4        Do you recall Mr. Sadow telling you that?

      5   A.   Correct.

      6   Q.   All right.    So I'm going to show you previously admitted

      7   Government Exhibit 1241-U, which we looked at yesterday.

      8        And this is between -- a text chain between you and

      9   Mr. Patel, correct?

    10    A.   Correct.

    11    Q.   So the calls with Mr. Lohan were in April of 2019.

    12         And then do you recall, in June of 2019, sending to

    13    Mr. Patel an article titled "Fraud Alert:         DNA and Cancer

    14    Genetic Testing Kits Linked to Medicare Scams"?

    15    A.   Yes.

    16    Q.   And so this is now a month and a half after this

    17    conversation with Mr. Lohan, correct?

    18    A.   Yes.

    19    Q.   And this is just one example, but yesterday we looked at a

    20    couple of other examples where you and Mr. Patel exchanged news

    21    articles or alerts about genetic testing fraud scams.

    22         Do you recall that?

    23    A.   Yes.

    24    Q.   Okay.   And I'm going to show you the article that he sent

    25    to Mr. Patel here.
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      1        Do you recall that we looked at this --

      2   A.   Yes.

      3   Q.   -- yesterday?

      4   A.   Yes.

      5   Q.   Okay.   Now, this article starts out by quoting from a

      6   Medicare beneficiary who got a constant barrage of phone calls

      7   from telemarketers.

      8        Do you see that?

      9   A.   Yes.

    10    Q.   And this person states:      I thought it -- I just thought it

    11    sounded like a good thing.      It was very convincing.

    12         Do you see that?

    13    A.   Yes.

    14    Q.   They said that Medicare and my primary insurance would pay

    15    for me to get this cancer test, and all you had to do was swab

    16    the inside of your mouth and mail it in.

    17         Do you see that?

    18    A.   Yes.

    19    Q.   And that this article goes on to discuss what happened to

    20    this particular beneficiary; is that correct?

    21    A.   Correct.

    22    Q.   Okay.   So when you saw this article, were you concerned

    23    that this was exactly what you were doing?

    24    A.   Yes.

    25    Q.   So between April of 2019, when Mr. Lohan began recording
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      1   against you, and June of 2019 -- this is June 11th of 2019 --

      2   did you have real concerns that you were going to get busted?

      3   A.   Yes.

      4   Q.   And shortly thereafter, in mid June of 2019, did agents

      5   show up and interview you?

      6   A.   Yes.

      7   Q.   And at that time, did you begin cooperating with the United

      8   States?

      9   A.   Yes.

    10    Q.   And ultimately, did you enter into a plea agreement --

    11    A.   Yes.

    12    Q.   -- with the United States?

    13    A.   Yes.

    14    Q.   And what did you plead to?

    15    A.   One count to kickback from the lab.

    16    Q.   And did you plead guilty because you are, in fact, guilty

    17    of that charge?

    18    A.   Yes.

    19    Q.   Who -- as relevant to this case, who is it that paid you

    20    kickbacks?

    21    A.   Excuse me.    Who what?

    22    Q.   As relevant to this particular case, who is it that paid

    23    you kickbacks?

    24    A.   LabSolutions, Minal Patel.

    25    Q.   Okay.
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                                                                                  41


      1              MS. DE BOER:    Thank you, Your Honor.     One moment?

      2              THE COURT:    Sure.

      3              MS. DE BOER:    Mr. Hirsch, thank you.     No further

      4   questions.

      5              THE COURT:    Thank you.    Thank you, Mr. Hirsch.    You're

      6   excused.

      7              THE WITNESS:    I'm done?

      8              THE COURT:    Yes, you're all done.

      9          (Discussion was held off the record.)

    10               MR. SADOW:    Your Honor, before the next witness, can we

    11    have a brief sidebar?

    12               THE COURT:    Yeah, sure.   Come on up.

    13           (The following proceedings were held sidebar:)

    14               THE COURT:    Yes.

    15               MR. SADOW:    Maybe you want to fill us in?

    16               THE COURT:    He's been getting contacted by Lohan again,

    17    and he ignored the messages.       That's all he's worried about.

    18    He was getting in contact with him last night.          He said, I keep

    19    getting messages.       I said, don't worry about it.

    20               That was really his concern.      There was nothing to add.

    21    I think it was more the same from yesterday.

    22               MR. SADOW:    Thank you.

    23               THE COURT:    You're welcome.

    24           (Proceedings returned to open court.)

    25               THE COURT:    All right.    Government's next witness.
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                                                                                  42


      1             MR. CUYLER:    The United States calls H.K.

      2             THE COURTROOM DEPUTY:     Please raise your right hand.

      3             (Government witness, H.K., duly sworn.)

      4             THE COURTROOM DEPUTY:     Please be seated.     Speak into

      5   the microphone.     Say and spell your full name for the record.

      6             THE WITNESS:    H.K., H-x-x-x-x, K-x-x-x-x-x-x.

      7             MR. CUYLER:    Thank you.

      8             And good morning, everyone.      Again, I'm Reginald

      9   Cuyler, and I'm with the United States.

    10                             DIRECT EXAMINATION

    11    BY MR. CUYLER:

    12    Q.   Ms. K., where do you currently live?

    13    A.   Valrico, Florida.

    14    Q.   And how long have you lived there?

    15    A.   About 30 years now.

    16    Q.   And what do you currently do for work?

    17    A.   I am retired, disabled.

    18    Q.   And how long have you been retired?

    19    A.   Over 20 years.

    20    Q.   And who do you have for health insurance?

    21    A.   Humana Medicare.

    22    Q.   And how long have you had Medicare?

    23    A.   About the same time as I've been retired, so about

    24    20 years.

    25    Q.   Now, I want to direct your attention to -- back to May
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      1   2018.

      2        Do you recall taking a cancer genetic test?

      3   A.   Yes, I do.

      4   Q.   Can you explain to the jury how you learned about that

      5   test?

      6   A.   Sure.   I received a telephone call, and it was a gentleman

      7   on the phone.     And he was talking to me.      It started with that

      8   I had won some gift cards.      I thought, wow, that's great.       I

      9   never win anything.

    10         So he said, oh, I see you -- I see you have had cancer.

    11         And I said, yes.

    12         He says, you know there's a way to test to make sure

    13    whether you're going to get another cancer back?

    14         And I said, really?

    15         He's like, yeah.     What's your insurance?

    16         I said, Medicare.

    17         He said, oh.    He says, I believe Medicare covers it.         Let

    18    me just check and see.

    19         So he checked.     And he said, yes, and I will get a kit off

    20    to you.

    21    Q.   Now, Ms. K., at the time, did you realize that call was

    22    recorded?

    23    A.   No.

    24    Q.   Now, have you since learned that that call was recorded?

    25    A.   Yes, sir.
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                                                                                  44


      1   Q.     And have you heard it?

      2   A.     Yes, sir.

      3   Q.     And now, I'm not going to play the recording -- because at

      4   this juncture, the jury gets the gist of it -- but I will note

      5   that Ms. K.'s call is already in evidence and has been marked

      6   as Government's Exhibit 413-A, and the accompanying transcript

      7   is 413-B.

      8          Now, Ms. K., having listened to that call, do you recall

      9   any discussions regarding screening for prenatal chromosomes?

    10    A.     No, sir.    I've had a hysterectomy.    I don't have any idea

    11    why they would do that.

    12    Q.     So did you want any testing for -- or any screening for

    13    prenatal chromosomes?

    14    A.     No.

    15    Q.     Now, at the time, did you have a cancer diagnosis?

    16    A.     Yes, I did.

    17    Q.     And can you explain briefly to the jury what that diagnosis

    18    was?

    19    A.     It's blood differentiated papillary transitional cell

    20    cancer, which means it's a kind of cancer that lines the

    21    bladder -- the lining from the bladder, the lining from the

    22    lungs, the lining from the mouth and the throat -- wherever you

    23    have those transitional cells, the cancer can come back at.

    24           In my case, it was reoccurring quite frequently, like, two

    25    or three times a year.      And at one point, it had gone into my
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      1   left kidney, and I had to have that removed.

      2        So I was getting desperate, I really was.         Chemo didn't

      3   work, and I did not want to lose my bladder.

      4   Q.   And, Ms. K., did you have a physician that was treating you

      5   for that cancer at the time?

      6   A.   Yes, sir.

      7   Q.   And who was that physician?

      8   A.   Dr. Mahesh Patel.

      9   Q.   Now, Patel is a common name.       Did you have any reason to

    10    believe that your doctor, Mahesh Patel, had any relation to the

    11    defendant here?

    12    A.   No.

    13    Q.   Okay.   Now, going back to the call, prior to receiving it,

    14    had you ever heard of betterhealthcare.com?

    15    A.   No, sir.

    16    Q.   And at any point, did you ever give betterhealthcare.com

    17    permission to contact you?

    18    A.   No.

    19    Q.   And you mentioned the free gifts or gift cards.          Did you

    20    ever receive them?

    21    A.   No, I did not.

    22    Q.   And after the phone call, had you heard from Better

    23    Healthcare ever again?

    24    A.   Unless that's the one that sent me the test kit and it went

    25    back to them, or if they had something to do with the diagnosis
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      1   that they gave me.     But, no.

      2   Q.     Okay.   And had you ever heard of a company called IDGAF?

      3   A.     No.

      4   Q.     And did you ever give that company permission to contact

      5   you?

      6   A.     No.

      7   Q.     Okay.   So after the phone call, can you explain to the jury

      8   what happened next?

      9   A.     I got the kit into the mail, and I was to spit into this

    10    little tube about this big (indicating) and put on the line and

    11    put the top back on and put it inside the envelope, and then

    12    put that inside the prepaid mailer, and so I did.

    13    Q.     And were there any medical professionals there to observe

    14    whether or not you did it right?

    15    A.     No, sir.

    16    Q.     So after you send off the kit, then tell the jury what

    17    happened.

    18    A.     Well, I waited and I waited to the point where I kind of

    19    forgot about it.     And then I received another phone call.        It

    20    was a man identifying himself as a doctor.         He said I wanted to

    21    call you myself.     I have great news.     You don't have to worry

    22    about the cancer.

    23    Q.     Now, was that person that called you Dr. Mahesh?

    24    A.     No.

    25    Q.     Was that person a genetic counselor?
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      1   A.    Not as far as I knew.

      2   Q.    Did you have any idea who that individual was?

      3   A.    No.

      4   Q.    Now, regarding the test itself, were you aware that a

      5   negative result simply tells you whether or not you have a high

      6   risk for the genes that were tested?

      7   A.    No.

      8   Q.    And did you know that a negative result didn't necessarily

      9   mean that any cancers would not recur?

    10    A.    No, I did not.    I thought that was the whole purpose of the

    11    test.

    12    Q.    So let me ask you this, Ms. K.      So after receiving the

    13    test, did any cancer, in fact, reoccur for you?

    14    A.    Yes, the bladder cancer.     Since then, it's come back about

    15    five times.

    16    Q.    And following up on the call from the individual that

    17    purportedly gave you results, did you receive anything in

    18    writing?

    19    A.    No, sir.

    20    Q.    Now, Ms. K, did you have any idea how much Medicare was

    21    billed for the test that you took?

    22    A.    No.

    23    Q.    Now, if you had known that this test -- Medicare was billed

    24    thousands of dollars for that test, would you have still taken

    25    it?
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      1   A.   No.

      2   Q.   And, Ms. K, have you ever heard of a doctor by the name of

      3   Huan Tsai?

      4   A.   No, sir.

      5   Q.   And did you speak to any doctors after -- prior to sending

      6   the kit off?

      7   A.   No.

      8              MR. CUYLER:   Okay.   I pass the witness and reserve for

      9   any redirect.

    10               THE COURT:    Thank you, Counsel.

    11               Cross-examination.

    12               MR. RAFFERTY:    Thank you, Your Honor.

    13                               CROSS-EXAMINATION

    14    BY MR. RAFFERTY:

    15    Q.   Good morning, ma'am.

    16    A.   Good morning.

    17    Q.   My name is Brian Rafferty, and I'm one of the attorneys

    18    that represents Minal Patel.       I just have a few follow-up

    19    questions.    Okay?

    20    A.   Okay.

    21    Q.   I know we haven't played the recording, but my

    22    understanding is that you have a personal history of cancer

    23    that you've already described for this jury; is that right?

    24    A.   Yes, sir.

    25    Q.   Do you also have a family history of cancer?
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      1   A.   Yes, sir.

      2   Q.   Can you describe that for the jury?

      3   A.   My father died at the age of 56 with lung cancer.

      4   Q.   I'm sorry.    Say that again, ma'am.

      5   A.   My father died at the age of 56 with lung cancer, and my

      6   younger sister died at the age of -- I think it was 58 with

      7   breast cancer.

      8   Q.   So you have both a personal history of cancer and a family

      9   history of cancer.

    10    A.   Yes, sir.

    11    Q.   Okay.   With respect to the kit that you received in the

    12    mail, was there also some paperwork with the kit?

    13    A.   Yes, sir.

    14    Q.   Did you fill out that paperwork and send it back in with

    15    the swab or spit cup, or whatever it is that you sent in?

    16    A.   I don't remember throwing anything out, but I'm sure -- I

    17    remember instructions in it.

    18    Q.   Okay.   And at some point, I think you indicated, after you

    19    sent in the kit you received a call from somebody?

    20    A.   Yes.

    21    Q.   And that person represented themselves to be a doctor?

    22    A.   Yes, sir.

    23    Q.   And they indicated that the test results were in some form

    24    negative?

    25    A.   Yes, sir, great news.
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                                                                                  50


      1              MR. RAFFERTY:   That's all I have, Your Honor.       Thank

      2   you.

      3              THE COURT:    Thank you.

      4              Redirect.

      5                            REDIRECT EXAMINATION

      6   BY MR. CUYLER:

      7   Q.     Now, Ms. K, would you consider taking a cancer genetic test

      8   as a healthcare decision?

      9   A.     Yes, I would.

    10    Q.     And is a healthcare decision an important life decision to

    11    you?

    12    A.     Absolutely.

    13    Q.     Now, when making important life decisions, would you rather

    14    take someone's word for it, or would you rather see it in

    15    writing?

    16    A.     I'd rather see it in writing, especially since it's this.

    17    Q.     And did you receive anything in writing regarding the

    18    results of your test?

    19    A.     No, sir.

    20               MR. CUYLER:   Nothing further.

    21               THE COURT:    Thank you.

    22               Thank you so much, ma'am.     You're excused.     Take your

    23    time stepping down.

    24               All right.    Ladies and gentlemen, what we're going to

    25    go ahead and do is take our morning break a little earlier so I
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      1   can get some things in place for you.

      2             Go ahead and leave your notepads on your chairs, and

      3   I'll bring you in at about 10:30.        Brief recess.    Thank you.

      4             THE COURT SECURITY OFFICER:      All rise for the jury.

      5          (Jury exits at 10:15 a.m.)

      6             THE COURT:    Please be seated, everyone.

      7             Okay.   So my understanding is then the next witness

      8   would be Mr. Petron; is that right?

      9             MS. DE BOER:    That's correct, Your Honor.

    10              THE COURT:    Okay.   Look, I have to take advantage of

    11    the time I have.     It is what it is.     We move witnesses around,

    12    but it's only 10:15.      So I'm willing to break at noon.       We

    13    don't have to go deeper than that.

    14              If you have want to take a little bit of time now, it's

    15    10:15, you've got 15 minutes to get some things organized.            I

    16    don't know if his background is going to take all that time.              I

    17    doubt it.    I think you may begin to get into some of the

    18    documents.

    19              So certainly I don't know if within the next 15 minutes

    20    it gives you enough time to try to give some last-minute

    21    guidance to allow the witness to understand where you're going

    22    to go.   Certainly I understand the defense's concern that once

    23    he takes the stand, further communication with him should

    24    ordinarily be prohibited.

    25              So I don't know if you can make the most -- I can tell
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      1   you this.    I'm even willing to maybe go a little past 10:30, if

      2   you need it, and then we can go straight to noon.          So if you

      3   want to take the next 15, maybe 20 minutes, to go through with

      4   him and perhaps even use some of the time to check with defense

      5   and see if they can agree to some exhibits, we can do that.

      6             Does that make sense?

      7             MS. DE BOER:    That's perfect, Your Honor.      Especially

      8   if it's a little bit of a longer 15 minutes, but I don't think

      9   we'll have a need to talk with them over the lunch break.

    10              What I will say is I don't know how long Mr. Sadow's

    11    cross of this witness is going to be.        Dr. Yogel can't come

    12    today; he's tomorrow.      But we will be resting tomorrow.       I

    13    don't even think it will take to the end of the day.          So we are

    14    ahead of schedule at this point.

    15              THE COURT:    Correct.   For me, and I don't have any

    16    reason to think if we can finish a little earlier today, too,

    17    because of Dr. Yogel's availability, which is not until

    18    tomorrow, I'm completely fine with that.

    19              One name we had thrown out was Orr.        Is that not going

    20    to be a witness called?      Because we had talked about that.

    21              MS. DE BOER:    Not in our case-in-chief, Your Honor.

    22              THE COURT:    Okay.   All right.    Very good.   So really

    23    what we have left is Petron and Dr. Yogel then.          Okay.   And

    24    that works because tomorrow we lose that hour anyway because we

    25    have to do our arguments.
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      1             So that's fine by me.      So let's do this.     I think I can

      2   spot you closer to 20, maybe a little more minutes.          And then,

      3   when I come back just after 10:30, we can touch base and see if

      4   there's any rulings I need to make.        And then let's get

      5   started, and we'll go till about noon and break by noon,

      6   wherever we are at with Petron.

      7             So you can plan ahead over your break now.         Okay.

      8             MS. DE BOER:    That's great.    Thank you, Your Honor.

      9             THE COURT:    All right.    Thank you, guys.     We'll be in a

    10    brief recess.     I'll be back just after 10:30.

    11              THE COURT SECURITY OFFICER:      All rise.

    12           (Court recessed at 10:18 a.m.)

    13           (Back on the record at 10:50 a.m.)

    14              THE COURT:    Please be seated, everyone.      Before we

    15    bring out our jury, turning to the government, hopefully we've

    16    had a little bit of time to get things organized before we call

    17    Mr. Petron.

    18              Are we ready to go?

    19              MS. DE BOER:    Yes, Your Honor.     Thank you.

    20              THE COURT:    All right.    Very good.   Okay.    So let's go

    21    ahead and round up our jurors, please.        Thank you.

    22              MR. SADOW:    Your Honor, so the Court knows, because of

    23    the scheduling changes, I don't actually have the same kind of

    24    list of exhibits.      So while I'm not going to object to any of

    25    them, it's going to be necessary -- they don't have to say --
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      1   they say next exhibit is so and so --

      2              THE COURT:   Right.   Just go through the sequence.       I

      3   got you.

      4              MR. SADOW:   I don't have any problems.

      5              THE COURT:   Okay.    Very good.

      6              MS. DE BOER:    And I'll take it slow so he has time to

      7   take a peek.

      8              THE COURT:   Exactly.   Very good.

      9              MS. DE BOER:    And I intend to introduce some business

    10    records up front that the witness will be relying on.           I'll do

    11    that at the beginning.

    12               THE COURT:   Perfect.   I don't think there's going to be

    13    much of an objection to that, so we should be good.

    14               THE COURT SECURITY OFFICER:     All rise for the jury.

    15           (Jury enters at 10:52 a.m.)

    16               THE COURT:   Please be seated, everyone.        All right.

    17    Welcome back, ladies and gentlemen.

    18               So our plan is for the government to call their next

    19    witness, and we're going to have this witness take us up to the

    20    lunch hour.    All right?

    21               So we took our mid-morning break a little earlier so we

    22    could get everything lined up for you all.         Okay?

    23               So with that being said, we'll turn it over to the

    24    government.

    25               Next witness.
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                                                                                  55


      1             MS. DE BOER:    Thank you, Your Honor.      The United States

      2   calls Michael Petron.

      3             THE COURT:    All right.    Come on up, Mr. Petron, and

      4   we'll swear you in.

      5             THE COURTROOM DEPUTY:      Please raise your right hand.

      6             (Government witness, MICHAEL PETRON, duly sworn.)

      7             THE COURTROOM DEPUTY:      Please be seated.    Speak into

      8   the microphone.     Say and spell your name for the record.

      9             THE WITNESS:    My name is Michael Petron, P-e-t-r-o-n.

    10                             DIRECT EXAMINATION

    11    BY MS. DE BOER:

    12    Q.   Good morning, Mr. Petron.

    13    A.   Good morning.

    14    Q.   Could you explain to the ladies and gentlemen of the jury,

    15    where do you work?

    16    A.   I work at a firm named Stout, S-t-o-u-t.

    17    Q.   And what is Stout?

    18    A.   Stout is a global investment bank and advisory firm.

    19    Q.   What kind of work does Stout do?

    20    A.   We do the buying and selling of businesses; we do

    21    valuations; and we do dispute consulting.

    22    Q.   And does your firm do consulting for the government?

    23    A.   We do.

    24    Q.   Can you give the jury a little bit of a background of your

    25    education and certifications?
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      1   A.   I can.    I have an undergraduate degree with a double major

      2   in economics and statistics.       I have one master's degree in

      3   statistics and a second master's degree in accounting.           I'm a

      4   certified public accountant and a certified fraud examiner.

      5   Q.   And what is your title at Stout?

      6   A.   I am a managing director and copresident.

      7   Q.   And as managing director and copresident, what is it that

      8   you do?

      9   A.   I would say my function as a managing director is doing

    10    what I'm doing here today, which is assisting clients -- in

    11    this case, the government -- in some aspect of litigation.

    12    Q.   Okay.    And how long have you been working for Stout?

    13    A.   About eight and a half years.

    14    Q.   And before you joined Stout, what did you do?

    15    A.   The same exact thing at a firm that Stout acquired.

    16    Q.   Okay.    And do you work with -- is it just you doing all of

    17    the consulting work, or do you work with a large team?

    18    A.   I have a very large team that helps.

    19    Q.   And the folks that work on your team, what type of

    20    qualifications do they have?

    21    A.   I would say they are largely accountants or finance

    22    professionals.     And we also have a few data scientists, so

    23    folks that are more technologically savvy, given my statistics

    24    background, that understand computers and data and coding.

    25    Q.   And was your firm, Stout, hired by the United States to
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      1   provide consulting and assistance on this matter?

      2   A.     It was.

      3   Q.     And can you give an overview of the nature of the requests

      4   and your engagement with the government?

      5   A.     Sure.   We were asked to do a variety of things.       I will put

      6   them into two broad categories.

      7          The first is, we were asked to analyze financial records.

      8   So these would be bank statements, supporting documents to bank

      9   statements, checks, deposit slips, other miscellaneous

    10    financial records, and really summarize those records -- I

    11    would say standardize and summarize them.

    12           I believe we've looked at 19 or 20 different bank accounts

    13    for a variety of individuals and companies.         So that would be

    14    Category 1.

    15           And then Category 2, we were asked to look at voluminous

    16    amounts of healthcare claims data.        So this would be data that

    17    was billed to either insurance -- which I call Part C for

    18    Medicare -- or fee-for-service Medicare, Part B.

    19    Q.     Okay.   And the financial records and the claims data that

    20    you mentioned, is that material incredibly voluminous?

    21    A.     It is extremely voluminous.     I believe we have built a

    22    financial database of over 49,000 transactions.          There are well

    23    over a million claims in the Medicare claims database that we

    24    have.    It's -- it's not something I could print out and show

    25    you.
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      1   Q.   So if we attempted to sort of go through every claim or go

      2   through every transaction, we would be here for quite some

      3   time; is that fair?

      4   A.   You could attempt to do that.       You would not only be here

      5   for months upon months, but you would never remember what

      6   you're looking at.

      7   Q.   Fair enough.    And so in the course of your work, were you

      8   asked to create various charts and graphs summarizing what you

      9   saw in the financial records and in the claims data?

    10    A.   Absolutely.

    11    Q.   Okay.   And we're going to go through some of those during

    12    your testimony today and break all of that down; is that fair?

    13    A.   That's my understanding.

    14    Q.   Okay.

    15              MS. DE BOER:    At this time, Your Honor, the United

    16    States has several exhibits to move into evidence.          Those are

    17    301, 302, 303, 304, 305, 306, 307, 308, 309, 310, 311, 312,

    18    313, 314, 315, 316, 317, 318, 319, 320, 321, 322, 323, 324,

    19    328, 329, 330, 331, 1121, and 1125.

    20              THE COURT:    Any objection?

    21              MR. SADOW:    None whatsoever, Your Honor.

    22              THE COURT:    Thank you, Mr. Sadow.

    23              Those will all be admitted at this time without

    24    objection.

    25           (Government Exhibits 301, 302, 303, 304, 305, 306, 307,
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                                                                                  59


      1        308, 309, 310, 311, 312, 313, 314, 315, 316, 317, 318,

      2        319, 320, 321, 322, 323, 324, 328, 329, 330, 331, 1121,

      3        and 1125 were received in evidence.)

      4   BY MS. DE BOER:

      5   Q.   And the good news, Mr. Petron, those are the records that

      6   you have summarized, so we don't have to go through each one of

      7   those.

      8        Okay.    So I want to start by talking about the Medicare

      9   claims data.

    10         Were you provided by the government a list of billing codes

    11    and which codes are cancer genetic billing codes and which

    12    codes are pharmacogenetic billing codes?

    13    A.   I was.

    14    Q.   And I'm showing what has been previously admitted as

    15    Government Exhibit 109.

    16         So, Mr. Petron, this slide is titled "CGx Tests."

    17         And do you see here, on the left-hand side, there's a list

    18    of different procedure codes?

    19    A.   I do.

    20    Q.   And a description of what those codes are?

    21    A.   I see that, yes.

    22    Q.   Okay.    And this continues for two -- two pages.

    23         And is it fair to say that these are all codes that are

    24    found in the LabSolutions claims data of claims that were

    25    submitted to Medicare?
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                                                                                  60


      1   A.   Absolutely.

      2   Q.   Okay.   And you didn't decide what is a CGx code and what is

      3   a PGx code; that information was provided to you by a Medicare

      4   expert, Laurie McMillan?

      5   A.   That is correct.

      6   Q.   Okay.   And I'm going to show you what has been admitted as

      7   Government Exhibit 110.

      8        And you were also provided by Ms. McMillan a list of what

      9   are called Tier 2 cancer genetic testing billing codes; is that

    10    correct?

    11    A.   It is correct.

    12    Q.   And these are ones that have a specific diagnosis code

    13    associated with them; is that right?

    14    A.   That is correct.     If this diagnosis code exists in

    15    combination of this procedure code being billed, then that

    16    procedure was considered a CGx, from my analysis.

    17    Q.   Okay.   And the Tier 2 codes, they are -- there's a lot here

    18    that start with 814, 01, 03, 04, 05.

    19         Do you see that?

    20    A.   I do.

    21    Q.   Okay.   And then, finally, Government Exhibit 111, which was

    22    previously admitted.

    23         Is this simply a list of the procedure codes for pharmaco,

    24    or PGx testing?

    25    A.   Precisely.
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                                                                                  61


      1   Q.   Okay.   Now, once you had this information of what code

      2   corresponds to what type of testing, how did you use that in

      3   your analysis?

      4   A.   So what we did was create an algorithm from the Medicare

      5   claims data to classify all of the billing data into those

      6   particular categories, that being the CGx, the Tier 2 CGx, or

      7   the PGx.

      8   Q.   And using that algorithm, were you then able to identify

      9   the total amount that LabSolutions billed to Medicare and

    10    received from Medicare and then, among that amount, what was

    11    cancer genetic testing and what was pharmacogenetic testing?

    12    A.   That is precisely what we did, yes.

    13    Q.   And did you create -- did your team create a chart that

    14    summarizes the total amounts that were billed and paid to

    15    Medicare?

    16    A.   We did.    So we took all of those million-plus records.         We

    17    used the list -- those three lists that we just went over, and

    18    we've created summaries which will show you -- that sum up both

    19    the billed amounts and the paid amounts associated with each of

    20    the categories of billings.

    21               MS. DE BOER:   At this time, Your Honor, the United

    22    States offers into evidence Government Exhibit 112.

    23               THE COURT:   Any objection to 112?

    24               MR. SADOW:   No.   And as previously stated, while it's

    25    being done a little differently, all she needs to say is what
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                                                                                  62


      1   the exhibit is, and Your Honor can let it in.

      2             THE COURT:    Very good.    Thank you for that.     That'll be

      3   admitted at this time.

      4             MS. DE BOER:    Thank you, Your Honor.

      5             Thank you, Mr. Sadow.

      6          (Government Exhibit 112 was received in evidence.)

      7   BY MS. DE BOER:

      8   Q.   So, Mr. Petron, I'm showing you Government Exhibit 112.

      9   Let's see.    Starting with the left-hand bar here, can you walk

    10    the jury through what it is that is depicted.

    11    A.   So what we have on the left-hand side are the total

    12    billings for LabSolutions to Medicare from January of 2017

    13    through September 2019.      The total amount billed was over

    14    $463 million.    That's the number at the top left.

    15         That number is then categorized into three buckets.          First,

    16    we have the blue bar, which is 269 million of CGx tests and --

    17    Q.   Let me stop you right there.

    18         That's this blue bucket?

    19    A.   That's this blue box, right.

    20         And that includes the Tier 2 and the Tier 1.

    21         Then we have the green spot in the middle, 73 million of

    22    PGx tests.    And then finally, at the top, the whitish part is

    23    all other tests.

    24    Q.   Okay.   And this bar, the first bar here, this is how much

    25    was billed to Medicare; is that correct?
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                                                                                  63


      1   A.   Correct.    These are the billed amounts.

      2   Q.   Okay.   And then if we move over to the second bar, the

      3   slightly shorter bar, what is reflected here?

      4   A.   Here, we have a similar analysis; but instead of the billed

      5   amount, we have the amounts actually paid to LabSolutions.

      6        So LabSolutions was paid over $128 million associated with

      7   CGx tests; that's the blue.       So the blue corresponds to the

      8   blue in both bars.

      9        Likewise, the green, which represents the PGx tests, the

    10    PGx were paid just over $25 million.

    11         And all other tests billed by LabSolutions were paid just

    12    over $34 million.

    13    Q.   Okay.   And what is the bottom line here in terms of what

    14    type of testing that was being billed by LabSolutions to

    15    Medicare?    What type of testing is driving the reimbursements

    16    or driving the payments here?

    17    A.   So, as you can see, the vast majority of the $187 million

    18    in total paid was derived from the CGx tests and the PGx tests.

    19    Q.   Okay.   Did you also analyze the testing not just by the

    20    amount billed, but also by what beneficiaries were receiving?

    21    A.   Correct.    So we analyzed not just amounts billed and paid,

    22    but we would analyze the beneficiaries, the individuals who

    23    were receiving the tests; we would analyze doctors referring

    24    the tests; locations.

    25         We analyzed a great deal of information.
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                                                                                  64


      1              MS. DE BOER:   Okay.   At this time, Your Honor, the

      2   United States offers into evidence Government's Exhibit 113 and

      3   114.

      4              THE COURT:   Those will be admitted at this time without

      5   objection.

      6              MS. DE BOER:   Thank you.

      7           (Government Exhibits 113 and 114 were received in

      8          evidence.)

      9   BY MS. DE BOER:

    10    Q.     Okay.   So we're going to show 114 to start here,

    11    Mr. Petron.     And I want to make sure we're zoomed in

    12    sufficiently for the jury to see it.        So there is another

    13    column over here that we'll get to.

    14           But focusing just on the first two columns, can you walk

    15    the jury through what this chart shows?

    16    A.     Sure.

    17           So what we've done here is we've isolated only individuals

    18    that received at least one CGx test.        So we're starting with

    19    the baseline of someone has gotten a CGx test, and then we're

    20    summarizing everything that that person also was tested for.

    21           So what this translates to are -- is:      Over the course of

    22    the relevant time period -- that being January 2017 to

    23    August 2019 -- there are 27,365 beneficiaries that received CGx

    24    tests.

    25           And I should clarify here.     An important distinction on
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      1   this chart is also, this is just one part of the Medicare data,

      2   the Part B.     This does not include the Part C or the Medicare

      3   Advantage plans run by private insurance.

      4   Q.   And let me stop you there to clarify that.

      5        The total billing paid that we had looked at, did that

      6   include both Part B and Part C Medicare claims data?

      7   A.   It did.

      8   Q.   Okay.    And if you recall, what -- was it Part B or Part C

      9   that made up the bulk of that billing?

    10    A.   It was Part B.

    11    Q.   Okay.    And so here, you're looking just within the Part B

    12    data to determine -- to analyze these beneficiaries?

    13    A.   Correct.

    14    Q.   Okay.    And I cut you off.    You had just been talking about

    15    27,000 patients in the data that got a CGx test.

    16    A.   That is correct.

    17    Q.   Okay.

    18    A.   And so when looking at those 27,365 patients, we examined

    19    how many different dates of service, or how many different days

    20    did these individuals receive a test.

    21         So as everyone knows, you may go to the doctor once a year.

    22    Right?    So over the course of three years, you may have three

    23    visits.    So we wanted to understand that information.

    24         When we did that, we arrived at the second row, and that

    25    second row shows the total number of dates of service for those
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                                                                                  66


      1   beneficiaries.     And you can see, they're very similar numbers,

      2   27,844.

      3        And what that means is, by and large, one person had one

      4   date with tests.

      5   Q.   Okay.   So one person had one date with tests.        But of the

      6   27,000 patient that were billed -- whose Medicare was billed

      7   for a CGx test, did some of them also receive other tests, or

      8   was their Medicare billed for other tests?

      9   A.   Absolutely.    Medicare was billed, on those same dates, for

    10    other tests as well as the CGx.

    11         So the next column represents the PGx tests.         And you can

    12    see, of the 27,365 individuals, 8,206 of them also received the

    13    PGx test in addition to the CGx test.

    14    Q.   Okay.   So in other words, that's about 30 percent of the

    15    patients who got a CGx test also got a PGx test billed to

    16    Medicare.

    17    A.   That is correct.

    18    Q.   Okay.   And then continuing over to the other column, what

    19    does that mean?

    20    A.   So here, this is all other tests.        So these would be any

    21    other tests billed that were not classified as CGx or PGx.           And

    22    you can see that, again, of the 27,000 CGx beneficiaries, 9,151

    23    of them also received other tests as well.

    24    Q.   Okay.   And looking down to the average number of tests per

    25    beneficiary, can you explain to the jury what that reflects?
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                                                                                  67


      1   A.     So what we did is, on each of -- for each beneficiary, we

      2   counted how many tests they received.        We looked at the

      3   lists -- the first things we looked at were all those lists of

      4   tests.

      5          Each row is a test, one procedure code.       So we counted,

      6   and then we averaged overall the beneficiaries, that on

      7   average, an individual received 12 of these tests.

      8   Q.     And that's 12 CGx tests.    So on average, the members of the

      9   27,000 received on average -- there were 12 procedure codes

    10    billed for them just for CGx.

    11    A.     Correct.

    12    Q.     And could they also have had additional codes billed for

    13    PGx?

    14    A.     Exactly.   And the column reads the same way.      So that for

    15    PGx, of the 8,206 beneficiaries that had PGx tests, on average

    16    they received just over six PGx tests.

    17    Q.     Okay.   And then the total billed and paid amounts here on

    18    the bottom?

    19    A.     So on the CGx side, over $223 million billed, with a

    20    corresponding amount of $119 million paid.

    21           On the PGx grouping, $11 million billed, with $5.8 million

    22    paid.

    23    Q.     Okay.   Now, did you also analyze the frequency of specific

    24    CGx codes in the data?

    25    A.     Yes.
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                                                                                  68


      1   Q.     And did you create a chart that summarized that?

      2   A.     We did.

      3   Q.     I'm going to show you what has now been admitted as

      4   Government Exhibit 113, and I'm going to start with page 2 of

      5   113.

      6          And, Mr. Petron, I may have to zoom in on parts of this as

      7   we go, but why don't you just start by walking us through, at a

      8   high level, what it is that's reflected.

      9   A.     Okay.   So this is -- one, I'm a visual person.       I hate

    10    boxes of numbers.     I like to see charts like this.

    11           So what we've done is, we've created a chart where along

    12    the bottom, the X axis, the bottom of the chart, you see all of

    13    the five-digit procedure codes.

    14    Q.     And I'm going to zoom in here so that the jury can see what

    15    you're talking about.      I'll just give it a second to adjust.

    16    A.     So while that's happening there, these are the codes that

    17    were on the list that we just looked at.         Right?   So this is

    18    Tier 1 and Tier 2 CGx codes.

    19           And so for every one of these codes, we are counting the

    20    number of people that got that test.

    21    Q.     And we are only looking, in this slide, at CGx testing; is

    22    that correct?

    23    A.     That is correct.   The colors, the yellow is the Tier 2

    24    ones, and the blue are the Tier 1 CGx codes.

    25    Q.     Go ahead.
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                                                                                  69


      1   A.   And so just the way you read this chart is, okay, I want to

      2   know how many of a particular code was billed.         So I would look

      3   at the first one, 81405, and if we go up on the vertical axis,

      4   we're counting the number of beneficiaries that got that test,

      5   and you can see -- well, you can't see it.         I know the number

      6   is a little bit over 26,000 beneficiaries.

      7        And that roughly corresponds, if you recall from the last

      8   chart that we looked at, of people getting CGx tests.

      9   Q.   Right.    So we've just seen that there were approximately

    10    27,000 patients that had a CGx test billed to Medicare.

    11         Of those 27,000, this chart is showing that over 26,000 of

    12    them -- so the vast, vast majority of them -- had this

    13    particular code, which is a Tier 2 code bill; is that correct?

    14    A.   That is correct.

    15    Q.   Okay.    And then the first four, the highest bars on this

    16    chart, are all about equal, and they're all Tier 2 codes.

    17    A.   That is correct.     Each of those four Tier 2 codes roughly

    18    have about 26,500, give or take, beneficiaries.          By and large,

    19    these codes were always billed together.

    20    Q.   Okay.    And then going further down this chart, you would

    21    see every other code that was billed and the number of patients

    22    that received that code; is that fair?

    23    A.   That's fair.    So let's take the very next one which is a

    24    Tier 1 code, 81201.     That's the first blue bar.

    25         So what that means is just over, barely over 20,000
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                                                                                  70


      1   beneficiaries, received that particular test, 81201.

      2   Q.   Okay.

      3              MS. DE BOER:    At this time, Your Honor, the government

      4   would move admission of Government's Exhibit 116, 108, and 106.

      5              THE COURT:    Those will be admitted without objection.

      6          (Government Exhibits 116, 108, and 106 were received in

      7        evidence.)

      8   BY MS. DE BOER:

      9   Q.   And, Mr. Petron, did you analyze -- in the data that you

    10    were provided, could you determine that there were bills from

    11    two different geographical locations?

    12    A.   I was, yes.

    13    Q.   And did you analyze the billing from each location?

    14    A.   We did.

    15    Q.   All right.      I'm showing you what has been admitted as

    16    Government Exhibit 106.

    17         Is this the chart that analyzes the billing by location?

    18    A.   It does, yes.

    19    Q.   Okay.    And I'll try to zoom in as you -- if you could walk

    20    us through this chart, I'll zoom in on the parts you're talking

    21    about so the jury can see what you're seeing.

    22    A.   So here, we are purely looking at the Medicare Part B CGx

    23    billing.     Okay?   The CGx only billing.    And this is a different

    24    way to look at it, which is, we're looking at it by month.

    25         So we have months going across the bottom on the X axis to
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      1   see how time factored into the billing.        We start in January

      2   of 2017, and we proceed along the blue bars, all the way into

      3   2018.

      4        The blue bars represent the amount that was billed using

      5   the Georgia provider location.       And then, as you can see, the

      6   red bars start to pick up in November of 2018, and that is the

      7   Pennsylvania billing provider.

      8   Q.   Okay.    And the blue bars -- you know, up until November

      9   of 2018, there are no red bars, and the blue bars are quite

    10    high compared to the red bars that then appear; is that fair?

    11    A.   That is fair.

    12    Q.   But once the orange or red bars come into play, then what

    13    is the trend after that point?

    14    A.   You can see that there is a falloff of the blue bars, and I

    15    would say the blue bars and the red bars then -- you know, you

    16    can see for yourself how to characterize that, but the blue

    17    looks to be slightly less than the red going forward.

    18    Q.   Okay.    Were you also asked to analyze billing for specific

    19    patients?

    20    A.   I was.

    21    Q.   And did you create summary charts that correspond to that?

    22    A.   We did.

    23              MS. DE BOER:    At this time, Your Honor, the United

    24    States offers into evidence Government's Exhibit 166, 2, 3, and

    25    4.
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      1             THE COURT:    Those will be admitted without objection.

      2             MR. SADOW:    Could you repeat that one more time?        I'm

      3   sorry.

      4             MS. DE BOER:    Yes.   It's four different exhibits; 166,

      5   then it's Government Exhibit 2, then Government Exhibit 3, and

      6   Government Exhibit 4.

      7             MR. SADOW:    Thank you.

      8          (Government Exhibits 166, 2, 3, and 4 were received in

      9        evidence.)

    10    BY MS. DE BOER:

    11    Q.   So showing you -- starting with Government Exhibit 2,

    12    Mr. Petron -- and we're not going to be able to fit the whole

    13    thing on the screen, so we'll go sort of bit by bit.

    14         So walk us through what is reflected here on Government's

    15    Exhibit 2.

    16    A.   Government Exhibit 2 is a summary we created, detailing

    17    various pieces of information surrounding V.H., which had

    18    billings from LabSolutions on 9/24/2018.

    19         So what we're looking at is, just starting on the top

    20    left-hand side, the claim number.        So that is the unique

    21    identification in the Medicare data for the particular claim

    22    that was submitted by LabSolutions.

    23         We have that claim submission date, 9/24/2018, and finally,

    24    the referring provider that referred the test to LabSolutions.

    25    Q.   And there's a notation here for no prior relationship.
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                                                                                  73


      1        Can you explain to the jury what that means?

      2   A.   Sure.   We looked at all of the billing data for Ms. H.,

      3   going back in time, and we looked for any other claim that had

      4   any association whatsoever with Dr. Tsai, and we found no

      5   relationship whatsoever, at least from a billing perspective,

      6   between that doctor and this patient.

      7   Q.   Okay.   And then I'll zoom out so you can continue to take

      8   us through this chart.

      9   A.   Okay.   So let's go to the top right-hand side.         This is a

    10    diagnosis summary from the claim.

    11         So these would be the diagnosis codes associated with this

    12    particular claim, and they're detailing both personal and

    13    family histories of cancer.

    14    Q.   And then I'll zoom back out so you can take us through the

    15    remainder.

    16    A.   And then the bottom part of this is what I would call the

    17    procedure code or the line item detail.        So this is what the

    18    lab billed for Ms. H. on this day.

    19         So as we look at this, we can see 81201.         And if you

    20    recall, that was the first blue line of that bar chart that we

    21    looked at.    And then there are codes 81404 through 406.          Those

    22    are those first yellow lines that we looked at.

    23         And the way this chart works is, we detail out every single

    24    procedure code, the description of that procedure code, the

    25    amount that was billed in the next-to-last column, and finally,
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      1   the amount paid for that particular procedure.

      2   Q.    Okay.   And when we had looked at the chart summarizing the

      3   27,000 thousand patients that -- whose Medicare was billed for

      4   CGx tests, the average number of tests for CGx was around 12;

      5   is that right?

      6   A.    Correct.

      7   Q.    So if we look at Ms. H.; 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11,

      8   12.   Right on the money.     Fair enough?

      9   A.    That's correct.    That's what the average indicates.

    10    Q.    All right.   And what is reflected down on the bottom?

    11    A.    So here -- I'm sorry, am I causing feedback?

    12    Q.    I think it's actually on this mic.       It's not you.    It's

    13    been happening with everybody.

    14    A.    All right.   So what we have is the total billed amount for

    15    Ms. H. on this date, $6,470, and the total amount paid

    16    associated with that, $4,149.

    17    Q.    Okay.   And did you create similar charts for each of the

    18    patients?

    19    A.    We did one for each of the accounts.

    20    Q.    So moving to Government's Exhibit 3.

    21    A.    This is the same exact setup that we just went through, in

    22    detail, for Beneficiary G.      we've got the claim number, the

    23    claim submission, and the referring provider, Dr. Tsai, with no

    24    prior relationship.     So nowhere in the billing history was

    25    there another billing with that doctor and this beneficiary.
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      1        We have the diagnosis in the top right of a personal

      2   history of cancer.

      3        And then we have the procedure code detail again at the

      4   bottom, listing line by line the individual procedures billed

      5   for this beneficiary.

      6   Q.   And just to give the jury a sense of these procedures.           So

      7   the first one reads -- it's 81201, gene analysis, something

      8   about polyposis coli, whole gene sequence.

      9        Do you see that?

    10    A.   I do.

    11    Q.   And then molecular pathology, molecular pathology, more

    12    gene analysis.     And then one that is highlighted:       Gene

    13    analysis breast cancer 1.

    14         Do you see that?

    15    A.   I do.

    16    Q.   And how much was that code billed for?

    17    A.   That was the largest individual code billed for $1,310.

    18    And ultimately, it was paid at $1,275.

    19    Q.   And the total billed -- and paid for -- by LabSolutions for

    20    Mr. G.'s care?

    21    A.   $5,820 billed and $2,975 paid.

    22    Q.   I'm showing you now Government Exhibit 4.

    23         Is this a similar chart for Ms. H.K.?

    24    A.   It is.    Again, a chart is set up in the same way.          We have

    25    the unique claim number followed by the submission date
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      1   followed by the referring provider, again, Dr. Tsai.

      2        And when we examined that claims history, we found no prior

      3   relationship with this doctor.

      4        The diagnoses related to this particular claim are both a

      5   percentage and a family history of various cancers.          And then,

      6   similarly, we have all the procedure codes listed that were

      7   billed, with their description, their amounts billed and paid,

      8   just like before.

      9   Q.   And zooming in at the bottom, the total bill then paid for

    10    Ms. K.'s test?

    11    A.   Here we have $5,820 billed and $1,699 paid.

    12    Q.   Okay.    And then were there a few other patients that the

    13    government asked you to analyze, perhaps not in quite as much

    14    detail as the counts that you just looked at, but a few other

    15    billed and paid amounts for certain other patients?

    16    A.   There was.

    17    Q.   I'm showing you what has been admitted as Government

    18    Exhibit 166.

    19         All right.    So starting with page 1 of 166, this is for a

    20    patient named W.H.; is that correct?

    21    A.   It is.

    22    Q.   And what did you find for Ms. H?

    23    A.   Here, we found one claim on November 17, 2017, the start

    24    date and the end date being the same.        That's one.    We found

    25    total billings related to all tests of $7,750.
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      1        In this situation, the only tests billed were all CGx

      2   tests.   So that's why the next number is the same, 7,750.           That

      3   means there were no other billings outside of CGx testing for

      4   Ms. H.

      5        And then the associated paid amounts, again, $6,715 were

      6   paid.    And those -- again, those two numbers are the same

      7   because CGx tests were the only tests billed.

      8   Q.   Okay.   And turning to page 2 of Government's 166, is this a

      9   similar analysis for W.I.?

    10    A.   It is the same exact setup, very similar fact pattern.           On

    11    May 31, 2018, a claim for CGx tests only.         That's why the all

    12    tests and the CGx are the same.       $6,470 billed with a

    13    corresponding paid amount of $5,425.

    14    Q.   And A.K.?

    15    A.   Again, similar pattern here with Ms. K.         June 7, 2018,

    16    billing for CGx tests in the amount of $6,470.         Those were paid

    17    in the amount of $5,425.

    18    Q.   How about D.N.?

    19    A.   Mr. N. had a slightly different pattern.         There were

    20    multiple dates of service starting on September 20, 2018,

    21    ending on January 4, 2019.

    22         All tests combined were billed for $9,595.         Of that $9,595,

    23    7,115 of it related to CGx tests.        So unlike the last few that

    24    we've looked at where all of the billings were CGx, here we

    25    have a subset of it.
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      1        On the paid side, we have $6,524 for the total paid amount

      2   related to Mr. N.      And of that 6,524, 5,938 related to the CGx

      3   tests.

      4   Q.   Okay.   And last page, Ms. P.W.

      5   A.   So here, we have the same fact pattern as the beginning.

      6   One claim on May 12, 2018.      All CGx tests billed for $7,120 and

      7   a paid amount of $4,149.

      8   Q.   Okay.   And now, Mr. Petron, I want to move into the

      9   financial analysis for a moment.

    10         Can you, just sort of at a high level, explain to the jury

    11    what is it that you were asked to do with respect to the

    12    financial records you have provided.

    13    A.   I would say, at a high level, our job was to take in

    14    voluminous amounts of banking records and create a database of

    15    those records so that we could have a comprehensive picture of

    16    the flows of money both into and out of LabSolutions.

    17    Q.   Okay.

    18              MS. DE BOER:    At this time, Your Honor, the United

    19    States moves admission of Government Exhibit 122-A and 123.

    20              THE COURT:    Those will be admitted at this time without

    21    objection.

    22           (Government Exhibits 122-A and 123 were received in

    23         evidence.)

    24    BY MS. DE BOER:

    25    Q.   And before we move into those, Mr. Petron, I'm going to
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                                                                                  79


      1   remind you of -- we had looked at 112 before, and we looked at

      2   the total paid amount of 187 million?

      3   A.   Correct.

      4   Q.   And was it your job to go through and see where that money

      5   went?

      6   A.   Essentially, it was my job to see where that money went.

      7   Q.   Okay.

      8   A.   The Medicare billing data, the date gives us that

      9   $187 million, is one way to view it, but you have to look in

    10    the banking records to find out where the Medicare money is

    11    going.

    12    Q.   Okay.   And showing you Government Exhibit 122-A.         So kick

    13    us off on -- on your financial analysis at a high level.

    14         What were the sources of income that LabSolutions had?

    15    A.   So here, we list two primary sources.

    16         So for the time period listed at the top there, January 3,

    17    2017, through August 21, 2019, we looked at all incoming money

    18    and categorized it into these three buckets, per se.

    19         The first and the biggest, the blue bucket -- and if we can

    20    scroll up there -- 75 percent of all of the incoming money came

    21    from Medicare, over $168 million.

    22         23 percent of the money, or just over $50 million, came

    23    from other insurance companies.       So these would be companies

    24    that were both associated with Medicare Part C and potentially

    25    others.
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      1        And finally, that small sliver of 2 percent is everything

      2   else.   So if we could either classify it as Medicare or

      3   classify it as insurance -- if we couldn't do that, then we

      4   would put it in the other bucket.

      5   Q.   Okay.   And just to be clear, this blue bucket of

      6   168 million, is that only Medicare Part B?

      7   A.   Correct.

      8   Q.   And the slide that we had looked at with the bar chart

      9   showed 187 million being paid.

    10         Is that because that also included Part C?

    11    A.   It also included Part C.

    12         And I will say, for years of doing this job, it's nearly

    13    impossible to line up billing data/claims data with banking

    14    data.

    15         So these numbers will never precisely match, but they're

    16    relatively in the same ballpark as what we'd expect.          There are

    17    delays in billing; there are delays in payment.          There's a lot

    18    of different timing aspects to this where we can't ever get

    19    them to precisely match, but we got pretty close.

    20    Q.   And if we were to chop up the red into what was payments on

    21    private insurance plans versus payments on Medicare Part C

    22    insurance plans that flow through private insurers, we would

    23    find a chunk of this would be Part C and would be the 187; is

    24    that fair?

    25    A.   Again, it -- it will definitely be the Part C.          Would it
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      1   add up precisely to 187?      Maybe; maybe not.     Probably not.

      2        But that is exactly the way I viewed this, is we would get

      3   roughly into that ballpark of 187 if we sliced up the red into

      4   Part C.

      5   Q.   Okay.   Now showing you Government Exhibit 123.

      6        Did you then trace that flow of funds to different

      7   entities?

      8   A.   We did.

      9        So, as a first order of business, this is just a flowchart

    10    showing Medicare paying LabSolutions $168 million.          We then add

    11    to this chart -- as we will going forward -- different amounts

    12    and different payees of where LabSolutions spent their money.

    13         In this particular case, we classified $51 million as being

    14    paid to marketers.

    15    Q.   And is that based on information provided to you by the

    16    government on how to classify certain companies?

    17    A.   Correct.    The government told me what was -- what to

    18    consider for a marketer, and I have a list of those.          And so I

    19    would classify them in the banking database that we have.

    20    Q.   Okay.   And then did you, at the request of the government,

    21    look at specific marketing companies in greater detail?

    22    A.   We did.

    23              MR. SADOW:    Did you say that's 123?

    24              MS. DE BOER:    Yes.

    25              MR. SADOW:    Respectfully, can I see your 123?
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      1              It's just that there was some updated -- we're not

      2   questioning; we're just trying to make sure we have the same --

      3              THE COURT:   That's all right.     Take a moment.    It's

      4   okay.

      5              MR. SADOW:   It just looks like we have maybe one -- the

      6   earlier version.     It's not a problem; we'll work it out.

      7              THE COURT:   Thank you.    Can we go forward, then?

      8              MR. SADOW:   Yes, of course.

      9              THE COURT:   All right.    You may proceed.

    10    BY MS. DE BOER:

    11    Q.   And so were there several marketers in particular that the

    12    government asked you to focus on?

    13    A.   There were.

    14               MS. DE BOER:   At this time, Your Honor, the government

    15    would move into evidence Exhibit 124.

    16               THE COURT:   That'll be admitted without objection.

    17               MS. DE BOER:   Thank you.

    18            (Government Exhibit 124 was received in evidence.)

    19    BY MS. DE BOER:

    20    Q.   All right.    So is this just a sort of high-level summary of

    21    payments to several marketing companies?

    22    A.   It is.

    23    Q.   And can you walk the jury through these entities, what was

    24    paid to each of them.

    25    A.   Sure.    So the last chart had $50 million, roughly, going to
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                                                                                  83


      1   marketers.    This is a subset of that.      So we're looking at, in

      2   particular, four marketers that received, in total,

      3   $23.8 million.

      4        Starting on the left, XGEN Marketing received 9.7 million;

      5   ePay Funding, 5 million; Mr. Hirsch, 4.5 million; and MediPak

      6   received 4.6 million.

      7   Q.   Okay.   And particularly with respect to XGEN and ePay, did

      8   you do an even deeper dive?

      9   A.   Correct.    We were asked to also look into those companies

    10    and how those companies moved or used money in the next layer

    11    down.

    12               MS. DE BOER:   And I'm going to ask, Ms. Puntillo, could

    13    we switch to -- well, before we do that, I'm going to show

    14    you -- I'll move in Government Exhibit 165.

    15               And then, Ms. Puntillo, I'm going to switch to the

    16    monitor in a second and ask you to pull up 125, which I'll also

    17    move into evidence at this time.

    18               Your Honor, may I admit 125 and 165?

    19               THE COURT:   Yes.   Both will be admitted without

    20    objection.

    21            (Government Exhibits 125 and 165 were received in

    22         evidence.)

    23    BY MS. DE BOER:

    24    Q.   And before we get to XGEN, Mr. Petron, I'm showing you

    25    what's been admitted as Government Exhibit 165.
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      1        Did the government also ask you to summarize payments to a

      2   company called Q Health?

      3   A.   It did.

      4        In this -- in this chart, we're showing just over

      5   $1.3 million going from LabSolutions to Q Health between

      6   January 5, 2017, and November 14, 2018.

      7   Q.   Okay.

      8             MS. DE BOER:    All right.    So, Ms. Puntillo, I'm going

      9   to switch you over.

    10              Could you please bring up Government Exhibit 125.

    11    BY MS. DE BOER:

    12    Q.   Okay.   So, Mr. Petron, this one, there's a little more

    13    going on here.     So can you just sort of take us through it?

    14    A.   Sure.   Let's start with LabSolutions there at the top.          The

    15    first chart we looked at was $50 million going to marketers.

    16    Then we looked at a chart of 23 million; of that 23, here we're

    17    just examining 2.     So we're just narrowing the funnel of what

    18    we're looking at.

    19         We're focused in on two marketers:        XGEN and ePay.    XGEN

    20    receives 9.7 million, and ePay Funding receives 5 million.

    21    EPay, when looking at their accounts, sent $4.4 million to the

    22    left, to XGEN.

    23         XGEN then sent money to four places.        So I'm just going to

    24    walk through each of them, starting on the right:          $7 million

    25    was sent from XGEN to BBAR Marketing; $436,000 was sent to
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      1   IDGAF; 124,000 was sent to Tampa Bay Telehealth, also what's

      2   called my MyOnCallDoc; and then, finally, 748,000 was sent from

      3   XGEN to KP Network.

      4        Moving down into that next layer, we saw that BBAR

      5   Marketing also sent money to some of the places that XGEN

      6   did -- mainly the MyOnCallDoc and the KP Network -- in the

      7   amount of 1.1 million and 2.5 million, respectively.          And BBAR

      8   also sent 608,000 to LifeMD and $240,000 to Mojo Media.

      9   Q.   And this is a flow.

    10         Did the government ask you to analyze specific transactions

    11    of interest in this case?

    12    A.   We did.

    13    Q.   And are those Government Exhibits 6, 7, 8, and 9?

    14    A.   Correct.

    15              MS. DE BOER:    United States would move into evidence

    16    Government Exhibits 6, 7, 8, and 9 at this time.

    17              THE COURT:    Those will be admitted without objection.

    18           (Government Exhibits 6, 7, 8, and 9 were received in

    19         evidence.)

    20    BY MS. DE BOER:

    21    Q.   So we'll start here, Mr. Petron, with Government Exhibit 6.

    22    Take us through what you have reflected here.

    23    A.   Here, we have one very specific transaction.         This

    24    transaction is a transfer, on February 14, 2017, in the amount

    25    of $35,738.99.
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      1        It is sent from LabSolutions account at BB&T bank, with the

      2   account number ending in 5953.       That money is sent to

      3   Mr. Hirsch at a Wells Fargo account that ends in 6893.

      4        So the arrow is going from left to right.         And on the

      5   bottom, I've put here for reference some of the financial

      6   records that we examined to show the details of this

      7   transaction.

      8        So this is an example of what we would see and we have

      9   summarized.

    10    Q.   Now moving to Government Exhibit 7, is this another

    11    specific transaction that you analyzed?

    12    A.   Here is another specific transaction.        Same accounts,

    13    different date and amount.      So now we have, related to Count 7,

    14    a November 14, 2018, transfer in the amount of $150,251.76.

    15         And again, the corresponding banking detail at the bottom.

    16    Q.   And moving to Government Exhibit 8.

    17    A.   Government Exhibit 8, slightly different receiver.          Same

    18    sender, but different receiver here.

    19         LabSolutions is sending to XGEN Marketing.         Again, a Wells

    20    Fargo account, but obviously a different account number, ending

    21    in 3990.    On December the 13th of 2018 the transfer was for

    22    $728,972.18.

    23         And then again, at the bottom we have the detail from the

    24    banking records showing all of the same information.

    25    Q.   And then, Mr. Petron, Government Exhibit 9.
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      1   A.   So Count 9 relates to a payment, again, from the same

      2   LabSolutions account to an XGEN Marketing account at Wells

      3   Fargo, ending in 3990.

      4        This happened on April 30, 2019, for $600,000 even, and you

      5   can see the excerpt from the financial records that we used.

      6   Q.   Now, did Stout, your firm -- did your firm pull together

      7   composites of banking materials that contain the underlying

      8   transactions for all the payments from LabSolutions to XGEN,

      9   for example?

    10    A.   We did.

    11         So we went through our database of records.         I think there

    12    are almost 50,000 records.      And we took out, every time we saw

    13    a payment from LabSolutions, any of their accounts to any of

    14    the XGEN accounts, and we basically just smashed them together.

    15    Q.   And we're not -- and not just for XGEN, but you did it for

    16    Brett Hirsch too, for example.

    17    A.   We did.

    18    Q.   We're not going to go through it, but if the jury was

    19    interested in seeing each individual transaction, they can

    20    find, for example, the Brett Hirsch transactions at Government

    21    Exhibit 157; is that correct?

    22    A.   Correct.    And do you physically have it there?

    23    Q.   I do.

    24    A.   So turn it -- so you can see the paper.         Right?    So that's

    25    the underlying record, not just from our database.            That's
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      1   the -- how we made our database.       We took records like that and

      2   digitized them.

      3             MS. DE BOER:    At this time, Your Honor, the government

      4   moves into evidence Government Exhibit 157, 151, 153, 154, 155,

      5   156, 158, and 159.

      6             THE COURT:    Those will be admitted at this time without

      7   objection.

      8             MR. SADOW:    She's speeding up, Your Honor.

      9             THE COURT:    I know.   It's all right.

    10              MS. DE BOER:    Too much coffee this morning, Your Honor.

    11           (Government Exhibits 151, 152, 153, 154, 155, 156, 157,

    12         158 were received in evidence.)

    13    BY MS. DE BOER:

    14    Q.   Okay.   We're not going to go through the stack for

    15    everyone, but safe to say for the marketers that we asked you

    16    to take a specific look at, you also compiled, for the jury's

    17    ease of reference, if they wanted to review it, these specific

    18    transactions in a single place?

    19    A.   Exactly.    So if we had filled up this corner of the room

    20    with paper, we took out all the pieces related to each of those

    21    and put them in one spot so you can all look at it in an easily

    22    digestible fashion.

    23    Q.   And in addition to that, I'm showing you what's been

    24    admitted as Government's Exhibit 154.

    25         Did you also sort of summarize then all in a chart -- this
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      1   is, for example, payments to Brett Hirsch.

      2        But is there an Excel chart like this summarizing all the

      3   transactions that would be in this larger stack?

      4   A.   Correct.

      5   Q.   So if the jury wanted to review that, they could review it

      6   at Government Exhibit 154, for example, for Mr. Hirsch.

      7   A.   Exactly.    So each of these transactions are on a piece of

      8   banking document somewhere, so here they all are on a

      9   spreadsheet that add up for you, and that you can go to the

    10    other exhibit, and that's the thick one and every page would

    11    have one of these transactions.

    12    Q.   And for Mr. Hirsch, for example, adding it up, it would

    13    total $4.5 million?

    14    A.   Correct.

    15    Q.   And you can see, taking Mr. Hirsch as an example, over time

    16    there's a variation in the payments until we get towards the

    17    very end where they all become 150,000?

    18    A.   That's correct.     I believe this is sorted by date, but can

    19    you --

    20    Q.   We can see.

    21    A.   Yes.

    22    Q.   And so you see the dates in the middle there.

    23    A.   Right.    So this is sorted, you know, oldest to newest, so

    24    you can see a timeline of those transactions.

    25    Q.   Okay.    And we've done an example of the Brett Hirsch stack
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      1   of records and summary, but there would be one for XGEN as

      2   well?

      3   A.   Correct, it will be in a very similar format to that.

      4   Q.   Now, were you also asked to examine a different type of

      5   records, which is phone records, toll records?

      6   A.   We did, yes.

      7   Q.   And what are toll records, Mr. Petron?

      8   A.   So toll records are a form of data that -- we all have cell

      9   phones.    So every time we call someone, there is a record of

    10    the outgoing call, the number, and who that number -- the

    11    number that was -- you're calling.        So every time there's a

    12    call, there's a record.      The toll records show us the date when

    13    calls were made, the sending and the receiving phone number,

    14    and also the duration of how long a call lasted.          So these

    15    records are voluminous and have lots and lots of numbers on

    16    them, and so we receive this from the government, and again, we

    17    could digitize this and create summaries that can summarize

    18    lots of years, lots and lots of numbers, so that you all don't

    19    have to go through and count, you know, massive amounts of

    20    paper.

    21    Q.   Okay.

    22              MS. DE BOER:    At this time, Your Honor, the United

    23    States offers Government's Exhibit 132, 133, 134, and 135 into

    24    evidence.

    25              THE COURT:    Those will be admitted without objection.
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      1          (Government Exhibits 132, 133, 134, and 135 were received

      2        in evidence.)

      3   BY MS. DE BOER:

      4   Q.   And, Mr. Petron, specifically did the government provide

      5   you with Minal Patel's toll records?

      6   A.   Correct.

      7   Q.   And did the government ask that you prepare summaries of --

      8   times when Mr. Patel's phone number connected with phone

      9   numbers belonging to several other individuals?

    10    A.   Correct.

    11    Q.   Okay.    I'm going to show you Government's Exhibit 132.

    12    I'll zoom out, and then I can zoom in as you walk us through

    13    this, Mr. Petron.

    14         So go ahead and explain to the jury what you analyzed here.

    15    A.   So let's start obviously at the top.        Here, we have

    16    Mr. Patel's toll records, from October of 2016 through

    17    April 2019.

    18         We were provided four phone numbers associated with Rama --

    19    I'm sorry.    I'm not going to say this correct.

    20    Q.   Mr. Ramamurthy?

    21    A.   Ramamurthy.    And those four phone numbers appeared in the

    22    toll records 1,160 times.      So there were 1,160 calls placed

    23    between Mr. Patel and these four phone numbers, but not all

    24    calls had, I would say, a connection.

    25         So if the duration of the call was zero, that means no
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      1   one -- there was no answer, right?        There was no connection.

      2        So I thought it was important to put the columns on the

      3   right, which show how many of those calls had a duration that

      4   was larger than zero.

      5        And you can see that there are 914 calls out of the 1,160

      6   calls where some connection was made.

      7   Q.   And just to be clear, Mr. Petron, you have no idea if, in

      8   fact, these two individuals spoke on these 914 times, who it

      9   was on either end of the call, if somebody was using somebody

    10    else's phone, or what they spoke about.

    11    A.   I know none of that.      I have a dataset that has phone

    12    numbers, dates, and how long a call lasted.         That's the extent

    13    of the knowledge.

    14    Q.   Okay.   And at the bottom here, what did you represent?

    15    A.   So here I was asked to look at a more specific time period,

    16    namely, July 26, 2017, through April 20, 2019, and then I'm

    17    presenting the same two pieces of information.         186 total

    18    calls, 144 of them having some duration that's greater than

    19    zero.

    20    Q.   And moving to Government Exhibit 133, what do we have here?

    21    A.   Here we have the toll records summarization for

    22    Mr. Griner -- his phone number is listed -- for the entire time

    23    period, 660 calls, where 629 of them had some connection

    24    greater than zero.

    25    Q.   And the date range on those calls?
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      1   A.   October 4, 2016, through November 13, 2017.

      2   Q.   Okay.    Looking at Government Exhibit 134.

      3   A.   These are the records for Mr. Hirsch.        There were two phone

      4   numbers associated with Mr. Hirsch.        We have a slightly

      5   narrower time frame here, October 2016 through August of 2019.

      6   146 total calls, 138 of them with some greater than zero

      7   connection.

      8   Q.   And finally, Government Exhibit 135.

      9   A.   So here it's Marc Sporn, three numbers, from September

    10    of 2018 through June 26, 2019, 38 total calls, 32 of them with

    11    a duration greater than zero.

    12              MS. DE BOER:    Your Honor, may we approach briefly?

    13              THE COURT:    You may.

    14           (The following proceedings were held sidebar:)

    15              THE COURT:    Yes, is this a good time to stop?

    16              MS. DE BOER:    Yeah, I'm about to switch into the money

    17    laundering.

    18              THE COURT:    Okay.   So we'll stop here.

    19              MR. SADOW:    Okay.

    20              MS. DE BOER:    Thank you.    You got it.

    21           (Proceedings returned to open court.)

    22              THE COURT:    All right.    Ladies and gentlemen, it's just

    23    at about noon, and we're at a good stopping point in the

    24    testimony.    And I want to go ahead and take this moment to

    25    break for lunch and remind you all, of course, again, of a
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      1   number of ground rules you've been following diligently since

      2   the beginning of your service.

      3             Please remember not to discuss anything that you have

      4   heard or seen in this trial with one another until you begin

      5   your deliberations at the end of the case.         Certainly we still

      6   have evidence left to go, and it's important that no one form

      7   an opinion of that evidence until they've heard all of the

      8   evidence.

      9             So I remind you again to continue to please keep an

    10    open mind.    Further, if family or friends reach out to you and

    11    ask you about your service and what you've heard, please

    12    continue to remember that you cannot discuss this case with

    13    anyone.

    14              And, of course, when you are out at lunch, if the

    15    lawyers see you and they avoid you, take no offense from that.

    16              Please continue as well to stay off any social media

    17    channels regarding your service, and not to conduct any

    18    research online regarding any people, places, or things that

    19    you've heard about during this trial.

    20              So what I'd like to do is -- we're going to have a

    21    little bit of homework and other things we're going to do over

    22    the lunch break, but we are very much on pace.          I will give you

    23    guys a good sense at the end of today where we're at, but I can

    24    guarantee you we're right where we need to be.

    25              So I'm going to give you all, as I've done in the past,
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      1   until about 1:45.       Okay?   We're going to give you a little more

      2   time than usual, about an hour and 45 to take a break.

      3              If you need to make any calls, check in with work,

      4   family, et cetera, of course not to talk about the case but to

      5   make sure things are going as they should back home and at

      6   work, take advantage of that time.        We'll see you all back in

      7   the jury room at 1:45.      You are excused.

      8          (Jury exits at 11:58 a.m.)

      9              THE COURT:    Mr. Petron, you're also free to step down.

    10    Please remember, of course, you're currently under oath and on

    11    the stand, so there should be no communication with any of the

    12    lawyers.    And we'll see you back here just before 2:00.         Thank

    13    you.

    14               All right.    Everyone, please be seated.     Just a few

    15    brief moments for housekeeping before we break as well.

    16               I think we're doing just fine in getting through

    17    Mr. Petron at this point.       And we know that our goal is just to

    18    complete his testimony today.       I don't see any reason why we

    19    won't be able to accomplish that at the pace we're at.

    20               I don't want to put you at a number, Ms. de Boer, but I

    21    think you've made some good progress.        So I assume in the mid

    22    afternoon, you'll be able to turn it over for cross.

    23               Is that fair?

    24               MS. DE BOER:    Yeah.   I mean, I have maybe an hour or

    25    probably less than that left.
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      1             THE COURT:    Okay.   Perfect.    So that gives Mr. Sadow or

      2   Mr. Rafferty, whoever is taking the lead -- all right -- to

      3   turn it over for the cross-examination and then the redirect,

      4   and we'll complete that witness today.

      5             Just to get a little bit ahead of it, I'm looking

      6   ahead.   Knowing that Dr. Yogel is tomorrow, is it possible that

      7   Dr. Yogel then will be able to join us at the conclusion of our

      8   argument, so around 10:00 o'clock?         Is that what we're thinking

      9   tomorrow from the government?

    10              MS. DE BOER:    Yes, Your Honor.

    11              THE COURT:    Okay.   Very good.    And that, again,

    12    continues to be the government's last witness, as far as we

    13    know right now, right?

    14              MS. DE BOER:    Correct.

    15              THE COURT:    Okay.   So I wanted to just raise it just to

    16    get a sense, and I don't want to force the issue just yet.           But

    17    I wanted to turn to the defense team.

    18              Certainly, we originally thought we were going to be

    19    resting the government's case on Monday, so this is a welcome

    20    development that it will be done on Friday.         I don't know if

    21    you guys have even had a discussion, so I don't mean to put you

    22    on a position now.     But I'd ask that, by the end of today, you

    23    guys let me know if there's even a possibility that there's a

    24    shorter witness that could be called in your case.

    25              I say that because my recollection, Ms. de Boer, was
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      1   that Dr. Yogel is not an especially lengthy witness because it

      2   deals with a beneficiary.

      3             MS. DE BOER:    That's correct.     He's a short witness,

      4   Your Honor.

      5             MR. SADOW:    We can answer that question.      We,

      6   unfortunately, are just not in a position to call anyone.           We

      7   will be prepared to move forward first thing Monday morning --

      8             THE COURT:    Monday morning.    Okay.

      9             MR. SADOW:    -- but not Friday.

    10              THE COURT:    And that's fair.     I mean, again, we were

    11    planning on, best case, you putting someone on Monday.           So it's

    12    all right.    It's not the end of the world.

    13              I think that we're probably still ahead of schedule

    14    based on what we expected originally.        And I feel very

    15    confident that your ability to put on witnesses starting Monday

    16    will avoid the concerns we had even two or three days ago that

    17    we'd be up against the holidays.

    18              I mean, we have our third week essentially dedicated to

    19    you guys putting on who you need.        And look, I don't know how

    20    many witnesses the defense team is contemplating putting on,

    21    but I certainly think that finishing this case at least -- you

    22    know, I know we still have the forfeiture element of it -- but

    23    finishing this primary portion of the case is very doable by

    24    the end of next week.

    25              I mean, again, I don't want to get ahead of myself in
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      1   how many folks defendant plans on calling.         And certainly,

      2   decisions will have to be made as to Mr. Patel; and that would

      3   be lengthy if he testifies, I would imagine.

      4             But, having said that, I think it is realistic that we

      5   are targeting something towards the end of next week.           It's

      6   very possible.     So I want everyone to keep that in mind.        It

      7   just puts us in a very good position with these jurors, given

      8   the schedule.

      9             So I just wanted to kind of let you know my thoughts on

    10    that, but I appreciate the defense giving me that intel.

    11    Certainly, you guys can make the most, I'm certain, of the time

    12    on Friday if, indeed, we end a little early.

    13              And I'm certain the jurors who have been coming in

    14    every day at 9:00 won't mind getting a little break going into

    15    the weekend, knowing that the government will have rested, and

    16    they can lock in for the defense's case-in-chief next week.             So

    17    then that should work.

    18              All right.    Okay.   So let's go ahead and take our

    19    break.   Everyone will be coming back at around 1:45, and we

    20    will put our witness, Mr. Petron, back on the stand and go from

    21    there.

    22              Anything else on the government's end before we break?

    23              MS. DE BOER:    No, Your Honor.     Thank you.

    24              THE COURT:    Sure.

    25              Anything else on the defense team's end?
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      1              MR. SADOW:    No, sir.

      2              THE COURT:    All right.   Very good, everyone.     With

      3   that, have a good lunch.      We'll see you all at a quarter before

      4   2:00.    Thank you.     We're in recess.

      5           (Court recessed at 12:03 p.m.)

      6           (Back on the record at 2:20 p.m.)

      7              THE COURT:    All of our jurors are present and accounted

      8   for.

      9              Do I have any housekeeping concerns from the government

    10    before we resume with Mr. Petron?

    11               MS. DE BOER:    No, Your Honor.    Thank you.

    12               THE COURT:    Anything from the defense?

    13               MR. SADOW:    No, Your Honor.

    14               THE COURT:    All right.   Let's go round up our jurors.

    15               THE COURT SECURITY OFFICER:       All rise.

    16            (Jury enters at 2:21 p.m.)

    17               THE COURT:    All right.   Please be seated, everyone.

    18               Welcome back, folks.     Hope you had a nice lunch break.

    19    We are going to pick up where we left off with the direct

    20    examination of Mr. Petron.

    21               Everyone ready to go?      Yes?   All right.   Very good.

    22    Thank you, guys.

    23               Turn it back over to the government.       Go ahead.

    24               MS. DE BOER:    Thank you, Your Honor.

    25    BY MS. DE BOER:
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    1    Q.   Good afternoon, Mr. Petron.

    2    A.   Good afternoon.

    3    Q.   We had started your testimony by discussing the -- the fact

    4    that the government has engaged your firm to perform the work

    5    that you're testifying to today.

    6         Do you recall that?

    7    A.   I do.

    8    Q.   And I want to talk a little bit about the contracts that

    9    your firm has with the Fraud Section of the Department of

   10    Justice.     Okay?

   11    A.   Okay.

   12    Q.   So in connection with this case, has your company, the

   13    company you work for, Stout, been awarded multiple contracts

   14    for work that you have been doing in this case?

   15    A.   We have; two contracts.

   16    Q.   Okay.    And in total, with respect to those contracts, do

   17    you know approximately how much Stout has billed to the Fraud

   18    Section?

   19    A.   It would be just about $320,000.

   20    Q.   Okay.    And that is the time that you have spent on this

   21    case as well as the time that the team that you described

   22    earlier has spent working on this case; is that fair?

   23    A.   Correct.    I would say it's me and approximately ten other

   24    people.

   25    Q.   Okay.    And before you were engaged specifically to do work
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    1    on this case, was Stout engaged by the Department of Justice

    2    Fraud Section to perform work on a number of different genetic

    3    testing matters?

    4    A.   We were, yes.

    5    Q.   And did some of that work ultimately tie up into this case?

    6    A.   I believe some did, yes.

    7    Q.   Okay.   And so even before you began -- you received the

    8    contract specific to this case, your company had also billed

    9    the government for additional expenses and time spent working

   10    on some of the same things that ended up winding into this

   11    case?

   12    A.   That is correct.

   13    Q.   Okay.   Now, putting aside this case, Stout -- is it fair to

   14    say that the Fraud Section has engaged Stout on a number of

   15    different matters for a number of years?

   16    A.   That's fair.

   17    Q.   And do you know, since 2020, approximately how much has

   18    the -- has your company, Stout, billed to the Fraud Section?

   19    A.   The company has billed just over $11 million.

   20    Q.   And on how many different contracts?

   21    A.   85, 90, something in that order.

   22    Q.   Okay.   And any given contract, might it encompass a number

   23    of different criminal investigations or cases pending in court?

   24    A.   Absolutely.

   25    Q.   Okay.   So I'm not asking for a specific number.       But
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    1    ballpark, in the last roughly two, two and a half years, how

    2    many different cases has Stout worked on for the Fraud Section?

    3    A.   Ballpark, 150.

    4    Q.   Okay.   Now, have you testified -- have you been called to

    5    testify as a witness on behalf of the United States in other

    6    criminal fraud matters?

    7    A.   I have.

    8    Q.   Multiple other criminal fraud matters?

    9    A.   Many.

   10    Q.   Okay.   Testifying to the same nature of things, not the

   11    exact same subjects, but claims data and transactions and

   12    financial data like you're testifying about today?

   13    A.   Very similar to the testimony today, yes.

   14    Q.   Okay.   Now, I want to turn to the financial tracing that

   15    you conducted in this case.

   16             MS. DE BOER:    And at this time, Your Honor, the United

   17    States would offer into evidence Government Exhibit 126, 127,

   18    128, 129, 137, 138, and 139.

   19             THE COURT:    Those will be admitted without objection.

   20             MS. DE BOER:    Thank you, Your Honor.

   21          (Government Exhibits 126, 127, 128, 129, 137, 138, 139

   22         were received in evidence.)

   23    BY MS. DE BOER:

   24    Q.   Okay.   So, Mr. Petron, we're going to start with Government

   25    Exhibit 126, and we're going to walk through the flow of money
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    1    in this case.    And I'll zoom in here a bit for you.

    2         And I should note, Mr. Petron, if at any point you would

    3    like me to give you a paper copy of any of these, just let me

    4    know, and I'm happy to do that.

    5         So -- all right.    Before we get too far into this, can you

    6    explain to the jury, at a high level, what is tracing, and what

    7    is the methodology that you used in this case?

    8    A.   Sure.

    9         So tracing, as a general matter, is a process that we go

   10    through in order to determine how you track money through

   11    financial accounts.

   12         So money -- if you think about your own wallet, right, you

   13    put money into your wallet or into a bank account, and it's

   14    fungible.    And so tracing is a way in which we try to determine

   15    the source of funds that are used for certain transactions.

   16         So that methodology -- there's a few different

   17    methodologies, but the one that we generally employ is

   18    called -- something called the lowest intermediate balance

   19    rule.

   20         And I won't bore you with all the details, but the rule is

   21    developed so that we're tracking to ensure that the lowest

   22    balance in the account over the time period in which we're

   23    doing the tracing never goes too low so that we can't trace, in

   24    this case, Medicare proceeds.

   25         So we are always ensuring that there is enough Medicare
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    1    proceeds in the account at all points in time to fund the

    2    transactions that we're ultimately tracing to.

    3    Q.   Okay.   And you mentioned Medicare proceeds.

    4         So what is it that you were tracing through all of these

    5    different accounts?

    6    A.   We were tracing Medicare money and specifically Part B

    7    Medicare proceeds.

    8    Q.   And you distinguish Part B.     So how is that distinction --

    9    how is that significant in your tracing analysis?

   10    A.   So recall this morning, we spoke a little bit about Part B

   11    Medicare funds versus Part C Medicare funds.        And in the

   12    banking information, we could identify -- I can identify

   13    Medicare Part B money coming in.

   14         I can also identify, for example, UnitedHealthcare money

   15    coming in.   But I don't necessarily know on the

   16    UnitedHealthcare side which is a Medicare dollar versus truly a

   17    private insurance, a nonfederal beneficiary dollar.

   18         So for the purposes of tracing, we just focused on the

   19    known Medicare proceeds.

   20    Q.   And so in that regard, how, if at all, was your analysis --

   21    your tracing analysis conservative?

   22    A.   It would be conservative because we're leaving out -- I

   23    forget the exact amount -- but we're leaving out tens of

   24    millions of dollars.     We're not considering those tens of

   25    millions of Part C Medicare money for the purposes of the
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    1    tracing analysis.

    2    Q.   Okay.    So with that background in mind, we're going to turn

    3    now to Government Exhibit 126.

    4         And can you walk us through what this shows?        And I can

    5    zoom in as you go so that the jury can follow along.

    6    A.   Sure.

    7         So this chart is showing, at this point, flows of funds.

    8    So starting in the upper left, we have Medicare sending

    9    $168 million to LabSolutions between January 3, 2017, and

   10    August 8, 2019.

   11         From there, we are tracking the amount of money that

   12    LabSolutions sends to Mr. Patel.      There are two primary

   13    mechanisms -- we can zoom out a little bit -- that Mr. Patel

   14    received funds.

   15         The first, the top line, are direct transfers from

   16    LabSolutions accounts to Mr. Patel's personal accounts.

   17    Q.   And that's this line here that we're talking about?

   18    A.   That is the $18.6 million.     And then the second way is

   19    Mr. Patel was also an employee of LabSolutions, or I should

   20    specify, really, he received regular compensation from

   21    LabSolutions through the form of payroll.

   22         So as LabSolutions was paying all of its employees through

   23    a normal payroll process, Mr. Patel also received $2.9 million

   24    through that process.     So not directly, but through a payroll

   25    processing.
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    1    Q.   Okay.    And is that reflected in this set of arrows here?

    2    A.   Correct.

    3    Q.   Okay.    So in total, over the period that you analyzed, how

    4    much in Medicare proceeds did you trace from LabSolutions to

    5    Mr. Patel?

    6    A.   It's not exactly on this slide, but it's just over

    7    $21 million.    It's not quite that exact number that's on there,

    8    21.5.   I think the next slide has it.      It's about 21.2 million,

    9    if my memory --

   10    Q.   And that's a fair point.     I asked you how much you had

   11    traced.   So explain the difference between what was traced and

   12    what Mr. Patel ultimately received.

   13    A.   So what you're looking at here is the total actually

   14    received.     Right?   And what we'll show you next is, using

   15    tracing and using the methodology I was describing, that lowest

   16    intermediate balance rule, how much of that 21.5 million was I

   17    able to tie to Medicare money, and the answer is nearly all of

   18    it, but it's not 100 percent.

   19    Q.   So with that in mind, we're going to move to Government

   20    Exhibit 127.

   21         So, Mr. Petron, walk us through -- and I suppose let's

   22    start up here, since that's the point you were just making.

   23    And I'll zoom in a bit so the jury can see it, and then we can

   24    walk through how you got there.

   25    A.   Right.    So this is exactly what I was just saying,
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    1    21.5 million in total transfers to Mr. Patel.        Of that

    2    21.3 million, the red number is how much I was able to trace to

    3    Medicare.

    4         And then this chart shows you the derivation of that

    5    tracing at every step.     Under the key of the black numbers are

    6    the numbers -- the full amount of the transfer, and the red

    7    numbers are the amount that I can trace to Medicare.

    8    Q.   Okay.   So, Mr. Petron, explain to the jury what you saw in

    9    terms of the accounts and how the money went from Medicare to

   10    LabSolutions to Mr. Patel?

   11    A.   So Medicare sent LabSolutions funds to the tune of

   12    $168 million into a BB&T account, 5945.       That's on the

   13    left-hand side.

   14         Once LabSolutions, in that first BB&T account, got the

   15    funds, it largely transferred money to the second LabSolutions

   16    account at BB&T, 5953.     Counsel has her finger on it.       And from

   17    there, we have that same flow we just saw in the last slide,

   18    which are payments going from left to right directly to

   19    Mr. Patel's personal accounts at JP Morgan Chase and BB&T.

   20         That's the four lines referencing transfers of four

   21    accounts, and if you go to the right, that's the payroll.         So

   22    that's the same flow we saw before, but now, as you can see,

   23    I'm distinguishing between black and red in what is Medicare

   24    proceeds versus the total funds flow.

   25    Q.   Okay.   And do you know -- I mean, you're showing there are
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    1    transfers to multiple different accounts.

    2         Are all of these just a single transaction, or is this a

    3    sum of multiple transactions?

    4    A.   These would be sums of many transactions during the time

    5    period that I have listed there.

    6    Q.   Okay.   And just to give an example, you know, here, for

    7    example, there's 100 -- 1,742,000 transferred over the course

    8    of -- of July of 2017 to October of 2017; is that correct?

    9    A.   Correct.

   10    Q.   Okay.   And that would be multiple transactions totalling

   11    the 1.7 million.

   12    A.   That's correct.

   13         And if you look at the first line of those four lines, that

   14    is one transaction.    The single date of 10/10/2017 with the

   15    $25,000, that's a singular transaction.

   16         But the rest of these, any time there's a date range, that

   17    means multiple transactions over that date range.

   18    Q.   Okay.   And did the government ask you to focus on any

   19    particular transactions?

   20    A.   They did.

   21    Q.   Okay.   So we're going to move to Government Exhibit 128.

   22         Mr. Petron, what did you reflect in this exhibit?

   23    A.   So this exhibit -- let's call it the top half of this

   24    exhibit -- is just a more narrow funds flow to the funds flow

   25    we just looked at.     It's just for a smaller time period.
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    1         So we have Medicare sending money to LabSolutions in the

    2    top left in 2018, to the tune of $45 million.

    3         LabSolutions then moves that money to its second account at

    4    BB&T, 5953.    $58 million gets moved.     Of that 58 million,

    5    43 million I can trace to Medicare funds.

    6         LabSolutions then sends $6 million to its payroll processor

    7    in 2018, or at least the first eight months of 2018, and then

    8    the payroll processor, through payroll, is paying Mr. Patel

    9    $774,000, all of which I can trace to Medicare proceeds in

   10    2018.

   11         And then, finally, I was asked to focus on this particular

   12    transaction on August 10, 2018, which is a $393,000 purchase of

   13    a Ferrari.

   14    Q.   Okay.    And so the bottom line, Mr. Petron, where did the

   15    money that was used to purchase the Ferrari, where can that be

   16    traced back to?

   17    A.   Back to the Medicare proceeds.

   18    Q.   And did you -- I'm going to go to the next page of this

   19    exhibit.

   20         Did you determine information about what the car was, what

   21    particular Ferrari it was?

   22    A.   I did.   This information, again, you have the date

   23    purchased, August 10th of 2018, for a Ferrari 488 Spider

   24    purchased in or at the Ferrari dealership in Atlanta.

   25    Q.   Okay.    And I know this title application is a little bit
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    1    difficult to read, but do you see up top here it specifies the

    2    make and model of the car?

    3    A.   Correct.

    4    Q.   And then here it specifies the full name of the owner?

    5    A.   Correct.

    6    Q.   And I'm not sure if you can read it, but do you see that it

    7    says Minal Kumar Patel?

    8    A.   I do see that.

    9    Q.   All right.   And is this a photo of a stock Ferrari 488

   10    Spider?

   11    A.   It is.

   12    Q.   Okay.    So this would be the type of car that was purchased

   13    with the Medicare proceeds.

   14    A.   Correct.

   15    Q.   Now, moving, Mr. Petron, to another something you analyzed,

   16    and this is Government Exhibit 129.

   17         What did you reflect here?

   18    A.   So here, again, for a much more limited timeframe here, in

   19    March to May of 2019.     Starting in the top left we have the

   20    same flow of funds, Medicare to LabSolutions.        LabSolutions

   21    moves the money to its second account at BB&T.

   22         And then instead of payroll, Mr. Patel has a direct

   23    transfer from LabSolutions into his JP Morgan account, 0736, in

   24    the amount of 1.995 million.      100 percent of that transfer, I

   25    was able to tie to Medicare proceeds.
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    1    Q.   Okay.    And --

    2    A.   Please --

    3    Q.   I'm sorry.   I didn't mean to --

    4    A.   I was just going to add.     From Mr. Patel's JP Morgan

    5    account, 0736, down, there was a transaction on May 23, 2019, a

    6    $215,000 cashier's check made payable to Hennessy Jaguar Land

    7    Rover North, and the entirety of that cashier's check I can

    8    trace to Medicare proceeds.

    9    Q.   Okay.    And then to clarify, up here the date range was --

   10    the payments from Medicare that you're analyzing are from

   11    March 28, 2019, to April 19, 2019?

   12    A.   That is correct.

   13    Q.   Okay.    And then going to the next page of this exhibit,

   14    were you able to locate, in the banking, the transaction

   15    itself?

   16    A.   I was.    The transaction was obviously represented in a bank

   17    statement, but there was also supporting documentation.         This

   18    is one example of a withdrawal slip, and you can see the date

   19    on the top left, May 23, 2019, Mr. Patel's name, the Hennessy

   20    Jaguar Land Rover North Atlanta.

   21         There's a customer's signature, and then finally the amount

   22    in the bottom right, $215,000.

   23    Q.   Okay.    And then going to the next page of Government

   24    Exhibit 129.

   25    A.   So this is a copy of the cashier's check that was then
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    1    generated as a result of that withdrawal slip.

    2    Q.   Okay.    Did you also look at charges on an American Express

    3    card?

    4    A.   I did.

    5    Q.   All right.   So I'm showing you Government Exhibit 137.

    6         Mr. Petron, go ahead and explain what you analyzed here.

    7    A.   So we -- in addition to the bank accounts, we also had

    8    American Express credit card statements.

    9         Those statements showed that the LabSolutions accounts paid

   10    just over $2 million to American Express from January 2017

   11    through August of 2019.

   12    Q.   Okay.    And did you identify certain transactions in those

   13    accounts on the second page of the exhibit?

   14    A.   I did.

   15         There were certain transactions identified -- I believe

   16    these were in 2018, in October.      The first, the Fontainebleau

   17    hotel in Miami Beach here, two bottles of alcohol, Dom Pérignon

   18     and Don Julio, 1942, in the amount of $4,373.82.

   19         The second transaction, The Setai Miami Beach Hotel, for a

   20    stay on October 26, 2018, through October 30, 2018, for

   21    $15,113.68.

   22    Q.   Okay.    And did you also look for transactions at the Boca

   23    Raton Resort?

   24    A.   I did.   We have summarized all of the transactions on the

   25    American Express cards in this exhibit by month.
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    1         So the Boca Raton Resort was charged just over 19- -- it's

    2    not charged -- the Boca Raton Resort was paid just over

    3    19 point -- $19,000 from April of 2018 through August of 2019.

    4    Q.   Okay.    Did you also -- separate from your tracing analysis,

    5    did you also look at how money moved between accounts over

    6    which Mr. Patel was a signatory?

    7    A.   I did.

    8    Q.   And then moving to Government Exhibit 138, starting with

    9    the first page, can you walk the jury through the movement of

   10    funds?

   11    A.   Sure.    So let me start on this explanation in the middle.

   12         So the middle box here, it says JP Morgan Chase, JPMCX0736.

   13    That was the account that received the most money from

   14    LabSolutions.    So most of the LabSolutions money was moving

   15    into that account.

   16         So then, focusing our attention on that account and

   17    moving right, we see $8.1 million transferred out of JPMC to

   18    Mr. Patel's 8788 account at BB&T.

   19         That $8 million then went up and down in almost equal

   20    amounts to two other accounts at BB&T.

   21         But coming back in the middle in the JP Morgan account,

   22    there were also funds sent to other accounts at JP Morgan in

   23    Mr. Patel's name; 1.5 million going up to the account 0957, and

   24    then $9.7 million going down to account 9308.

   25         And then from there, you can see arrows sort of everywhere.
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    1    Money was going back and forth between those three accounts

    2    throughout this time period.

    3    Q.   All right.    And then going to the second page of Government

    4    Exhibit 138, did you focus and identify larger transactions in

    5    this -- that come from the summary that you just showed us?

    6    A.   Correct.

    7         I, for this chart, merely put every transaction between

    8    Mr. Patel's accounts, anything over $50,000, and just listed

    9    the date, the sending account, the receiving account, and the

   10    transaction amount.

   11    Q.   Okay.   And there were a number of transactions of that

   12    size, including a $1.9 million transaction, an $8 million

   13    transaction, and several other sizeable transactions?

   14    A.   Correct.

   15    Q.   Okay.   Now, the LabSolutions account that received funds

   16    from Medicare, I'm going to show you Government Exhibit 139.

   17         What are we looking at?

   18    A.   So this is what is referred to as a signature card for

   19    LabSolutions' BB&T account 5945.      The signature card is the

   20    record on file of who has authority over that account.

   21         You all may have done this when you opened a checking or

   22    savings account.    You fill out information that says I'm the

   23    owner, I have power to move money in and out.

   24         This card, for this LabSolutions account, you can see

   25    LabSolutions in the top left, the account number ending in 5945
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    1    on the left, the account opening date, April 28, 2015.

    2         And then finally in the box that's sort of on the right

    3    side and called out, you can see LabSolutions under the first

    4    line, and then Mr. Patel in the second line, with signatures

    5    that follow.

    6    Q.   And there are, it appears, three individual signatories on

    7    this account; is that correct?

    8    A.   Correct.

    9    Q.   Minal Patel, Tushar Narottam, and Hemangini Jariwala?

   10    A.   Correct.

   11    Q.   And what is the significance of this particular

   12    LabSolutions account?

   13    A.   This is the account that received Medicare funds.

   14    Q.   And so these three individuals that had signatory

   15    authority, what authority did they have over those Medicare

   16    funds?

   17    A.   They had custody and control, as it's known, so they had

   18    the power to move those funds.

   19    Q.   Okay.

   20             MS. DE BOER:    One moment, Your Honor?

   21             THE COURT:    You may.

   22          (Discussion was held off the record.)

   23             MS. DE BOER:    Thank you, Mr. Petron.

   24             Nothing further.

   25             THE COURT:    Thank you, Ms. de Boer.
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    1               Counsel, cross-examination.

    2               MR. SADOW:   Thank you, Your Honor.

    3                             CROSS-EXAMINATION

    4    BY MR. SADOW:

    5    Q.   Good afternoon, sir.

    6    A.   Good afternoon.

    7    Q.   We met in the courtroom for the first time, correct?

    8    A.   Correct.

    9    Q.   So let me just start with a couple of preface questions.

   10         As I understand it, you work for a company called Stout.

   11    A.   That is correct.

   12    Q.   And you have worked there for a number of years?

   13    A.   Since February the 1st, 2014.

   14    Q.   Okay.    And Stout has a number of contracts with the

   15    Department of Justice Fraud Section.

   16    A.   We do.

   17    Q.   And if I understood correctly, since January 21st of 2020,

   18    Stout has billed the government in excess of $11 million,

   19    correct?

   20    A.   Just over $11 million, correct.

   21    Q.   Which obviously is a tiny sum, correct?

   22    A.   I don't consider it a tiny sum, no.

   23    Q.   You consider it a significant sum?

   24    A.   I do.

   25    Q.   Okay.    And your work in this case so far is at least
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    1    $321,000, correct?

    2    A.   Correct.

    3    Q.   And that includes your work and, did you say, like, ten

    4    other people?

    5    A.   I believe there were ten other people, yes, working on this

    6    case.

    7    Q.   Okay.   So let's talk about how that work is determined.

    8         When you are employed -- and you've done a number of cases,

    9    correct?

   10    A.   For the Department of Justice?

   11    Q.   Yes.    Everything I'm talking about now, rather than repeat

   12    "Department of Justice" or "DOJ," I'm only talking about that.

   13    A.   Fair enough.

   14    Q.   Okay?

   15    A.   Fair enough.

   16    Q.   When you are preparing to go to work on a case such as this

   17    one, what do you first do?

   18    A.   At first, there is a conversation with counsel about the

   19    case.

   20    Q.   Counsel, as in counsel for the government.

   21    A.   Counsel for the government.

   22    Q.   And then counsel for the government gives you an overview,

   23    I assume.

   24    A.   That's correct.

   25    Q.   Let's get past the overview.      Then are you given specific
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    1    assignments or tasks?

    2    A.   Eventually that would happen, yes.

    3    Q.   Well, when you say "eventually," once there's been the

    4    overview, prior to the task or assignments, what do you do?

    5    What are you doing?

    6    A.   You have to go through the Fraud Section's administrative

    7    protocols.

    8    Q.   You mean, in order to set up a contract -- forget that

    9    part.   Move that part out of the way.

   10    A.   Okay.    That's a big part.

   11    Q.   I'm not boring the jury with going through the contracts.

   12    A.   Thank you.   It's not fun.

   13    Q.   I understand.    Let's deal with actually the casework.

   14    Okay?

   15    A.   Okay.

   16    Q.   So you've got the administrative out of the way.

   17         What takes place as far as the casework is concerned?         Who

   18    tells you what to do or requests you to do?

   19    A.   Usually the request is coming from counsel for the

   20    government.

   21    Q.   So your assignment, or the scope of your task, is

   22    determined by government counsel, correct?

   23    A.   It is.

   24    Q.   All right.   And it winds up ultimately in the preparation

   25    of such things as the summary charts that we've seen, right?
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    1    A.   I believe always there is a potential that summary charts

    2    will be needed, yes.

    3    Q.   Do you actually write reports separate and apart from the

    4    charts that are ultimately prepared?

    5    A.   We do not.

    6    Q.   Where does the data come from that you use for the charts?

    7    A.   Well, the data is -- it could come from a lot of different

    8    places.   So --

    9    Q.   Let's talk about in this case specifically.

   10    A.   So in this case, I'll break into two broad categories.         One

   11    is the Medicare claims data, and then the other I will call is,

   12    say, banking or financial records.

   13    Q.   And the banking and financial records here would have been

   14    of LabSolutions?

   15    A.   It was of a variety of things:      LabSolutions, Mr. Patel's

   16    personal accounts, American Express; I believe we had accounts

   17    for some of the marketers.

   18         So a lot of different owners of accounts, but financial

   19    information.

   20    Q.   Okay.   But including, obviously, LabSolutions, clearly,

   21    right?

   22    A.   Absolutely.

   23    Q.   And Mr. Patel, correct?

   24    A.   Correct.

   25    Q.   Okay.   And then the Medicare data, I'm sure, is voluminous.
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    1    A.   It is.

    2    Q.   And who tells you what Medicare data you should utilize?

    3    A.   I'm not so -- I don't remember, in this particular case, if

    4    someone is telling me or not as much as I have the experience

    5    to know if this is -- you know, if these are the issues, I need

    6    the Medicare data for LabSolutions for the relevant time

    7    period.

    8    Q.   And do you obtain that directly from government counsel,

    9    Department of Justice, or is there another way to do that?

   10    A.   I would, generally speaking.      And I believe in this case,

   11    we obtained it from counsel, who has obtained it from, in most

   12    cases, Medicare.

   13    Q.   And that would include such things as the procedure codes,

   14    correct?

   15    A.   It does.

   16    Q.   The Z Codes?

   17    A.   Diagnosis codes?

   18    Q.   Yes.

   19    A.   Yes.

   20    Q.   All that information comes from -- at least according to

   21    your recollection -- from government counsel, DOJ, in this

   22    case, right?

   23    A.   Correct.   I look to the government counsel to handle the

   24    discovery process.

   25    Q.   Okay.    So --
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    1    A.   I don't -- I don't go off on myself and --

    2    Q.   I'm sorry.    I cut you off.    That was impolite.

    3         Did you have something else to say?

    4    A.   No.   I was just saying that I rely upon government --

    5    government counsel, through the discovery process, to provide

    6    me information.    I don't conduct my own fact-finding, you know,

    7    outside of discovery.

    8    Q.   Okay.   Do you ever ask government counsel for data or

    9    information?

   10    A.   Absolutely.

   11    Q.   Did you do so in this case?

   12    A.   I have -- yes, absolutely.

   13    Q.   Okay.   Could you tell us what it is you asked of government

   14    counsel.

   15    A.   I have specific recollections of asking for copies of

   16    checks, of particular checks.       For instance, we saw the Land

   17    Rover -- the Land Rover thing and the cashier's check.          I

   18    remember specifically trying to get those.

   19         I believe we had discussions around missing time periods in

   20    some bank accounts and got that information.        That's my

   21    recollection.

   22    Q.   Anything you can remember significant beyond that?

   23    A.   Nothing that comes to my mind.      It doesn't mean that we --

   24    my staff or I didn't ask for other things.

   25    Q.   And when you -- as you just put it, you're not the one
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    1    necessarily asking for all this.      You may direct or instruct

    2    your staff, who I assume you rely on.

    3    A.   Correct.   And my staff may make requests that I -- that

    4    they know that something is missing and it never even comes to

    5    my attention.

    6    Q.   So in the midst of you putting this together, what

    7    interaction do you have with the defense?

    8    A.   None that I can recall.

    9    Q.   Do you ever say to the government, should I interact with

   10    the defense to see if they have anything to add?

   11    A.   If the government instructs me to interact with the

   12    defense, I would.    I don't recall that happening here.

   13    Q.   So if I heard what you just said, if the government

   14    instructs you to do something, you will do it, correct?

   15    A.   If I'm capable, if that's within the scope of my

   16    responsibilities, yes.

   17    Q.   But if you're not instructed by the government to do it, it

   18    doesn't sound like you do it.

   19    A.   I am not operating independently of the government.

   20    Q.   Okay.   So whatever it is that the government wants you to

   21    do, you're doing.    And if they don't ask you to do it, it

   22    apparently isn't going to get done, at least by you, right?

   23    A.   I am-- I'm confined by the scope of the agreement I have

   24    with the government, correct.

   25    Q.   You don't have the authority to say, you know, I'd like to
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    1    know how much LabSolutions spent on a given item, for example,

    2    equipment, those type of things.      You don't have the ability to

    3    say to the government, I want that information.

    4    A.   I wouldn't -- I wouldn't necessarily agree with that.         I

    5    absolutely could say that to the government.

    6    Q.   Did you?

    7    A.   I don't recall that particular thing, but I --

    8    Q.   Okay.   So if I ask you during the time period of

    9    January 1st of 2017 to -- and sometimes it's into August, and

   10    sometimes it stops in September of 2019 -- how much money

   11    LabSolutions spent on equipment, your answer would be?

   12    A.   I could find that information out.      It's, generally

   13    speaking, in the database that we have.

   14    Q.   But you don't have the database with you, right?

   15    A.   I have nothing with me.

   16    Q.   So you don't have the ability to just tell the jurors how

   17    much money LabSolutions spent on equipment because that wasn't

   18    something that the government asked you to do, correct?

   19    A.   I was not instructed to create a summary of that

   20    information.

   21    Q.   All right.    Well, let's go one step further.

   22         Now, can you tell us how much money LabSolutions spent on

   23    lawyers between January of 2017 and September of 2019?

   24    A.   So I was asked to obtain that information.

   25    Q.   You got it?
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    1    A.   And specifically, if I recall, I was asked to look up three

    2    law firms.

    3    Q.   Okay.    You have that -- those numbers?

    4    A.   It's $263,000, approximately, for the time period that you

    5    outlined.

    6    Q.   Okay.    And that's for three law firms.

    7    A.   Three law firms.

    8    Q.   Right.   But when you were going through the banking

    9    records, you noted that there was a number of other law firms

   10    that were paid as well, correct?

   11    A.   That is not correct.     I did not --

   12    Q.   No?

   13    A.   I did not look one way or the other.       I was asked to look

   14    at those three law firms.

   15    Q.   Okay.    So -- and I didn't mean to make it sound like I

   16    misdirected you.

   17         You were told to look for three specific law firms, which

   18    you've already said you did.

   19    A.   Correct.

   20    Q.   You have the data from the banking records of LabSolutions

   21    to look for more law firms, correct?

   22    A.   I believe I have a complete record for that time period.

   23    Q.   But as far as the government didn't instruct you to look

   24    for it, you can't give us that information, correct?

   25    A.   I can't sitting here.     If someone asks me to look for it,
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    1    I -- I could go obtain the information.

    2    Q.   Right.    But you don't have it today as you're sitting here

    3    as a witness?

    4    A.   I don't have it sitting here.

    5    Q.   Okay.    How many employees did LabSolutions have during this

    6    time period?

    7    A.   I don't recall.    I remember looking at the payroll records.

    8    It was a large number.     I don't recall precisely the number.

    9    Q.   Well, and I appreciate you saying a large number, but let's

   10    see if we can -- what's the appropriate terminology? --

   11    quantify.

   12         Any -- if you had been instructed or directed to determine

   13    the number of employees by salaries or payments made, you'd

   14    have been able to do that, right?

   15    A.   Yes, absolutely, sir.

   16    Q.   But the government didn't ask you to do it.

   17    A.   I was never asked to determine exactly how many employees

   18    they had, what their salaries were.

   19         We had that information, but I was not asked to do that.

   20    Q.   But you did make the determination as to some employees,

   21    correct?

   22         Didn't you put together a chart for some employees as to

   23    how much they made?

   24    A.   We did pull certain records from some employees, yes, and

   25    created some summary charts.      I don't believe we went over them
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    1    today, but I do recall --

    2    Q.     No, I don't think you did go over that today, but maybe --

    3    it may take me a second, but I think we're going to try to do

    4    that.    There we go.

    5               MR. SADOW:    Government Exhibit 140, has that been moved

    6    into evidence?

    7               MS. DE BOER:    No, but no objection, Your Honor.

    8               THE COURT:    We can admit that at this time.

    9            (Government Exhibit 140 was received in evidence.)

   10               MR. SADOW:    Okay.   Can you put 140 up for us?   Thank

   11    you.

   12    BY MR. SADOW:

   13    Q.     This was a chart that was prepared, I assume, based on

   14    everything you've told us so far, at the direction of the

   15    government, correct?

   16    A.     Correct.

   17    Q.     And the individual -- the first individual is Bernadette

   18    Wildemore, correct?

   19    A.     Correct.

   20    Q.     Can you tell me what Ms. Wildemore did for LabSolutions?

   21    A.     I cannot.

   22    Q.     That translates into all the government did was tell you,

   23    put together the information about Ms. Wildemore as to how much

   24    money she was paid during the relevant time period, right?

   25    A.     Correct.    I believe I was given the list of names and asked
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    1    to put a chart together, and that's what I did.

    2    Q.   And that's what you did.     But you left out 2019.

    3    A.   I don't know if I left it out.

    4    Q.   My terminology.    2019 is not on the chart.

    5    A.   2019 is not on the chart...

    6    Q.   Can you tell me why 2019 is not on the chart?

    7    A.   That's what I've been trying to think of.       I cannot --

    8    sitting here, I cannot tell you why 2019 is not in the chart.

    9    Q.   Well, based on what you've told us so far, if the

   10    government told you to include 2019, you would have included

   11    2019, correct?

   12    A.   If there was information for 2019, I would have for sure.

   13    Q.   Again -- and this is not directed at anything other than

   14    trying to get to the bottom of this.

   15         When did you put this summary chart together?

   16    A.   It was relatively recently, if my memory serves.

   17    Q.   As in 2022?

   18    A.   Oh, absolutely.

   19    Q.   Okay.   So clearly the records would be available for 2019,

   20    for the period of January 1st, into August or September of

   21    2019, like the other summary charts you put together, correct?

   22    A.   If records exist for these people, I assume that they are

   23    available.

   24    Q.   Well, when you say if you assume that the records exist,

   25    what you're saying is, since the government didn't direct you
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    1    or instruct you for 2019, you don't know one way or the other.

    2         Would that be a fair statement?

    3    A.   I don't think it's a fair statement.       I don't recall if I

    4    got a specific instruction around 2019, or if I did not have

    5    information for 2019, or if I have information for 2019, and

    6    these people aren't there.

    7         So there's a number of explanations for why 2019 may not be

    8    there.   I just don't recall the precise explanation.

    9    Q.   But you had the banking records, correct?

   10    A.   I had banking records, but this is payroll information.

   11    Q.   Well, this would have come -- didn't you include -- I

   12    thought I saw payroll information in some of the charts.

   13    A.   I did, yes.

   14    Q.   Particularly, I believe it dealt with Mr. Patel, correct?

   15    A.   I definitely had payroll information for Mr. Patel.

   16    Q.   So you would have had payroll information up to August or

   17    maybe September of 2019 because you included it, correct?

   18    A.   I don't recall exactly when we had the payroll records

   19    through.

   20    Q.   Well, when you did the payroll chart or the chart we just

   21    looked at for Mr. Patel, didn't it include the payroll time

   22    period up to August or September of 2019?

   23    A.   Honestly, I don't remember exactly the time period of the

   24    payroll records.    We could pull the chart up and find out.

   25    Q.   We'll look back and see.     So you've already said you don't
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    1    know what Ms. Wildemore did, right?

    2    A.   I do not.

    3    Q.   What about Ms. Rinsky?

    4    A.   I do not know what her role is.

    5    Q.   What about Mr. Hayes?

    6    A.   Same answer.

    7    Q.   Ms. Adair?

    8    A.   Same.

    9    Q.   And we're talking about here -- these are the only people

   10    that the government had requested or directed you to get the

   11    salary information on, correct?

   12    A.   Correct.

   13    Q.   All right.   Let's move off of that.

   14         One of the things that the government asked you to do is

   15    determine the number of doctors involved with the beneficiaries

   16    for Medicare Part B, correct?

   17    A.   I believe we did that, yes.

   18             MR. SADOW:    And if we'll put up Government Exhibit -- I

   19    think -- are Government Exhibits 201-A, B, and C in evidence?

   20             MS. DE BOER:    201-A, B, and C are in, yes.

   21             MR. SADOW:    Let's publish 201-A first.     And once you

   22    get it up, if you'll go to Column 2.

   23             A JUROR:    I have to use the bathroom.

   24             THE COURT:    Okay, ma'am, don't worry about it.

   25             Go ahead and leave your notepads where you are, folks.
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    1    Let's take a brief five-minute restroom break.        If anyone else

    2    needs to use it, let's go ahead and use it at this time.         All

    3    right?

    4             THE COURT SECURITY OFFICER:      All rise.

    5          (Jury exits at 3:06 p.m.)

    6             THE COURT:    Please be seated, everyone.      If anyone

    7    needs a restroom break, please feel free.

    8          (Court recessed at 3:07 p.m.)

    9          (Back on the record at 3:19 p.m.)

   10             THE COURT:    Please be seated, everyone.

   11          (Jury enters at 3:20 p.m.)

   12             THE COURT:    All right.   Please be seated, everyone.

   13    Welcome back, ladies and gentlemen.      We'll turn it back to

   14    Mr. Sadow to continue his cross.

   15             Go ahead, Mr. Sadow.

   16             MR. SADOW:    Thank you, Your Honor.

   17    BY MR. SADOW:

   18    Q.   To take you back for a moment, I had asked you about

   19    Mr. Patel and payroll.     I just want to finish that area so I

   20    can move onto the next one.

   21    A.   Sure.

   22             MR. SADOW:    If I can ask you to put up 126.

   23    BY MR. SADOW:

   24    Q.   This was a chart that the government had asked you about

   25    regarding Mr. Patel and payments, correct?
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    1    A.   Correct.

    2    Q.   And you can tell by looking through the bottom of the chart

    3    where it starts with payroll, that payroll was from 9/22/17 to

    4    8/9/19, correct?

    5    A.   Correct.

    6    Q.   So that means payroll information was apparently available

    7    at least to 8/9/19, correct?

    8    A.   For Mr. Patel, correct.

    9    Q.   Well, when you say "for Mr. Patel," you were only looking

   10    for the payroll information for Mr. Patel?

   11    A.   No.    This is one of the things that I think we're getting

   12    tripped up on.     I don't recall if those individuals listed had

   13    payroll in 2019 or did not have payroll in 2019.        I just don't

   14    recall.

   15    Q.   Okay.    And we could find out, but we can't do it right this

   16    minute, right?

   17    A.   I definitely can find out, but not sitting here during the

   18    middle of the examination.

   19    Q.   Okay.

   20                MR. SADOW:   Let's go back now to 201-A, please.     And if

   21    you can go to -- I believe it's Column Q.

   22    BY MR. SADOW:

   23    Q.   Boy, that's tough to see.     Can you see that, sir?

   24    A.   Yes.    RFX-, referring; provider, PROV; NPICS, name, single.

   25    Q.   I guess that translates into who the doctor was, right?
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    1    A.   The referring doctor for the test.

    2    Q.   Right.   Can you tell me, how many referring doctors were

    3    there for 201-A, which would be what year, 2017?

    4    A.   Can we scroll to the left?

    5    Q.   Sure.

    6             MR. SADOW:    Please, scroll to the left.

    7    BY MR. SADOW:

    8    Q.   Does that help you any?

    9    A.   All right.   Let's scroll slowly to the right.       Keep going.

   10    Okay.   Can we stop there?

   11    Q.   Sure.

   12    A.   And then can you just -- on Column Alpha Delta, AD, can you

   13    just click that drop-down arrow for me, and then scroll down in

   14    the filter?

   15         So that looks like 2017 to me.

   16    Q.   Okay.    So now that we've established it's 2017, how many

   17    providers/doctors were involved in 2017?

   18    A.   I don't recall specifically in 2017.       I remember the

   19    overall numbers are -- if my memory serves, are just north of a

   20    thousand.

   21    Q.   How about 722 for 2017; does that sound right?

   22    A.   I frankly don't know.

   23    Q.   Well, again, did the government direct you to determine the

   24    number of doctors/providers for LabSolutions during the

   25    relevant time periods?
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    1    A.   I believe they did, yes.

    2    Q.   Okay.   And is it totaled somewhere so that the jury can

    3    have that number?

    4    A.   I believe it is in a government exhibit somewhere, yes.

    5    Q.   The number of doctors, providers?

    6    A.   Yes, I believe so.

    7             MS. DE BOER:     It's Exhibit 103, if you'd a like to move

    8    it in.

    9             MR. SADOW:    Sure.    1492, if you'll go to Government

   10    Exhibit 103.

   11             THE COURT:    Is 103 in evidence?

   12             MS. DE BOER:     It is not, but we have no objection.

   13             MR. SADOW:    Sorry.

   14             THE COURT:    It'll be admitted at this time.

   15          (Government Exhibit 103 was received in evidence.)

   16    BY MR. SADOW:

   17    Q.   So we have 1492, and that's different providers, correct?

   18    A.   That is 1,492 unique referring doctors.

   19    Q.   Which translates into -- they're all different, right?

   20    That is, you don't have duplicate doctors.       Unique referring

   21    providers means there's actually that many different doctors,

   22    right?

   23    A.   I'll say this.    I've looked at data a lot.     I don't want to

   24    agree with you, with the small caveat that I have seen the same

   25    doctor have multiple IDs.       This is unique IDs.
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    1         So do I think it's unique doctors?      Probably, it's pretty

    2    close to that.     But it's possible that there is somebody

    3    counted more than once.

    4    Q.   Okay.   But let's just use this number.      Okay?

    5    A.   Absolutely.

    6    Q.   I'm assuming that you weren't directed to make contact with

    7    any of the doctors?

    8    A.   I was not instructed to contact the doctors.

    9    Q.   You were asked to determine what compensation, if any, the

   10    1492 doctors received from either LabSolutions -- assuming that

   11    even existed -- or any of the marketers?

   12    A.   I did not -- I was not asked to provide an analysis on what

   13    the doctors made.

   14    Q.   So all we know is there's 1492, as you indicated, unique --

   15    A.   Providers.

   16    Q.   All right.    Now, the number of beneficiaries, I think, from

   17    Government Exhibit 114 was --

   18             MR. SADOW:    If you'll put up Government Exhibit 114.

   19    BY MR. SADOW:

   20    Q.   If I understood you correctly -- and please tell me if I'm

   21    wrong, you would add across -- it would be the 27,365 plus the

   22    8206, plus the 9,151, correct?

   23    A.   That's not correct.

   24    Q.   That's not correct.

   25         Okay.   Then -- I thought that's the way you said it, but
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    1    please tell me what it is.

    2    A.   First, this chart only depicts Part B, not Part C.         So

    3    there are more beneficiaries that LabSolutions billed than

    4    this.

    5         But for Part B, there is 27,365 people that received a CGx

    6    test.   Of those 27,365, 8206 also received the PGx.       So

    7    Columns 3 and 4, PGx and other, are subsets of column 2.

    8    Q.   Okay.    So for purposes, then, of what I was asking,

    9    Part B -- these are beneficiaries -- the total would be 27,365,

   10    correct?

   11    A.   The total for Part B CGx beneficiaries, correct.

   12    Q.   Right.   And then, obviously, the subsets, as you've just

   13    indicated, right?

   14    A.   Correct.

   15    Q.   You were asked, I think, to provide information on eight

   16    beneficiaries.

   17         Does that sound right?     Three -- Counts 2, 3, and 4, and

   18    then five additional?

   19    A.   That sounds approximately correct.

   20    Q.   So we're talking about eight out of 27,365, correct?

   21    A.   Those eight that additional information was provided, yes.

   22    Q.   You don't have the information, I assume -- once we

   23    subtract the eight from the 27,365, you don't have that

   24    information about the procedure codes, right, or the ICD codes?

   25    You don't have any of that?
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    1    A.   I have all of that.

    2    Q.   But you just don't have it in a chart for us to see?

    3    A.   I didn't think it was practical to have 27,000 charts.         We

    4    would be here for weeks with me talking to you about 27,000 --

    5    Q.   I'm not -- I'm not suggesting -- I'm not suggesting it

    6    would be practical.

    7         I'm just saying, we don't have it, right?

    8    A.   And I guess maybe your definition of "have" is different

    9    than mine.   I have it.    I have every single one of these

   10    beneficiaries, every single procedure code.

   11    Q.   So I know this sounds strange, and based on what you're

   12    telling me, it would probably be impractical -- impractical, if

   13    not impossible, but we would be able to see which procedure

   14    codes were paid out.

   15         For example, if you took a hundred of them, you would be

   16    able to see which were paid on and which were not paid on?

   17    A.   Absolutely.

   18    Q.   Which were billed, obviously, and which weren't billed, on

   19    an individual basis, right?

   20    A.   Well, I wouldn't be able to tell which ones were not

   21    billed.

   22    Q.   No.   No.   We'd be able to see what were billed and what was

   23    paid, correct?

   24    A.   Correct.

   25    Q.   All right.    So let's go through -- just so I can kind of
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    1    run through this, let's go to Exhibit 2.

    2         Can you see that well enough?

    3    A.   Absolutely.

    4    Q.   Okay.    All right.   As you can see, this individual,

    5    according to the information that was available from you for

    6    data, had personal history of cancer, correct?

    7    A.   Correct.

    8    Q.   Also, family history of cancer.

    9    A.   Correct.

   10    Q.   Actually, what appears to be at least two people in the

   11    family history of cancer, correct?

   12    A.   Not necessarily.      It could --

   13    Q.   Could be the same person.

   14    A.   Could be the same person.

   15    Q.   All right.    We'll just leave it as personal and family.

   16    Okay?

   17    A.   Agreed.

   18    Q.   All right.    Now, 81214 is the largest procedure code that

   19    was billed for this particular beneficiary, correct?

   20    A.   81214 has the largest amount billed for all of these

   21    procedure codes.

   22    Q.   Right.    How -- why wasn't this one paid?     Do you have any

   23    idea?

   24    A.   I do not.

   25             MR. SADOW:     Okay.   Let's go to number 3.
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    1    BY MR. SADOW:

    2    Q.   Here's, 821 -- 81214 with a personal history of cancer,

    3    right?

    4    A.   Correct.

    5    Q.   And this time, 81214 was paid, correct?

    6    A.   Correct.

    7    Q.   I'm assuming you don't know why it was paid.

    8    A.   I do not.

    9    Q.   Do you have --

   10               MR. SADOW:   Now let's go to number 4.

   11    BY MR. SADOW:

   12    Q.   81214 here is personal history of cancer and family history

   13    of cancer.

   14         And again, we don't know whether it's one person or more in

   15    the family, correct?

   16    A.   Correct.

   17    Q.   Why was 81214 not paid on this one?

   18    A.   I do not know.

   19    Q.   So simply billing a procedure code, obviously, just looking

   20    at these three, doesn't mean you're going to be paid, right?

   21    A.   I do not know.     I assume you want paid.    I don't know what

   22    the adjudication process ultimately --

   23    Q.   No, no.    I understand.   But my question has to do with the

   24    billing.

   25         Just because it was billed -- we have three different
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    1    individuals, all of which at least had personal history of

    2    cancer and two of which had family history, correct?

    3    A.   Correct.

    4    Q.   The two that had family history, 81214, along with the

    5    personal history, it wasn't paid, right?

    6    A.   That's correct.

    7    Q.   The one that has only personal history, it was paid, right?

    8    A.   In that one particular example, yes.

    9    Q.   As you said, it's not within your realm of expertise.         You

   10    don't know why that happened, right?

   11    A.   I do not.

   12    Q.   But what it does show is simply a -- billing a code doesn't

   13    mean it's going to be paid, right?

   14    A.   Correct.    The procedure codes -- all of the billing needs

   15    to go through the adjudication process, and that process is not

   16    something I've looked into for this.

   17    Q.   And at least as far as you know, we don't have any idea why

   18    on these three it's not paid or it was paid, right?

   19    A.   I don't know.    I don't know if, collectively, you know,

   20    that that answer --

   21    Q.   "We" is just --

   22    A.   -- is somewhere.

   23    Q.   At this point, "we" is just you.

   24    A.   Well, "we" being me, I don't have that information.         But I

   25    understand that the way that the Medicare contractors work,
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    1    that they -- they could get to that answer.       There's a reason.

    2    Q.   But the main point is the fact that a procedure code is

    3    billed in any given individual case does not assure that you

    4    are going to be paid for it, right?

    5    A.   I can't speak in total generalities.       All I know is that

    6    there are numerous instances of claims billed that are not

    7    paid.

    8    Q.   Do we have any other charts like this on individual

    9    patients?

   10    A.   What do you mean by "charts like this"?       Like...

   11    Q.   A summary done like 2, 3, and 4?

   12    A.   I've only prepared them for Counts 2, 3, and 4.

   13    Q.   But you did prepare five other ones, which is 166.

   14             MR. SADOW:    So let's go to that.

   15             THE WITNESS:    Yeah.   A little bit different.

   16    BY MR. SADOW:

   17    Q.   Why different?

   18    A.   I believe they're -- yeah.

   19    Q.   Why --

   20    A.   I just remembered them being different.

   21    Q.   Who told you not to do the same thing on these?

   22    A.   I don't recall the specific instruction, who gave the

   23    specific instruction.

   24    Q.   Well, it had -- specific, it had to be the government,

   25    right?
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    1    A.   It would have been someone from the government.

    2    Q.   Right.   You -- because you've already indicated that

    3    wouldn't be a determination you would make.

    4    A.   I would not just randomly decide to show W.H. to you all

    5    for no --

    6    Q.   So we don't know -- we don't -- on Ms. H., as far as from

    7    your chart, summary chart, we don't know which procedure codes

    8    were billed and which procedure codes were paid, correct?

    9    A.   From this chart, that information is not shown.        But I

   10    obviously know the information.

   11    Q.   Right.   You just were not instructed to put the information

   12    on this, right?

   13    A.   I don't recall the government telling me to put it on or to

   14    not put it on, if it was my decision or not.        I just don't

   15    recall the instruction.

   16    Q.   Well, wait, wait.    It wouldn't be your decision.      You've

   17    already told us that you didn't make those decisions.         You said

   18    the government directed you in what to do.

   19         You wouldn't have made the decision not to include it,

   20    would you?

   21    A.   It's distinctly possible, in a chart like this, that I was

   22    asked to put together a chart for W.H., I put this together,

   23    and that was sufficient.     It is distinctly possible.

   24    Q.   Okay.    Your terminology, it was sufficient, whose decision

   25    was it that it was sufficient?
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    1    A.   Ultimately, the government would decide if this chart was

    2    sufficient for the government's purposes.

    3    Q.   Okay.   And I'm assuming that once you prepared the chart,

    4    you would have shared it with the government, correct?

    5    A.   Correct.

    6    Q.   And the government didn't say, please put down the

    7    procedure codes that were billed and how much was paid on the

    8    procedure codes, correct?

    9    A.   I don't recall any specific instruction after the time that

   10    I produced this chart where they said, can you go back and add

   11    the procedure codes.

   12             MR. SADOW:    Okay.   Let's go to the next -- go to the

   13    next.   The same would hold true -- actually, go back one more

   14    time.

   15    BY MR. SADOW:

   16    Q.   Ms. H., did she have personal history of cancer, family

   17    history of cancer, or both?

   18    A.   I don't know, not sitting here.

   19    Q.   I'm sorry?

   20    A.   I don't know sitting here.     I obviously -- again, I have

   21    all of that information; it's just not on this chart.

   22             MR. SADOW:    Let's go to the next one.

   23    BY MR. SADOW:

   24    Q.   Same.   Everything that I asked you about on the chart we

   25    just went over is the same for this, correct?
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    1    A.     Correct.

    2    Q.     We don't know why it was paid at 6,470.     Total bill in the

    3    CGx was paid 5,425, right?

    4    A.     Billed 6,470 and paid 5,425.

    5    Q.     Right.   We don't know why.    We don't know what the -- what

    6    the particular procedure codes were, right?

    7    A.     Those procedure codes are not listed on this chart, but I

    8    obviously have the information.

    9    Q.     Okay.    Well, I'm only talking about the information that is

   10    in the courtroom for the ladies and gentlemen of the jury to

   11    get.    Okay?

   12    A.     Well, but the ladies and gentlemen of the jury could get

   13    that information if they so desire.

   14    Q.     You mean they could get that information if the government

   15    had told you to put that information on the chart.

   16    A.     No.   They can go to the source exhibit, the Medicare data,

   17    look for Mr. I., look at May 31, 2018, and very readily find

   18    the procedure codes.

   19    Q.     And the source data is in evidence?

   20    A.     I believe it is.

   21    Q.     And which exhibit was that, so they can look at it if they

   22    choose to?

   23    A.     2- -- I think this is maybe 202.

   24                 MR. SADOW:   Okay.   Let's go to the next one.

   25    BY MR. SADOW:
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    1    Q.   Same situation.    We don't know personal history, family

    2    history, right?

    3    A.   It's not listed --

    4    Q.   The chart.   I'm only talking about the chart.       Okay?

    5    A.   It's not on the chart.

    6    Q.   And then the next one, not on the chart, right?

    7    A.   Not on the chart.

    8    Q.   And on the next one, not on the chart, right?

    9    A.   The diagnoses are not on the chart.

   10    Q.   So my question with all of those is, who chose those

   11    individuals to be put on a chart?

   12    A.   The government gave me those names.

   13    Q.   They gave you those names.

   14    A.   Correct.

   15    Q.   Those five out of, obviously, the thousands and thousands

   16    that the information exists, correct?

   17    A.   The government selected these five for additional charts.

   18    Q.   Okay.   All right.   Let's go to some phone records.      Okay?

   19    A.   Okay.

   20    Q.   Starting with 132.

   21         Now, this deals with Mr. Ramamurthy at two distinct time

   22    periods, correct?

   23    A.   Correct.

   24    Q.   And if I understood correctly, the 1160 -- I'm talking

   25    about the top part of the exhibit, the first part -- 1160 total
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    1    calls, and you had a total of 914, through that date range,

    2    with a duration of more than zero, right?

    3    A.   Correct.

    4    Q.   And the government said -- pointed out that that doesn't

    5    mean that there were 914 conversations; it just means that

    6    there were 914 calls with duration more than zero, right?

    7    A.   It means there are 914 calls with duration more than zero.

    8    Q.   If there is any connection between phones, any connection

    9    at all, it's going to be more than zero, right?

   10    A.   I believe that's the way the toll record works.

   11    Q.   So if it was one second or two seconds or five seconds or

   12    eight seconds; if it was back and forth ten times before

   13    someone made contact, that would be included in your 914,

   14    right?

   15    A.   I'm sorry.   I didn't follow.     You were saying two seconds,

   16    eight seconds, ten times...

   17    Q.   I'll break it down.    The 914 could include, for example,

   18    50 calls that didn't last any more than ten seconds, right?

   19    A.   It could.

   20    Q.   But you had the information to be able to tell us -- for

   21    example, if you wanted to make it duration of more than one

   22    minute, you could have done that.

   23    A.   I believe I have that information, yes.

   24    Q.   Right.   Who asked you to make it duration more than zero?

   25    A.   I don't recall.
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    1    Q.   Well, I don't mean individually.      It had to be the

    2    government, right?

    3    A.   Again, it's possible that was something that we did at the

    4    firm.    I haven't worked with these records before.      But

    5    the government obviously didn't object to this presentation.

    6    Q.   Okay.    See, you've confused me a little bit and I

    7    apologize.

    8         I thought, when we started off, that directions were given

    9    by the government, and you just did what the government asked

   10    you to do.    I didn't realize that you had the discretion to

   11    make determinations on what would be on the chart.

   12         But you apparently do, correct?

   13    A.   Not exactly.    I think you're trying to make it seem a very

   14    cut-and-dry thing that -- we have a very complicated analysis.

   15         For instance, the government doesn't instruct me how to

   16    drive to work in the morning the morning I create the chart.

   17    Right?   So there are certain things that I know from years of

   18    doing this, that this presentation or this information might be

   19    important, so I put it on the chart.

   20         The government doesn't give me extreme amounts of detail on

   21    how the charts are made.     They leave that, to a degree, to my

   22    discretion.    They may say to me, Mr. Petron, please put

   23    together a charge of the toll records between Mr. Patel and

   24    Mr. Ramamurthy.

   25         And then I would put something together and they would
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    1    either accept or reject it.

    2    Q.   Accepting what you just said, when this is provided to the

    3    government in this case, on Mr. Ramamurthy, there was no

    4    objection that you used greater than zero, correct?

    5    A.   Correct.

    6             MR. SADOW:     Let's go to the next one, 133.

    7    BY MR. SADOW:

    8    Q.   Here's Mr. Griner.    Time period, date range,

    9    October 14th -- I'm sorry -- October 4 of 2016 to

   10    November 13 of 2017, correct?

   11    A.   Correct.

   12    Q.   And I'll allow you, please, to tell me who chose the date

   13    range.

   14    A.   I don't recall if anyone chose that date range or if that

   15    is the date range of the data that is available.

   16    Q.   So that would be -- based on what data you have, those

   17    would be when phone calls or contact by phone was made with

   18    Mr. Griner, correct?

   19    A.   That is correct.

   20    Q.   And again, not belaboring the point, that 629 number is

   21    simply greater than zero, right?

   22    A.   That is what it references, yes.

   23    Q.   Which means we don't know how many of those were actually

   24    not conversations, they were just back and forth, correct?

   25    A.   All I know is that the duration of the call was greater
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    1    than zero.

    2    Q.   But that information was available or is available,

    3    correct?

    4    A.   The information on duration is available.       What that

    5    information necessarily means, I don't know.

    6    Q.   But the duration is available?

    7    A.   It is available.

    8    Q.   Now, these calls, does that include text messages?

    9    A.   I believe these are calls.

   10               MR. SADOW:   Let's go to the next one.

   11    BY MR. SADOW:

   12    Q.   Same situation, this time with Mr. Hirsch.       And you have a

   13    time period of 10/31/16 to August 15th of 2019, correct?

   14    A.   Correct.

   15    Q.   And we have the same thing with the 138, correct?

   16    A.   Correct.   It is all the same information.

   17    Q.   Next one, which I think is the last one --

   18               MR. SADOW:   No, I think there's 135.

   19    BY MR. SADOW:

   20    Q.   Okay.   Now, this one is between Mr. Patel and Marc Sporn,

   21    right?

   22    A.   Correct.

   23    Q.   And you see that the time period is September of 2018 to

   24    June 26th of 2019, right?

   25    A.   I see that.
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    1    Q.   And we have a total of 32 calls, right?

    2    A.   Where duration is greater than zero.

    3    Q.   Right.   So, again, we don't know, out of that 32, how many

    4    actual conversations took place, correct?

    5    A.   I do not know.

    6    Q.   But we have a starting date of September of 2018, right?

    7    A.   Correct.

    8    Q.   Not 2017, right?

    9    A.   That is correct.

   10    Q.   Not into 2016, correct?

   11    A.   It starts in 2018.

   12    Q.   Right.   And it ends June 26th of 2019, correct?

   13    A.   Correct.

   14    Q.   All right.   Did the information on the last four that

   15    we've gone over, 131, 132, 133, 134 and 135, did that come

   16    from Mr. Patel's phone records?

   17    A.   I don't recall.    I believe so, but I don't recall

   18    specifically.

   19    Q.   Did you have the phone records for Mr. Ramamurthy?

   20    A.   I don't recall.

   21    Q.   Did you have the phone records for Mr. Griner?

   22    A.   I don't recall.

   23    Q.   How about Mr. Hirsch?

   24    A.   I don't recall.

   25    Q.   And the same with Mr. Sporn?
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    1    A.   I do not recall.

    2    Q.   So you don't know whether you would have been able, if

    3    asked, to make the analysis of how many times Rama talked to

    4    any of these people, or Griner talked to any of these people,

    5    other than Mr. Patel, correct?

    6    A.   I don't recall if I had that information or not.

    7    Q.   Okay.    Now, I may have missed this, and if I did, I'm sure

    8    the government will help me point this out.

    9         Do you have a chart that shows what the billing amount is,

   10    and then in turn the payment amount for the procedure codes?

   11    A.   As a general matter, across the entire LabSolutions time

   12    period?

   13    Q.   Yes.

   14    A.   I believe that information was in a chart.

   15    Q.   Okay.    What I'm saying is, if I were to say to you, for

   16    example -- we can go to chart, just to give you an example of

   17    what I'm trying to go to --

   18                MR. SADOW:   Let's go to 113.

   19    BY MR. SADOW:

   20    Q.   113 was the number of CGx tests billed and you did it by

   21    procedure codes, right?

   22    A.   Correct.    This is CGx tests by procedure code, correct.

   23    Q.   Right.    What I'm asking you is -- I'm having a little

   24    trouble seeing it, but I think the highest one was 81404; isn't

   25    that correct?
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    1    A.   This is Part B only.

    2    Q.   I -- I'm not trying to go any more than Part B.        I'm doing

    3    what's on the chart.

    4    A.   The largest one was 81404.

    5    Q.   And how much was billed -- not by dollars, but how much per

    6    procedure code?

    7         How much 81404, how much did it bring for billing purposes,

    8    and how much was it paid for billing purposes?

    9         That is, if one was using 81404, did it have a set billing

   10    amount?

   11    A.   A lot of questions there.     So let me try to take the last

   12    one first and I'll work backwards.

   13         I don't know if there was a set billing amount.        I did not

   14    analyze LabSolutions' practices and how they billed what they

   15    billed.

   16    Q.   And don't -- I have made it unclear and I apologize.

   17         I'm not talking just about LabSolutions.       I'm talking

   18    about 81404 and Medicare Part B.

   19         How much did Medicare pay for 81404?       How much was allowed

   20    to bill, and how much were they paying for it?

   21    A.   And I'm sorry.    Just some clarification questions:      To

   22    LabSolutions, or are you talking about --

   23    Q.   In general.   Because the idea -- what I'm trying to ask

   24    you -- and I'm not doing a very good job of it -- I'm trying to

   25    understand that if someone is billing 81404, there must be
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    1    something that Medicare says, you can bill this amount, and the

    2    typical payment amount.

    3           And I'm just asking you whether or not you have that

    4    information?

    5               MS. DE BOER:   Your Honor, he's not the Medicare expert,

    6    and I would suggest maybe Exhibit 108 is what Mr. Sadow might

    7    be looking for.

    8               THE COURT:   Yeah.   I don't know that you can answer the

    9    question.    If you can --

   10               THE WITNESS:   I think I could get to an answer with

   11    that exhibit that Counsel just pointed out.

   12               MR. SADOW:   Okay.   Let's do that then.    Let's go to

   13    108.

   14               THE COURT:   Let's put up 108.

   15               THE WITNESS:   So this is a summary that I created.       The

   16    fourth row down is 81404.       And you can see that the total

   17    billed is $16.8 million, and the total paid is $9.7 million.

   18               And are we getting closer to -- I'm not sure what

   19    information you want, but this is more granular than the bar

   20    chart, so --

   21    BY MR. SADOW:

   22    Q.     But this does help.   And I appreciate it.     And thank you.

   23           The one that brings in the most amount of money is 81408,

   24    correct?

   25    A.     The highest paid that LabSolutions billed to Medicare for
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    1    Part B was 81408 for just over $27 and a half million.

    2    Q.     Can we go back to the chart that we were looking at before,

    3    the 113?

    4    A.     Okay.

    5    Q.     Where is 81408 on that chart?

    6    A.     It is the yellow bar -- yeah, thank you, whoever has the

    7    red arrow.     It's the yellow bar that's -- it's the fifth yellow

    8    bar.

    9    Q.     So 81408 we just went through brings in the most amount of

   10    money from billing -- when billed, correct?

   11    A.     I'd say it a little bit differently.

   12    Q.     Okay.

   13    A.     I would say, in the claims data that we have here,

   14    LabSolutions was paid the most, in totality, on its 81408

   15    billing.

   16    Q.     But as in the amount of the codes used, it was not in the

   17    top four, correct?

   18    A.     The amount of codes billed, it was not in the top four,

   19    that is correct.

   20    Q.     In fact, it tends to be near the middle, correct?

   21    A.     Sure, yes, towards the middle.

   22    Q.     So if someone wanted to bill that to make the most amount

   23    of money, 81408 might have been at the top, right?        I mean, if

   24    that was the only thing you were looking to do is to make

   25    money, if you billed 81408, that would make you the most amount
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    1    of money, correct?

    2    A.   I cannot answer that.     I'm sorry.

    3    Q.   Well, we know from the chart we looked at before, that

    4    that's the most money that got paid to LabSolutions, right?

    5    A.   That is for this given dataset, yes.

    6    Q.   So that means that 81408 would have brought in the most

    7    amount of money.     If you're in it just to make the money, you

    8    bill the one that brings in the most amount of money, correct?

    9    A.   I can't answer that.     I don't know if that's correct or

   10    it's not correct.

   11    Q.   Okay.   How many representatives, sales reps, did

   12    LabSolutions have?

   13    A.   I do not know.

   14    Q.   Is that data in the information that you have?

   15    A.   I don't believe we had information on the number of sales

   16    reps.

   17    Q.   Well, wouldn't there be payments made either by 1099 or

   18    W-2s to those individuals?

   19    A.   From whom?

   20    Q.   LabSolutions.

   21    A.   I don't know.

   22    Q.   Well, I mean, if it's a sales rep, if LabSolutions is

   23    paying sales reps, that's what your information shows, right?

   24    A.   I don't remember looking at sales reps from LabSolutions.

   25    Q.   Well, sales reps/marketers.     Same thing, isn't it?
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    1    A.   I don't know if that's the same thing.

    2    Q.   You weren't asked to look to determine how many different

    3    people acted as sales reps/marketers.

    4         Is that a fair statement?

    5    A.   I was not asked to look at that, no.

    6    Q.   I'm assuming you don't disagree with the proposition that

    7    if someone makes money from a legitimate business, how they

    8    choose to spend the money is their choice, correct?

    9    A.   How someone chooses to spend their money?

   10    Q.   Yes.

   11    A.   Yes, that's their choice.

   12    Q.   So if Mr. Patel obviously chose to purchase two vehicles,

   13    that was his choice, correct?

   14    A.   I assume that was his choice.

   15    Q.   And I'm assuming that you don't have personal or firsthand

   16    information about the underlying facts.       You only have what

   17    information was given to you by the government, correct?

   18    A.   Underlying facts?

   19    Q.   Of the case.

   20    A.   Of the case.    The only -- I read the indictment and the

   21    superseding indictment --

   22    Q.   And that's it?

   23    A.   -- and I have no personal knowledge.

   24         Correct.

   25    Q.   Okay.   So if money is paid to Mr. Patel, assuming it to be
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    1    a legitimate business, again, it's his decision how he chooses

    2    to spend it, correct?

    3    A.   I assume, if he is the owner of that money, then it is his

    4    decision.

    5    Q.   And you do know, from at least looking at the records, he

    6    was the owner of LabSolutions, correct?

    7    A.   Correct, that's my understanding.

    8    Q.   And therefore would be the individual who could make

    9    decisions about money, correct?

   10    A.   I assume that he is.

   11    Q.   Who asked you to point out that he bought two bottles of

   12    Dom Pérignon in some place in Florida?

   13    A.   The government asked me to look for transactions in

   14    Florida.

   15    Q.   And was there a purpose for finding two bottles of

   16    champagne?

   17    A.   The only purpose I recall was location.

   18    Q.   Was location.

   19         So they wanted you to find the fact that he had purchased

   20    champagne in Florida?

   21    A.   I don't believe that was the instruction.       It was not,

   22    Mr. Petron, go find champagne in Florida; it was, go find

   23    transactions in Florida.

   24    Q.   So are the only transactions in Florida the ones that are

   25    on the charts that have been displayed to us?
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    1    A.   I don't recall.

    2    Q.   My last question simply has to do with Z Codes.

    3    A.   Diagnosis codes?

    4    Q.   Correct.

    5    A.   Okay.

    6    Q.   Did you make a determination at any time -- and these are

    7    diagnosis codes.

    8         And maybe I should preface this by asking you, what is your

    9    understanding of what a diagnosis code is?

   10    A.   A diagnosis code is a code that a healthcare practitioner

   11    would put on a medical claim that would represent the ailment,

   12    the underlying root cause of why the particular procedure was

   13    needed.

   14    Q.   All right.    And did you, through your analysis, determine

   15    when certain Z Codes, or diagnosis codes, were used?

   16    A.   We did.

   17    Q.   Okay.   And a chart was made of that, correct?

   18    A.   Correct.

   19    Q.   And that had to do with the breakdown between what I would

   20    call family history and personal history, right?

   21    A.   Correct.

   22    Q.   And do you remember which exhibit that was?

   23    A.   I don't remember the numbers.      I know -- I can picture the

   24    exhibit, but I don't remember what the government's sticker

   25    number is.
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    1             MR. SADOW:       Is that in evidence?   I'm asking the

    2    government.

    3             MS. DE BOER:      It's not, but we do have it.    I'll get

    4    you the number in a second, Mr. Sadow.       It is 115.

    5             MR. SADOW:       I would move Government Exhibit 115 into

    6    evidence, please.

    7             MS. DE BOER:      No objection.

    8             THE COURT:       That'll be admitted at this time.

    9          (Government Exhibit 115 was received in evidence.)

   10    BY MR. SADOW:

   11    Q.   This particular chart was done, I assume, in part on the

   12    basis of diagnostic codes?

   13    A.   It absolutely uses diagnosis codes, yes.

   14    Q.   So what this is able to tell us is that during the time

   15    period January 2017 to August 2019, it appears that family

   16    history of cancer was billed more than -- by 52 percent to

   17    43 percent over personal history of cancer, correct?

   18    A.   Not necessarily.      If I can -- can I explain the chart?

   19    Q.   Please.    Please.

   20    A.   So this chart is a chart for all CGx tests.       So when

   21    looking at all CGx tests, there was 20,000 people that got CGx

   22    tests.

   23         We went through and looked at the diagnosis codes.        And in

   24    some of them, there's a single diagnosis code.        That makes this

   25    chart easy.    They get put into a box, whether it be current,
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    1    personal, family, and other.

    2         But oftentimes, as we saw with the counts, there are

    3    multiple, right?     Some people have personal and family.

    4         So I remember making the decision to create this chart with

    5    the following protocol:      First, if there was a current

    6    diagnosis of cancer, regardless if there was also a personal

    7    history or family history, it got put into that slice that says

    8    5 percent, the top right slice.

    9    Q.   Again, let me make sure that I understand.

   10         That is if it's a current cancer?

   11    A.   Correct.

   12    Q.   What might be called sometimes "active cancer"?

   13    A.   I'm not sure.      All I know --

   14    Q.   Okay.

   15    A.   -- is what is the diagnosis code.

   16    Q.   That's fine.

   17    A.   So if the diagnosis code -- if any diagnosis code

   18    indicating current cancer was present, the entire claim gets

   19    put into that $10 million, or 5 percent.

   20    Q.   Regardless of whether there was also family history or

   21    other personal history?

   22    A.   Yes, sir.   Correct.

   23    Q.   Gotcha.    Okay.

   24    A.   So then we move to the next stage, the next step.        If

   25    that's no current diagnosis, we look for personal history.         So
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    1    if someone had personal history, regardless if they also had

    2    family history or nothing else, it got put into that light blue

    3    personal history.

    4    Q.   So, again, if you had personal history but it wasn't

    5    current cancer, then, no matter whether you had family history

    6    or not, you're in the light blue?

    7    A.   Correct.

    8    Q.   Okay.   And then one would assume that if you don't have

    9    personal history and you don't have current cancer, you're in

   10    the dark blue.

   11    A.   If -- if you have family history.

   12    Q.   If you -- no.    Obviously, if you have family --

   13    A.   If you have family history and it's diagnosed, right.

   14         And then, finally, 1 percent didn't have any either

   15    current, personal, or family history.

   16    Q.   Okay.   So when we look at the 52 percent in the 116 million

   17    that was billed -- not paid, but billed --

   18    A.   Billed.

   19    Q.   -- you have $116 million worth of family history alone,

   20    nothing else?

   21    A.   I would say family history with no indication of personal

   22    or a current.

   23    Q.   That's what I meant by "alone."      I think that's fine.

   24         Okay.   So now tell me, did you take another step and

   25    determine at what time periods family history -- according to
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    1    the definitions that you've used -- that family history was

    2    billed?

    3    A.   I'm not sure I follow.     I'm sorry.

    4    Q.   If you have the family history, as you've described it, did

    5    you make a determination by, let's say, a monthly period when

    6    family history was billed versus personal history?

    7    A.   I'm not sure I follow.

    8    Q.   For example --

    9    A.   Yeah.

   10    Q.   I'm not trying to make this complicated.

   11         Let's assume it's January of 2018.      Okay?

   12    A.   Mmm-hmm.

   13    Q.   And I wanted to know, in January of 2018, was LabSolutions

   14    billing more family history than personal history, using your

   15    definition.

   16         Was that done?

   17    A.   I don't recall doing that analysis.

   18    Q.   Okay.    So is there any way to determine, based on the

   19    analysis that you've done, when, if ever, family history

   20    dwindled and personal history became more important for a

   21    particular MAC?

   22    A.   I theoretically could find that out, yes.

   23    Q.   You could have done that.     Could have.

   24    A.   I believe I have the information that I could have done

   25    that.
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    1    Q.   Did that ever come up in conversation with the government?

    2    A.   Not that I recall.

    3    Q.   So if I would have -- of course, and you're not interacting

    4    with the defense; we've already gotten that far, right?

    5    A.   I have had no interaction with the defense.

    6    Q.   If someone had said, I want to know, starting in January

    7    of 2019, whether most of the billing for the MAC in Georgia --

    8    that covered Georgia was personal history and not family

    9    history, you could have made that determination?

   10    A.   I believe I could have looked into that, yes.

   11    Q.   Okay.   And if I had -- because you've also had the other

   12    charts, if I wanted to know when family history was being

   13    billed in Pennsylvania but not in Georgia with the MACs, you

   14    could have done that as well, correct?

   15    A.   I mean, assuming your underlying premise is correct and

   16    that was occurring, I have the information available to me to

   17    determine the timing of all of these claims and what was billed

   18    and what was not billed.

   19    Q.   And did that ever come up in conversation with the

   20    government, as to whether that question of family history

   21    versus personal history versus geographical location, as well

   22    as dates -- did that ever come up as something that should be

   23    plotted as a chart, a summary chart?

   24    A.   I don't recall having a conversation about that.

   25    Q.   Okay.   Thank you.
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    1               THE COURT:   Anything else, Mr. Sadow?

    2               MR. SADOW:   Oh, I'm sorry.   No.     I said thank you.

    3               THE COURT:   All right.    Very good.

    4               Redirect.

    5               MS. DE BOER:    Thank you, Your Honor.

    6               And, Your Honor, I would move Government Exhibit 108

    7    into evidence, which was shown by Mr. Sadow, but I'm not sure

    8    if it's in.

    9               THE COURT:   Sure.   We'll admit that now without

   10    objection.

   11               MR. SADOW:   Absolutely.

   12          (Government Exhibit 108 was received in evidence.)

   13                              REDIRECT EXAMINATION

   14    BY MS. DE BOER:

   15    Q.   All right.   So, Mr. Petron, you were asked some questions

   16    about the 27,000, roughly, patients for who LabSolutions billed

   17    CGx tests to Medicare.

   18         Do you recall that?

   19    A.   I do.

   20    Q.   And Mr. Sadow asked you some questions about you had

   21    represented in summary charts details for a handful of

   22    patients, but you haven't done that for all 27,000; is that

   23    correct?

   24    A.   I did not create a separate chart for all 27,000 patients.

   25    Q.   Okay.    But you pointed out to the jury that -- and, in
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    1    fact, Mr. Sadow showed you one of the spreadsheets that

    2    contains all of that information for anybody billed in 2017,

    3    for example.

    4    A.   Correct.   So I think it was Government Exhibit 201.        I'm

    5    sure you know it better than I.

    6         But all of the billing data we used is evidence, I believe,

    7    and you can look into it.     They're big spreadsheets, and you

    8    can find any beneficiary you want.

    9    Q.   Okay.   And when Mr. Sadow said that you did not analyze any

   10    further information for the 27,000 or summarize any further

   11    information for the 27,000, that's not exactly correct, because

   12    you do have Government Exhibit 113.

   13         And I'm going to direct you to the second page of 113.         And

   14    is this information for all of the -- does it pertain to the

   15    27,000 beneficiaries for which CGx tests were billed?

   16    A.   Correct.   This is the 27,000 beneficiaries, and this is the

   17    distribution of each procedure code for those 27,000.

   18    Q.   And so when Mr. Sadow says that you don't have a summary

   19    showing the procedure codes for all 27,000 beneficiaries, what

   20    does this exhibit show?

   21    A.   It shows which procedure codes were billed and by what

   22    amounts for all of those 27,000.

   23    Q.   And focusing on the first four columns here in the bar

   24    chart, approximately what percentage of the 27,000 patients

   25    that CGx was billed for -- approximately what percentage
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    1    received these four Tier 2 CGx codes?

    2    A.   Nearly all of them.    I mean, it's 99 percent or something.

    3    Q.   Okay.   And Mr. Sadow showed you Government Exhibit 108,

    4    which is the top CGx procedure codes and the Part B billing

    5    data, correct?

    6    A.   Correct, we looked at this.

    7    Q.   And what type of procedure codes drove the CGx billing?

    8    Was it Tier 1 or Tier 2?

    9    A.   Tier 2 codes were the higher billing codes.

   10    Q.   And, for example, this 81408, 81406, 81405, 81404, are

   11    those all Tier 2 CGx codes?

   12    A.   They are.

   13    Q.   And the total billed and paid for those particular codes --

   14    for example, 81408 was the highest single billing code.

   15    A.   Correct.

   16    Q.   And we looked at a summary chart earlier, which I'm not

   17    going to repeat, but where you showed for the 27,000 patients

   18    the average number of tests billed for each of those -- average

   19    number of CGx tests billed for each of those patients.

   20         Do you recall what that average number was?

   21    A.   It was a dozen, about 12.

   22    Q.   Okay.   So Mr. Sadow pointed out that one way to make money

   23    doing this is just hit the highest paying code, right?

   24    A.   That was what he was saying, yes.

   25    Q.   Okay.   Could another way to make money be throw a bunch of
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    1    codes and see what sticks?

    2    A.   That's distinctly possible, too.

    3    Q.   Mr. Sadow showed you Government Exhibit 2, which pertains

    4    to patient V.H.

    5         Do you recall looking at this?

    6    A.   I do.

    7    Q.   And are there 12 tests billed for Ms. H on the claims

    8    submission date of September 24 of 2018?

    9    A.   There are.

   10    Q.   And not all of them paid, right?      I mean, if we look over

   11    here, some were zero, correct?

   12    A.   Correct.

   13    Q.   But some, for example, these Tier 2 codes over here, they

   14    did pay.

   15         Do you see that?

   16    A.   I do.    Those Tier 2 codes, row 2, 3, 4; those are all

   17    Tier 2.    Those did pay.

   18    Q.   Okay.    And regardless of the beneficiaries for which we do

   19    have specific summary slides like the ones we just looked at,

   20    did you determine the total amount billed and paid by

   21    LabSolutions to Medicare?

   22    A.   I did.

   23    Q.   And is that reflected in Government Exhibit 112?

   24    A.   It is.   This is a summary that includes both Part B and

   25    Part C, total billed, 463 million.      Total paid, 187 million.
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    1    Q.   Okay.    And the 187 million -- and this is Part B and

    2    Part C, correct?

    3    A.   Correct.

    4    Q.   So the paid amount for just Part B is a little bit lower

    5    than 187 million.

    6    A.   It is.

    7    Q.   And did you also determine, of the amount that Medicare

    8    paid to LabSolutions, how much of that in those Medicare

    9    proceeds is traceable to Minal Patel?

   10    A.   I did.    At least from the Part B proceeds, over

   11    $21 million.

   12    Q.   Okay.    And that's reflected in Government Exhibit 127?

   13    A.   Correct.

   14    Q.   The $21 million?

   15    A.   Correct, top right.

   16    Q.   Okay.

   17               MS. DE BOER:   One moment, Your Honor.

   18               THE COURT:   Sure.

   19          (Discussion was held off the record.)

   20               MS. DE BOER:   Thank you, Mr. Petron.    I have nothing

   21    further.

   22               MR. SADOW:   Your Honor, I have one exhibit I'd like to

   23    put in in light of the --

   24               THE COURT:   Sure, go ahead.

   25               MR. SADOW:   Is 116 in evidence?
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    1               MS. GURSKIS:    Yes, it is.

    2               MR. SADOW:   Can I publish 116, Your Honor?

    3               THE COURT:   I don't believe there's any objection,

    4    right?

    5               MS. DE BOER:    No objection.

    6               THE COURT:   We'll admit 116 at this time.

    7               Are you asking for recross on that?

    8               MR. SADOW:   Yes, just on -- it deals with those four

    9    codes.

   10               THE COURT:   Okay.   Go ahead.

   11                              RECROSS-EXAMINATION

   12    BY MR. SADOW:

   13    Q.   Sir, this is Exhibit 116 and these are the four codes, that

   14    is, the procedure codes that you were making reference to on

   15    what we call redirect examination, correct?       The ones that were

   16    billed more than any other, right?

   17    A.   Correct.

   18    Q.   And this shows you how much the average billing was by

   19    LabSolutions and the average paid, correct?

   20    A.   Correct.

   21    Q.   And I'm assuming the total on the bottom is the average

   22    that was paid per code; is that correct?

   23    A.   No.   The average paid per code would be in the right-hand

   24    column, the $96, the 241, the 280, and the 440.

   25    Q.   So what is the 264?
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    1    A.   Oh, the 246 is a weighted average over the four of them.

    2    Q.   Okay.    And what I'm saying is, if you bill all four codes,

    3    you would have four codes, average being 264 per code, correct?

    4    A.   Well, I don't like averaging averages.       That's why I'm

    5    struggling.    The averages for each of the codes are listed

    6    there.   That bottom is just a weighted average for the four

    7    codes combined.

    8    Q.   What I'm trying to get at -- I was trying to do it in an

    9    easy way.

   10         If you bill all four codes and you get the average paid per

   11    code, if you bill that for every person, it would be a little

   12    over $1,000, right?    That's all.    It would be a thousand

   13    dollars, right?

   14    A.   On average, for these four codes and only these four codes.

   15    Q.   That's all I'm asking you, these four codes.

   16    A.   So for these four codes, on average, it would be my

   17    expectation that it would be about a thousand dollars.

   18    Q.   Right.   About a thousand, right?     Just a little over

   19    thousand?

   20    A.   A little over a thousand dollars.

   21    Q.   So if someone is talking about bills coming in or payments

   22    being made in the thousands and thousands of dollars per

   23    beneficiary, it's not from these four codes, is it?

   24    A.   Sure it is.

   25    Q.   A thousand dollars -- if someone is paying -- remember the
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    1    four that we did or five that we did in which the amounts were

    2    6,000, 7,000, the four that you didn't break down that we

    3    talked about?

    4    A.   I don't recall exactly what you're talking about.

    5    Q.   You did three counts --

    6    A.   Three counts --

    7    Q.   And then you did five other individuals.

    8    A.   Okay.

    9    Q.   The amounts in there, I'm suggesting to you, were in the

   10    6- and $7,000 range, right?

   11    A.   Correct.

   12    Q.   Of that, using these as averages, it would be slightly over

   13    a thousand dollars if all four of these codes were billed,

   14    correct?

   15    A.   I would agree that my expectation would be that it would be

   16    a little over a thousand dollars for those four, out of, say,

   17    the dozen codes that were billed, of those amounts.

   18    Q.   And if you went through, if you wanted to determine it, how

   19    much the average payment was on others above and beyond these

   20    four, we could do that if we wanted to do it, correct?

   21    A.   Absolutely.

   22    Q.   Thank you.

   23               MR. SADOW:   That's all.

   24               THE COURT:   Any --

   25               MS. DE BOER:   Just briefly.
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    1              THE COURT:   Yes, any follow-up questions?      Go ahead.

    2              MS. DE BOER:   I would ask that the defense put that

    3    back up, please.

    4              THE COURT:   If we could put that back up, please,

    5    publish it again.

    6                        FURTHER REDIRECT EXAMINATION

    7    BY MS. DE BOER:

    8    Q.   Mr. Petron, why this code grouping?      Did the government

    9    tell you, represent these four codes, or did you identify these

   10    four codes using some methodology?

   11    A.   I identified these four codes in the data.       These four

   12    codes, to me, if you recall the bar chart, these are the first

   13    four that had the highest yellow bars that were all equal.

   14         It was incredibly noticeable to me.      So I said, there's

   15    something -- these four codes are always being billed, and then

   16    there are lots of other codes being billed.       There was a

   17    mismatch of other stuff being billed, but these four were

   18    always being billed.

   19         So I thought -- I created this chart because of that

   20    reason.

   21    Q.   And the defense showed you page 1, but they didn't show you

   22    page 2.

   23              MS. DE BOER:   Would you mind putting up page 2?

   24    BY MS. DE BOER:

   25    Q.   Could you explain to the jury what is reflected in this pie
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    1    chart?

    2    A.   So this pie chart is all CGx codes and Part B only, but all

    3    CGx codes, so the same thing we have been looking at.

    4         The first page contains the dark blue top-right corner,

    5    22 percent.     So 82.1 million are associated with those four

    6    codes.   Right?   Those four.

    7    Q.   Just those four?

    8    A.   Just those four codes.

    9    Q.   Okay.

   10    A.   The rest of the light blue is what I would call every CGx

   11    code, that is not those four codes, billed with the four codes.

   12         Does that make sense?

   13         It's all of the other CGx codes which make up 138 million

   14    or 76 percent of the billings.

   15    Q.   Okay.    So let me see if I'm understanding you correctly.

   16         This dark blue, that portion got just those four codes.

   17    A.   Correct.

   18    Q.   From the dark blue all the way around to the end of the

   19    light blue, they got either just those four codes, or those

   20    four codes plus other codes.

   21         Is that fair?

   22    A.   I have would say it's not the four codes.       It's every other

   23    code, not the four codes.

   24    Q.   Okay.    Understood.

   25         And right here when it says:      Additional CGx codes billed
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    1    with the Tier 2 CGx grouping, what does that mean?

    2    A.   That's what I'm saying.     So in the situations where we have

    3    the Tier 2 code grouping, i.e. the four codes.        So the top blue

    4    is the four codes.

    5         The rest of the circle, the light blue part of the circle

    6    is all --

    7          (Court reporter clarification.)

    8               THE WITNESS:   Sure, I'm sorry.    I'm away from the mic.

    9               The dark blue top corner are the four codes.      The light

   10    blue, the rest of the circle, is any other CGx code that is not

   11    the four codes.

   12    BY MS. DE BOER:

   13    Q.   And it's billed with the Tier 2 code grouping?

   14    A.   They are billed at the same time.       So these four codes.

   15         And then if the average is 12, I would expect, on average,

   16    eight other codes being billed with this hand over here.         They

   17    might be a different eight, right?      They could be all types of

   18    different codes.

   19         But I would expect eight of them with these four.

   20    Q.   Okay.    Thank you, Mr. Petron.

   21               MS. DE BOER:   Nothing further.

   22               THE COURT:   Okay.   At this time, Mr. Petron, you're

   23    excused.     Thank you very much.

   24               THE WITNESS:   Thank you.

   25               THE COURT:   Let me get a brief sidebar for scheduling,
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    1    please.

    2          (The following proceedings were held sidebar:)

    3              THE COURT:   All right.   Just to confirm that we are

    4    left with the doctor tomorrow, correct?

    5              MS. DE BOER:   Correct.

    6              THE COURT:   That's it?

    7              MS. DE BOER:   Yes.

    8              THE COURT:   We're good to go?

    9              MS. DE BOER:   Yes.

   10              THE COURT:   Okay.

   11          (Proceedings returned to open court.)

   12              THE COURT:   Ladies and gentlemen of the jury, that

   13    concludes our testimony for today.      I'm going to give you some

   14    instructions, but most importantly, give you a little bit of a

   15    preview for what tomorrow, Friday, looks like.

   16              Tomorrow morning, we're going to start at 10:00.        We're

   17    not going to start at 9:00.     I have to handle a couple of

   18    things in this trial to get things ready for you all.

   19              But there is a bit of a silver lining with our pace

   20    right now.   We expect to have only one witness tomorrow called

   21    by the government, and the government's case will conclude.

   22              That means that after tomorrow, we are, at least by my

   23    estimation, ahead of pace.      If you recall, we had pretty much

   24    structured that you could all be with us until about the 20th

   25    or thereabouts, right?     This means that on Monday of next week
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    1    the defense will begin their case.      Okay?

    2             So we are at a very critical point in the case that we

    3    have allowed the government, over of the past two weeks, to

    4    present their case.    They just have one more witness tomorrow.

    5    So that means we will start at 10:00, but I anticipate we will

    6    probably end even a little earlier than perhaps we're ending

    7    today, tomorrow.    Which I think you all deserve.

    8             Quite frankly, it warms my heart to get you out of here

    9    on a Friday in the early afternoon so you can have a nice

   10    weekend and get some rest before we resume with the defense

   11    case on Monday.

   12             So tomorrow I don't want you to fear that because we're

   13    starting late, we are somehow behind.       We are actually, I would

   14    say, a little bit ahead of schedule right now.

   15             So I think a lot of praise should go to both sides

   16    because the lawyers have worked very hard to keep the case

   17    moving and get through a lot of witnesses.

   18             I think, if my count is correct, after tomorrow it'll

   19    be 16 -- 15 or 16 witnesses total that we've heard from over

   20    the course of two weeks.

   21             So that, of course, brings me to my next point, that we

   22    have to continue, despite hearing from so many people, and

   23    despite the fact that we have one more to go, to keep an open

   24    mind because you've only heard the government's case.

   25             And the defense, although they don't have to, does plan
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    1    on putting some witnesses forward next week.        I also, of

    2    course, need to make sure that not only do you keep an open

    3    mind, but when you get home and family is going to ask how

    4    things are going, you are free to tell them it appears we are

    5    at a critical point in the case, that the case is on pace.         You

    6    can talk scheduling with them.

    7             But besides that, I can't have you discuss anything

    8    about what you've heard and what you've seen.        Certainly, today

    9    you've heard a lot of additional new testimony, some financial

   10    analysis.

   11             Similar to the same warnings I've given you from the

   12    beginning, as it pertains to genetic testing, telemedicine, and

   13    telemarketing, I would ask that you all don't do any of your

   14    own research.    You are confined to the evidence admitted in

   15    these four corners and these four walls of the courtroom.         So

   16    please continue to abide by that rule.

   17             Of course, stay off social media, as I know you all

   18    have, and make sure that you don't speak to each other.          I know

   19    the temptation sometimes is to wonder what your fellow jurors

   20    are thinking, but you must wait until the end, when you all can

   21    deliberate together to have that first full conversation.

   22             So again, we're going to break here in just a moment.

   23    I would ask you to leave your notepads in your room.

   24             I need everyone here -- let's all try to get here, if

   25    we could, please, by 10:00 o'clock, just so we can get started
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    1    at 10:00.   I suspect that the work I need to do tomorrow will

    2    be done by then, and I can get us started just a few minutes

    3    thereafter.

    4             And that way, we can get a chunk of that testimony done

    5    and hopefully let you out in the middle of the afternoon

    6    tomorrow for the weekend.     All right?

    7             So I want you all to feel comfortable that we've done

    8    our job, and we've kept our promise to you.       We're going to

    9    keep this train running.     All right?

   10             So I appreciate you guys, your patience, your

   11    dedication, and your concentration.       I think both lawyers --

   12    all lawyers and I would agree it's a lot of information.          It's

   13    a lot of information; it's a lot of exhibits.        Some of it is

   14    technical, and I know that you are all paying attention.

   15             As I've stated from the beginning, all of this has been

   16    admitted.   All of these many exhibits, they go back.        They go

   17    back to the jury room.     It's very hard, I know, sometimes to

   18    remember what you saw yesterday or last week.        And you're

   19    seeing them and sometimes not for very long.

   20             So you've heard how both lawyers have pointed out

   21    certain exhibits.    You can go back, when guys are deliberating,

   22    look at them, study them, look at those numbers, look at that

   23    data.   You're going to get a chance to do that.       So I don't

   24    want anyone to worry if they haven't gotten a full picture or

   25    want to follow up on their notes.      You're going to get a chance
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    1    to do that.

    2               So I hope you all have a wonderful rest of your day.

    3    We're going to get you out a little early, like I said.         And

    4    I'll see you all in the jury room tomorrow at 10:00 a.m.         Have

    5    a great evening, folks.

    6          (Jury exits at 4:24 p.m.)

    7               THE COURT:   All right.   Everyone please be seated.

    8               I'll also give you all a chance to work on your notes

    9    for tomorrow and get everything ready.       Again, we expect to

   10    hear from Dr. Yogel tomorrow.

   11               I think, Mr. Rafferty, we'll see what we get in the

   12    next 30 minutes, if we get a reply to the quash motion from the

   13    nonparties.    Certainly, I don't think the government needs to

   14    be in here right at 9:00.     We're going to be working on this

   15    motion to quash, and we will make a ruling -- my hope is to

   16    make a ruling on that afterwards in the morning.

   17               So that's going to take us -- I think we can probably

   18    do it inside an hour, but in an abundance of caution, I've set

   19    aside 9:00 to 10:00.      So the goal would be to pick up with

   20    Dr. Yogel tomorrow at 10:00.

   21               I trust, Ms. de Boer, that that's okay with Dr. Yogel's

   22    schedule.    I think you had told me she had to fly in -- or he

   23    had to fly in, right?

   24               MS. DE BOER:   I believe he's local, but Friday is his

   25    day off.
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    1             THE COURT:    I'm sorry.   Friday is his day off.      So you

    2    can let the doctor know, if he wants to be here a few minutes

    3    prior, that we'll start at 10:00 o'clock.

    4             Okay.   Housekeeping issues that I need to be aware of,

    5    any concerns?

    6             MS. GURSKIS:    Your Honor, I wanted to briefly address

    7    the stipulation issue regarding the 302s that had been raised

    8    yesterday by Mr. Sadow.

    9             THE COURT:    Yes.   That was the request that Mr. Sadow

   10    had about the possibility as it pertained to Griner and

   11    Ramamurthy, reading them, I think is -- I don't know if it was

   12    necessarily reading them verbatim but at least addressing them

   13    without having to recall them.      Right?

   14             MS. GURSKIS:    Yes.   So I think, as a general matter,

   15    the government doesn't oppose having some sort of stipulation.

   16    I think the issue is that these are the agents' records of what

   17    Mr. Griner and Mr. Ramamurthy said.

   18             These -- so we actually -- Ms. de Boer and I were not

   19    present for either one of these meetings.       The witnesses

   20    haven't seen them.    So we would request leave of the Court to

   21    conduct two very brief interviews with these witnesses just for

   22    the limited purpose to see if they agree with the statement, if

   23    there's anything they don't agree with, if there's any context

   24    that's required for the statement; and then, based on that, to

   25    draft a stipulation that we could say the witness would
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    1    therefore adopt based on what is in the report.

    2             THE COURT:    And I wanted to see if I caught that right.

    3    You were saying to have the Court speak to the two witnesses?

    4    Did I understand that right?

    5             MS. GURSKIS:    No.   We would just request the Court's

    6    permission to contact them --

    7             THE COURT:    Oh.   Oh, yes.   The Court's permission.

    8             MS. GURSKIS:    -- since we are sort of in a precarious

    9    situation where they are obviously no longer testifying, but

   10    with the anticipated testimony that could potentially happen.

   11             THE COURT:    So the plan would just be to see if

   12    there's -- and again, I don't know if -- we can probably do

   13    that over teleconferencing equipment, to make it easy.

   14             But the idea would be to present the 302s -- I think

   15    there was maybe four in total, I recall -- the 302s would be

   16    presented to confirm that those are accurate summaries by the

   17    agents of their statements.     And then, if so, we can go ahead

   18    and stipulate to reading them in or presenting them to the

   19    jury.

   20             Is that the idea?

   21             MS. GURSKIS:    I think it would be a little bit narrower

   22    than that.   So Mr. Sadow extended the courtesy of actually

   23    highlighting the particular portion that he was most interested

   24    in to me.

   25             THE COURT:    Ah.   Perfect.   Okay.
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    1             MS. GURSKIS:    So I have the information at the ready,

    2    so that would be the information that we would want to see

    3    whether the witness could adopt.      And if the witness can't

    4    adopt that statement, then probably the more appropriate course

    5    of action would be to recall the witness, and Mr. Sadow would

    6    have the opportunity to cross the witness on that particular

    7    point.

    8             MR. SADOW:    That's an incredibly complicated thing to

    9    do.

   10             THE COURT:    Well, arguably, I don't know if it's more

   11    complicated than trying to get them back here.

   12             MR. SADOW:    No.   But I'm talking -- we're talking two

   13    sentences out of three reports.

   14             THE COURT:    No, no.   But let's clarify.

   15             What I'm being told is those two sentences will be

   16    presented to the witness to confirm -- because they aren't

   17    302s, and they're not direct and verbatim summaries, as my

   18    motion in limine ruled on weeks ago -- that they would be able

   19    to confirm it, and then we could get them in that way.         They're

   20    just concerned about treating those as verbatim statements of

   21    the witnesses.    That's my understanding.     So --

   22             MR. SADOW:    But there's a much easier way to do that.

   23             THE COURT:    What would you suggest, Mr. Sadow?

   24             MR. SADOW:    Have the two individuals that wrote the

   25    reports look at the two sentences and say, did they say this to
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    1    you?    If the answer to that is yes, then we don't have a

    2    problem.

    3               THE COURT:   You would say the individual memorializing

    4    the statement is --

    5               MR. SADOW:   Yeah.   You simply say to the agent, is this

    6    what the witness said?     And if the answer is yes, then you're

    7    done.

    8               THE COURT:   Well, I would beg to differ.     I think it's

    9    the exact opposite.     It's the same way that you -- not through

   10    an improper impeachment mechanism, but refreshing recollection,

   11    you do the exact opposite to witnesses who -- I could think of

   12    several witnesses who stated that the statements provided to

   13    the agent in the 302s were not the way they characterized them

   14    or at least not exactly the way they described them.

   15               I think the problem is the effect on the listener who's

   16    writing them down.      If you're not writing them or transcribing

   17    them, the fear is that it would not accurately capture the

   18    statements of the witnesses.

   19               And what you're asking us to do by stipulation is have

   20    those statements read in as statements of those witnesses.         And

   21    unless those witnesses confirm that that's what was stated, it

   22    would be a little problematic to have the individual -- the

   23    agent writing them down say, that's my recollection of what he

   24    told me.

   25               That's my concern.   It wouldn't necessarily capture the
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    1    accuracy.    It would have to be the person who stated those

    2    things to the agent.     And I think that kind of flips it on its

    3    head unless I'm missing something from the government.

    4             MS. GURSKIS:      Yes.   That's precisely --

    5             THE COURT:    Yeah.      I don't think I can go that route.

    6             Now, certainly, if they disavow them or change the

    7    story, which has happened in some of the questions you've

    8    posed, then we would have to, I think, almost certainly recall

    9    them so they could be confronted with that 302, like you had

   10    done before; and then they would have to explain that away.

   11             But if they confirm them -- my only question to you is,

   12    if you feel comfortable, if they were to confirm those

   13    statements, you get to the same place you want to get to

   14    through the agent, but it would just be through the person who

   15    actually stated it.     It would be more accurate, so I'm fine

   16    with that.

   17             MR. SADOW:    I'm following the Court's reasoning

   18    completely.   So set aside what I had suggested.        It still

   19    sounds as if all that the government needs to do -- and this

   20    needs to be done with both parties and probably a court

   21    reporter -- is to simply put the individual on the phone and

   22    say this:    Did you say, on or about this interview date, the

   23    following?    That's it.

   24             THE COURT:    That's all I thought.

   25             MR. SADOW:    Nothing more than that.
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    1             THE COURT:    I'm with you 100 percent.     I'm with you

    2    100 percent.    That's it.

    3             MR. SADOW:    One minute.

    4             THE COURT:    One minute, get them on a teleconference,

    5    get both parties to read the statement.       And if it checks out,

    6    we can turn it into a stip, and we can read it in.

    7             MR. SADOW:    And if the witness says, no, I didn't, then

    8    we'll go from there.

    9             THE COURT:    Exactly.   If it happens from there, you

   10    bring it to me, and then we decide how we're going to do

   11    recalls and what we're going to do.

   12             I would assume that's a procedure that the government

   13    is in agreement with.

   14             MS. GURSKIS:    Yeah, but I think with just a couple of

   15    caveats there.

   16             So the sentences are -- on their own, would be a little

   17    bit out of context.     So I think that it would -- a little more

   18    information is required.

   19             And I think also -- not to get super granular, but I

   20    will -- with the Ramamurthy report, half of the statement that

   21    Mr. Sadow had proposed including is actually -- has already

   22    been elicited from Mr. Ramamurthy on both direct and cross and

   23    was documented in prior reports.

   24             So I don't think we need to hear Mr. Ramamurthy say

   25    again that he believed that family history was a qualifier for
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    1    Medicare.   I think that was very clear during his -- I can pull

    2    the transcript cites, but Ms. Rookard and I were looking at the

    3    transcript earlier from his testimony, and he did say that on

    4    the record.   And it was documented in a different report that

    5    had previously been provided to Counsel.

    6              But I think the other kind of larger issue is, if it's

    7    just the one sentence, I think there needs to be a little bit

    8    more context than just, oh, on this day three and a half years

    9    ago or three years ago, did you say this one thing?

   10              I think a little bit more might be needed to refresh

   11    the witness's recollection, to get the narrative or the

   12    document that the statement would involve in, as opposed to a

   13    30-second call with a court reporter.

   14              And to that end, if that's what Mr. Sadow is asking,

   15    that's essentially the witness testifying.       So we could just

   16    plop Mr. Griner on the stand and do that.

   17              MR. SADOW:   But remember, the only reason we're doing

   18    this, respectfully, is because we didn't get the statements

   19    timely.

   20              THE COURT:   Yeah.

   21              MR. SADOW:   So to give the government the opportunity

   22    to have the witness come back and testify, and then to

   23    articulate or to bring out matters again, helps the government.

   24    It basically rewards them for the failure to turn it over.

   25              What I would ask the Court to do, before you make a
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    1    decision -- I marked them in red.

    2             You can look at the two statements and you can decide,

    3    based on that, how much context -- the first one, it says

    4    nothing more than this:     Even though it was Ramamurthy's

    5    company, he claimed he did not do much for the company.         He

    6    spent much of the time in Austin conducting photo shoots and

    7    writing movie scripts.

    8             The billing for genetic testing averaged 300- to

    9    400,000 a month, and Ramamurthy received $40,000 per month.

   10    Genetic testing was such a great test because it had no real

   11    guidelines, and every person has a family history of cancer.

   12             That's Ramamurthy.

   13             MS. GURSKIS:    Sorry, I just want to interject one

   14    thing, Your Honor.    Regarding Ramamurthy, that's precisely the

   15    kind of contextual issues that government is concerned about,

   16    because Ramamurthy had many different companies.

   17             In that particular paragraph, he's being asked about

   18    one company called Rose Shore.      As he testified, the two

   19    primary companies at issue, and as was shown through

   20    Mr. Petron, Q Health was his primary company that was at issue.

   21    That was what he used for the genetic testing.        SKR

   22    Enterprises, which I believe he also mentioned, those are the

   23    two primary companies.

   24             So for him saying that this one company wasn't the one

   25    he was using a lot, there's a risk there that the jury is
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    1    somehow thinking that he's shirking responsibility or hiding

    2    from that company, and effectively blaming Mr. Ramamurthy for a

    3    mistake on the government, when really it was -- that's the

    4    concern about the contextual framework there.

    5               MR. SADOW:   And the one for Mr. Griner is, once Patel

    6    was made aware that Griner used MyOnCallDoc, Patel wanted the

    7    company's information.     Patel needed to perform due diligence

    8    on MyOnCallDoc.

    9               Patel needed to give the information to his attorney.

   10    You don't need context.     As far as I'm concerned, I'll let

   11    Ramamurthy go by the wayside.      But the one I just said on

   12    Griner is -- clearly never came up in either his direct or his

   13    cross-examination.      And you don't need anymore context from

   14    that.   That's simply MyOnCallDoc.

   15               THE COURT:   Any concern with the Griner one?

   16               MS. GURSKIS:   Respectfully, I do disagree a little bit

   17    with that characterization of Mr. Griner's testimony.         I

   18    believe he did say that Mr. Patel had lawyers that, as a

   19    general matter, when he was creating documents for Patel and

   20    giving documents to Mr. Patel, it was for the purpose of him

   21    sharing that information with his lawyers for compliance

   22    purpose.

   23               The focus on my direct was on one of the charts.       He

   24    did speak about MyOnCallDoc.      The specific question about

   25    MyOnCallDoc was not asked, but there was a lot of testimony
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    1    from Mr. Griner about Mr. Patel's lawyers, about Mr. Patel

    2    speaking to his lawyers, about being on the phone with Mr. Watt

    3    and Mr. Patel.

    4             So it's highlighting something that is consistent with

    5    his testimony, Your Honor.

    6             MR. RAFFERTY:    Your Honor, what I would say -- if I can

    7    just be heard briefly.     First of all, we saw Mr. Sadow

    8    cross-examine all of these witnesses for many hours, and we saw

    9    the method that he followed in cross-examining those witnesses.

   10             I think we all know what would have happened if

   11    Mr. Sadow had a copy of that report in front of him.         He would

   12    have followed the procedures the Court said was appropriate,

   13    and all of that information would have been elicited.

   14             And as it relates to the quote from Mr. Griner, that is

   15    particularly important because it didn't come out during his

   16    testimony, and the government has made much about telemedicine

   17    and telehealth.

   18             MyOnCallDoc is a telemedicine company, and the

   19    statements that Mr. Griner made to the agents that's reflected

   20    in that report makes clear that Mr. Patel wanted the name of

   21    the company and wanted to vet it with his lawyers.        That

   22    testimony did not come out during that testimony.

   23             THE COURT:    I would think that -- and I would suggest

   24    we recall Mr. Griner.     I don't really see anything that would

   25    be productive from attempting to somehow get this context out
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    1    sufficient so that we can get it in by stipulation.

    2              I mean, it's a fairly focused question.       If the

    3    government wants to do some rehabilitation, let them do so.

    4    But I think you call Griner.      You recall Griner and you go

    5    right to the heart of --

    6              MR. SADOW:    And that gives the government an

    7    opportunity to do something that they should not have an

    8    opportunity to do.     I understand that may be the Court's

    9    ruling.   I object to that procedure.

   10              And if the government's going to get another shot at

   11    Griner because they didn't give me the Jencks material and I'm

   12    forced to use the Jencks material now, and they get a second

   13    shot at him, I'm not going to use it.

   14              Because that simply allows them to do what they wanted

   15    to do, which is to bring him back in and attempt to

   16    rehabilitate him.      Instead, he should come back in, if he's

   17    going to do that, I should ask him whether he said this.

   18              If he says yes, I said it, that should be the end of

   19    it.   The government should not get an opportunity to ask any

   20    more questions, with all due respect, because they failed

   21    to live up to their responsibilities under 26.2 and 18,

   22    U.S.C., 3500.

   23              THE COURT:    Let me ask you this, Mr. Sadow.     Are you

   24    comfortable -- if we do it that way, it just sounds like it

   25    would be easier with Griner not in a vacuum, meaning, I'm with
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    1    you, but wouldn't it be easier for you to just have him present

    2    and frame the question?

    3               I wonder how easy it is to read it off the 302 without

    4    being able to have some interaction with the witness.         It just

    5    seems --

    6               MR. SADOW:   All I would -- and this is what I think

    7    Mr. Rafferty was saying.     What I would have said is, didn't you

    8    say on such and such a date, to the agent... da, da, da, da,

    9    da.

   10               THE COURT:   That's it.

   11               MR. SADOW:   And he would say, I don't remember.      I

   12    don't know.    And I would walk up to him and say, would you

   13    refresh your recollection on this?       And he would look at it and

   14    I would say, isn't it a fact you said that?       And I think about

   15    95 percent of the time he said yes.       That should end it.

   16               THE COURT:   Right.    You're right.

   17               MR. SADOW:   The government should not get the

   18    opportunity at that point in time to say, okay, let's talk

   19    about the whole statement and go into -- and it was lies for

   20    money and the whole thing again.

   21               THE COURT:   No, no.   You just want to be able to bring

   22    up that one limited issue in the 302.

   23               But you agree with me that it would be easier,

   24    mechanically, to just do that by recalling him, though?

   25               MR. SADOW:   Actually, mechanically it would be easier
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    1    to just put it in or have the agent say that's what he said.

    2             But I would consider doing, obviously, what the Court

    3    has suggested, but the government cannot then get the

    4    opportunity to ask him anything.      They're done.

    5             THE COURT:    Right.   No, I understand.     I don't have an

    6    issue with your proposal that you would go forward and ask him

    7    that limited question and that would be the end of it, that

    8    we're not going to reopen a full examination of the witness.

    9    I'm with you.

   10             I'm just trying to get a sense of how -- how much more

   11    organic it would be to explain it and have him be live to

   12    explain it or qualify it, as opposed to trying to do this

   13    procedure where we're going to ask him about it on some sort of

   14    teleconference, he's going to then confirm it, and then you're

   15    going to essentially present it.

   16             I don't know if that's more efficient.

   17             Now, I will say this:     Certainly, the ability to get

   18    that out of the way and perhaps even do it tomorrow, because we

   19    could, I would think.     I don't know necessarily how hard it

   20    would be to get Mr. Griner back with us in the afternoon, but

   21    it would be a very limited issue and we could take care of it

   22    tomorrow.

   23             And if Ramamurthy is not a concern, then I could put

   24    this behind us and just take care of Griner in the afternoon

   25    with just that limited examination.
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    1             MR. SADOW:    We can certainly do that.     We can say that

    2    for purposes of whatever --

    3             THE COURT:    Yeah, exactly.    I can script it.    I can

    4    just say there was an issue we didn't get a chance to allow the

    5    defense to cover in their cross.      We're going to bring him back

    6    for that limited question.

    7             And you just do it and we're done.

    8             MR. SADOW:    I have no problem with that at all.

    9             THE COURT:    And you're okay with Ramamurthy not being

   10    brought back?

   11             MR. SADOW:    I'm sorry.   Forget Ramamurthy.     Leave

   12    Ramamurthy wherever it is.

   13             THE COURT:    Okay.   So if I only have to deal with

   14    Griner and it's only this one limited issue and I can bring him

   15    back hopefully tomorrow afternoon, what concern do we have on

   16    the government's end?     I mean, it's pretty limited.      It's a

   17    quick snapshot.

   18             If you have a problem with the way it's being

   19    structured, certainly it's something that can be revisited in

   20    your closing.    But I don't see anything wrong with allowing

   21    that limited question.

   22             What would be the issue there?

   23             MS. GURSKIS:    I think just the issue would be the

   24    implication that Mr. Sadow is impeaching the witness and then

   25    it's sort of left dangling, because Mr. Griner did say -- he
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    1    did talk about MyOnCallDoc.

    2             He did talk about sending the copy to Minal Patel.         He

    3    did talk about Minal Patel talking about compliance and sending

    4    things to his attorney.

    5             So I would like the opportunity to redirect him briefly

    6    on the general matter that he did testify to, to show the

    7    consistency with the other things that he's talked about, as

    8    opposed to suggesting that somehow he was lying or concealing

    9    information, and then, you know, impeaching the witness without

   10    any opportunity to rehabilitate him.

   11             THE COURT:    Understood.   I don't know -- remember, I

   12    don't necessarily think it's a full-blown impeachment as much

   13    as it's just a line of questioning that would have been asked

   14    had he been granted the cross.

   15             I have to say, we're here because you guys didn't

   16    produce the 302s.     I mean, so now you're going to live with it.

   17    So you're not going to get any chance.       You blew it the first

   18    time.

   19             You should have turned them over and we wouldn't have

   20    had this issue.

   21             So I'm going to only allow Mr. Sadow to get up there,

   22    ask this one limited question, and sit back down.        You want to

   23    qualify that that is dangling out there, you're going to have

   24    to do it at closing.

   25             I'm not going to sit here and reopen this now to
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    1    rehabilitate.    This is, to me, quite frankly, one way of curing

    2    what is a full-out discovery violation.       I think this is a

    3    reasonable accommodation for the defense.

    4             It screwed up part of his cross-examination on a key

    5    302 that did not really get addressed in his chance to question

    6    the witness.

    7             And I think it would just be fundamentally unfair that

    8    the government would fail to produce something and then be able

    9    to get around it by reframing the testimony of the witness,

   10    when the defense is the one that was prejudiced by its failure

   11    to produce that report.

   12             So I do not think this is a situation where we're going

   13    to let there be an extended examination.

   14             I think if we simply frame it, as I suggested, that

   15    this was a question that we were unable to allow the defense to

   16    address, and we're gonna recall him for this limited purpose,

   17    jurors are none the wiser.

   18             You can go ahead and ask this question.        We won't make

   19    it a feature, and it'll allow you guys to wrap up this issue

   20    tomorrow.   I mean, this will take 30 minutes, I mean, if that.

   21             MR. SADOW:    30?   Might just take five minutes.

   22             THE COURT:    Not even.   Five minutes.    I don't think

   23    this is some sort of a major misleading thing that the jury is

   24    going to get confused, because it's so isolated and it's very

   25    similar to other things you've heard.
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    1               Maybe not exactly the same, but it's not like we

    2    haven't covered some of this ground in the government's direct

    3    and redirect.

    4               So I think this is going to be the way we're going to

    5    clear this up.    So I think what we should do then, and I don't

    6    know the accessibility or who needs to get on the horn here,

    7    but I need someone to make sure that Mr. Griner return to court

    8    and be ready to go at some point in the midafternoon.

    9               Can that be accommodated by the government?

   10               MS. GURSKIS:   I believe so, Your Honor.     Mr. Griner, I

   11    believe, lives in Palm Beach County.       So I believe that he can

   12    do that.    But, again, I haven't communicated with his lawyer or

   13    anything.

   14               THE COURT:   Do me a favor, today when we finish, try to

   15    reach out to his lawyer.     Tell him the good news is he has

   16    enough time to drive down.

   17               MS. GURSKIS:   Okay.

   18               THE COURT:   Because I'm not going to have him in the

   19    morning, and I don't think I'm going to have him, quite

   20    frankly, before 2:00, 2:30.       I mean, he could even get in until

   21    3:00 o'clock.

   22               But I think if you bring him, I can moot this late

   23    production, I can cure this issue, and I can let the defense

   24    start fresh on Monday, and the government gets to close

   25    tomorrow after we finish with Dr. Yogel.       All right?
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    1             MS. GURSKIS:    Yes, Your Honor.    Thank you.

    2             THE COURT:    Let's do that.

    3             MR. SADOW:    I appreciate that.    I think the Court is

    4    going to wind up in a situation, though, timewise.

    5             How long do you expect your direct of this other

    6    witness to be?

    7             THE COURT:    It didn't sound too long.

    8             MS. DE BOER:    It's Mr. Cuyler's direct, but it will be

    9    quite short, I think.

   10             MR. SADOW:    So we're talking --

   11             MR. RAFFERTY:    My cross will be similar to the rest.

   12             MR. SADOW:    What I'm saying is we will be done with

   13    this witness by 11:00, and then we've got nothing.        We're just

   14    going to wait.    I think we should just tell the gentleman --

   15             THE COURT:    If he can be down here a little earlier?

   16             MR. SADOW:    Yeah, that he needs to come down as quickly

   17    as he can be here tomorrow after 10:00 o'clock.

   18             THE COURT:    All right.   I say this.    At least we give

   19    him the benefit of, if he hits a little bit of traffic, it's

   20    not the end of the world because we're still tied up until

   21    10:00.

   22             So I would ask, if you could, Ms. Gurskis, find out

   23    from his lawyer and advise me perhaps tomorrow morning or by

   24    email, if you want to email us, let me know when you confirm

   25    that he can be here.     Ideally, he can be here by 10:00, no
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    1    later than 11:00, so that he's standing by and ready to go.

    2             I could have a scenario, if Yogel is quick, where we're

    3    done tomorrow in the early afternoon.       It sounds like we may be

    4    done pretty quick.

    5             MS. GURSKIS:    Yes, Your Honor.

    6             THE COURT:    Okay.   So just keep me posted on that.

    7             All right.    So that'll take care of this one

    8    outstanding issue regarding the 302s.

    9             So anything else I need to be concerned about on the

   10    government's end, just housekeeping before tomorrow?         Anything

   11    with Dr. Yogel, for example, or any other exhibit issue?

   12             MS. DE BOER:    I don't think so, Your Honor.      We're

   13    going to take stock of what exhibits we admitted and if we

   14    forgot to move one in and all that.      So there may be some minor

   15    housekeeping in that regard tomorrow.       But other than that, I

   16    don't think so.

   17             THE COURT:    Okay.   Good.   We can take advantage of some

   18    of our downtime to do that.

   19             Anything else on the defense side, just so I can get a

   20    sense of -- any other housekeeping issues?       I think this will

   21    take care of your concern on the 302s, but is there anything

   22    else that I may have missed?

   23             MR. RAFFERTY:    No, Your Honor.    Thank you.

   24             THE COURT:    All right.   And I just -- tomorrow

   25    afternoon, if I can get a sense -- you don't need to tell me
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    1    now, but when we break tomorrow, just so I can plan ahead,

    2    similar to what we've made the government do where we've given

    3    a lineup.   I don't need it all the way out for the week, but

    4    maybe give me, like, a Monday and Tuesday lineup.        You guys can

    5    decide tomorrow.    Just so I can plan ahead for the jurors and

    6    for my own scheduling.     Okay?

    7             MR. RAFFERTY:    Yes, Your Honor.

    8             THE COURT:    Okay.   If there's nothing else, I'll let

    9    everyone get back to work, and we'll circle back on this issue

   10    of Mr. Griner.    And we'll be in recess, then.

   11             I'll see the defense team tomorrow at 9:00.        If you

   12    want to be here a few minutes before, because we're going to

   13    dry-run and make sure that the Zoom is working because these

   14    guys appearing for the nonparties are coming via Zoom.         So just

   15    maybe come in about 8:45 so we can dry-run the tech.         Okay?

   16             MR. SADOW:    Yes, Your Honor.

   17             THE COURT:    All right.    We're in recess.

   18             MS. DE BOER:    Thank you, Your Honor.

   19             THE COURT:    You got it.

   20          (Court recessed at 4:48 p.m.)

   21

   22

   23

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    1                           C E R T I F I C A T E

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    3
                    I hereby certify that the foregoing is an
    4
         accurate transcription of the proceedings in the
    5
         above-entitled matter.
    6

    7

    8    DATE:   12-8-2022           /s/Ilona Lupowitz
                                     ILONA LUPOWITZ, CRR, RPR, RMR
    9                                Official Court Reporter
                                     United States District Court
   10                                299 East Broward Boulevard
                                     Fort Lauderdale, Florida 33301
   11                                (954) 769-5568

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